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       STEPHEN LAU
  11
  12                         UNITED STATES DISTRICT COURT
  13                      CENTRAL DISTRICT OF CALIFORNIA
  14                               EASTERN DIVISION
  15   AMERICAN INSTITUTE OF                       Case No. 5:24-cv-01940-SSS-SHKx
       CERTIFIED PUBLIC
  16   ACCOUNTANTS,                                DEFENDANT STEPHEN LAU’S
                                                   ANSWER TO PLAINTIFF’S
  17                 Plaintiff,                    AMENDED COMPLAINT AND
                                                   SECOND AMENDED
  18        v.                                     COUNTERCLAIMS
  19   STEPHEN LAU,
                                                   JURY TRIAL DEMANDED
  20                 Defendant.
                                                   Complaint Filed: September 11, 2024
  21
       STEPHEN LAU,
  22
                      Cross-Complainant,
  23
            v.
  24
       AMERICAN INSTITUTE OF
  25   CERTIFIED PUBLIC
       ACCOUNTANTS,
  26
                      Cross-Defendant,
  27
                                                         DEFENDANT STEPHEN LAU’S ANSWER
  28                                                    TO PLAINTIFF’S AMENDED COMPLAINT
                                                                     AND SECOND AMENDED
                                                                             COUNTERCLAIMS
                                                              CASE NO. 5:24-CV-01940-SSS-SHKX
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   1         Defendant STEPHEN LAU (“Lau”) responds to Plaintiff AMERICAN
   2   INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS’ (“AICPA”) Amended
   3   Complaint (D.E. 30)(“Complaint”) and Answer to Counterclaims (D.E. 31) as
   4   follows:
   5         1.    Mr. Lau admits that AICPA attempts to allege claims under the
   6   Copyright Act, the Defend Trade Secrets Act, and breach of contract. Mr. Lau
   7   denies that AICPA’s complaint alleges any plausible federal claim for relief. Except
   8   as expressly admitted, Mr. Lau denies any other allegations made or implied by this
   9   paragraph of the Complaint.
  10         2.    Mr. Lau lacks sufficient information to admit the allegations of this
  11   paragraph and therefore denies them.
  12         3.    Mr. Lau lacks sufficient information to admit the allegations of this
  13   paragraph and therefore denies them.
  14         4.    Mr. Lau lacks sufficient information to admit the allegations of this
  15   paragraph and therefore denies them.
  16         5.    Mr. Lau lacks sufficient information to admit the allegations of this
  17   paragraph and therefore denies them.
  18         6.    Mr. Lau lacks sufficient information to admit the allegations of this
  19   paragraph and therefore denies them.
  20         7.    Mr. Lau lacks sufficient information to admit the allegations of this
  21   paragraph and therefore denies them.
  22         8.    Mr. Lau admits that a candidate must pass the Uniform CPA
  23   Examination as part of the process of becoming a licensed CPA in California.
  24   Except as expressly admitted, Mr. Lau denies any other allegations made or implied
  25   by this paragraph of the Complaint.
  26         9.    Mr. Lau lacks sufficient information to admit the allegations of this
  27   paragraph and therefore denies them.
  28                                                      DEFENDANT STEPHEN LAU’S ANSWER
                                                         TO PLAINTIFF’S AMENDED COMPLAINT
                                              -1-             AND AMENDED COUNTERCLAIMS
                                                               CASE NO. 5:24-CV-01940-SSS-SHKX
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   1         10.   Mr. Lau lacks sufficient information to admit the allegations of this
   2   paragraph and therefore denies them.
   3         11.   Mr. Lau lacks sufficient information to admit the allegations of this
   4   paragraph and therefore denies them.
   5         12.   Mr. Lau lacks sufficient information to admit the allegations of this
   6   paragraph and therefore denies them.
   7         13.   Mr. Lau admits that prior to taking Uniform CPA Examinations, Mr.
   8   Lau has clicked-through electronic messages presented by third parties and AICPA.
   9   Except as expressly admitted, Mr. Lau denies any other allegations made or implied
  10   by this paragraph of the Complaint.
  11         14.   Mr. Lau lacks sufficient information to admit the allegations of this
  12   paragraph and therefore denies them.
  13         15.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  14   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  15   which were presented not by AICPA but by third parties. Except as expressly
  16   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  17   of the Complaint.
  18         16.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  19   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  20   which were presented not by AICPA but by third parties. Except as expressly
  21   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  22   of the Complaint.
  23         17.   Admitted.
  24         18.   Denied.
  25         19.   Denied.
  26         20.   Denied.
  27         21.   Mr. Lau admits that he discussed subject matter related to the topics of
                                                           DEFENDANT STEPHEN LAU’S ANSWER
  28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                               -2-                     AND SECOND AMENDED
                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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   1   information relevant to CPA exams in study groups that he participated in on
   2   Reddit and Discord. Except as expressly admitted, Mr. Lau denies any other
   3   allegations made or implied by this paragraph of the Complaint.
   4         22.    Denied.
   5         23.    Denied.
   6         24.    Denied.
   7         25.    Denied.
   8         26.    Admitted that Mr. Lau resides within the territorial bounds of the
   9   Central District of California, Eastern Division. Except as expressly admitted, Mr.
  10   Lau denies any other allegations made or implied by this paragraph of the
  11   Complaint.
  12         27.    Admitted that Mr. Lau resides within the territorial bounds of the
  13   Central District of California, Eastern Division. Except as expressly admitted, Mr.
  14   Lau denies any other allegations made or implied by this paragraph of the
  15   Complaint.
  16         28.    Admitted that Mr. Lau resides within the territorial bounds of the
  17   Central District of California, Eastern Division. Except as expressly admitted, Mr.
  18   Lau denies any other allegations made or implied by this paragraph of the
  19   Complaint.
  20                                     THE PARTIES
  21         29.    Mr. Lau lacks sufficient information to admit the allegations of this
  22   paragraph and therefore denies them.
  23         30.    Admitted that Mr. Lau resides within the territorial bounds of the
  24   Central District of California, Eastern Division.
  25                          The AICPA and the Uniform CPA Exam
  26         31.    Mr. Lau lacks sufficient information to admit the allegations of this
  27   paragraph and therefore denies them.
                                                            DEFENDANT STEPHEN LAU’S ANSWER
  28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                                -3-                     AND SECOND AMENDED
                                                                                COUNTERCLAIMS
                                                                 CASE NO. 5:24-CV-01940-SSS-SHKX
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   1         32.   Mr. Lau lacks sufficient information to admit the allegations of this
   2   paragraph and therefore denies them.
   3         33.   Mr. Lau lacks sufficient information to admit the allegations of this
   4   paragraph and therefore denies them.
   5         34.   Mr. Lau admits that the Uniform CPA Exam has been difficult for
   6   him. Mr. Lau admits that candidates are required to pass three Core exam sections
   7   and one of three Discipline exam sections. Except as expressly admitted, Mr. Lau
   8   denies any other allegations made or implied by this paragraph of the Complaint.
   9         35.   Admitted.
  10                 The AICPA’s Copyrights in the Uniform CPA Exam
  11         36.   Mr. Lau lacks sufficient information to admit the allegations of this
  12   paragraph and therefore denies them.
  13         37.    Mr. Lau lacks sufficient information to admit the allegations of this
  14   paragraph and therefore denies them.
  15           The AICPA’s [Alleged] Trade Secrets in the Uniform CPA Exam
  16         38.   Mr. Lau lacks sufficient information to admit the allegations of this
  17   paragraph and therefore denies them.
  18         39.   Denied.
  19         40.   Mr. Lau lacks sufficient information to admit the allegations of this
  20   paragraph and therefore denies them.
  21         41.   Mr. Lau lacks sufficient information to admit the allegations of this
  22   paragraph and therefore denies them.
  23         42.   Mr. Lau lacks sufficient information to admit the allegations of this
  24   paragraph and therefore denies them.
  25         43.   Mr. Lau lacks sufficient information to admit the allegations of this
  26   paragraph and therefore denies them.
  27         44.   Mr. Lau lacks sufficient information to admit the allegations of this
                                                           DEFENDANT STEPHEN LAU’S ANSWER
  28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                               -4-                     AND SECOND AMENDED
                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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   1   paragraph and therefore denies them.
   2         45.   Mr. Lau lacks sufficient information to admit the allegations of this
   3   paragraph and therefore denies them.
   4         46.   Denied.
   5         47.   Denied.
   6         48.   Denied.
   7         49.   Mr. Lau lacks sufficient information to admit the allegations of this
   8   paragraph and therefore denies them.
   9         50.   Mr. Lau lacks sufficient information to admit the allegations of this
  10   paragraph and therefore denies them.
  11                       Defendant’s [Alleged] Contract with AICPA
  12         51.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  13   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  14   which were presented not by AICPA but by third parties. Except as expressly
  15   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  16   of the Complaint
  17         52.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  18   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  19   which were presented not by AICPA but by third parties. Except as expressly
  20   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  21   of the Complaint.
  22         53.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  23   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  24   which were presented not by AICPA but by third parties. Except as expressly
  25   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  26   of the Complaint.
  27         54.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
                                                           DEFENDANT STEPHEN LAU’S ANSWER
  28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                               -5-                     AND SECOND AMENDED
                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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   1   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
   2   which were presented not by AICPA but by third parties. Except as expressly
   3   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
   4   of the Complaint.
   5         55.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
   6   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
   7   which were presented not by AICPA but by third parties. Except as expressly
   8   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
   9   of the Complaint.
  10         56.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  11   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  12   which were presented not by AICPA but by third parties. Except as expressly
  13   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  14   of the Complaint.
  15         57.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  16   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  17   which were presented not by AICPA but by third parties. Except as expressly
  18   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  19   of the Complaint.
  20         58.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  21   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  22   which were presented not by AICPA but by third parties. Except as expressly
  23   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  24   of the Complaint.
  25         59.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  26   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  27   which were presented not by AICPA but by third parties. Except as expressly
                                                           DEFENDANT STEPHEN LAU’S ANSWER
  28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                               -6-                     AND SECOND AMENDED
                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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   1   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
   2   of the Complaint.
   3         60.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
   4   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
   5   which were presented not by AICPA but by third parties. Except as expressly
   6   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
   7   of the Complaint.
   8         61.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
   9   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  10   which were presented not by AICPA but by third parties. Except as expressly
  11   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  12   of the Complaint.
  13         62.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  14   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  15   which were presented not by AICPA but by third parties. Except as expressly
  16   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  17   of the Complaint.
  18         63.   Admitted.
  19         64.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  20   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  21   which were presented not by AICPA but by third parties. Except as expressly
  22   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  23   of the Complaint.
  24         65.   Admitted.
  25         66.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  26   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  27   which were presented not by AICPA but by third parties. Except as expressly
                                                           DEFENDANT STEPHEN LAU’S ANSWER
  28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                               -7-                     AND SECOND AMENDED
                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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   1   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
   2   of the Complaint.
   3         67.    Mr. Lau admits that as a prerequisite to being permitted to sit for the
   4   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
   5   which were presented not by AICPA but by third parties. Except as expressly
   6   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
   7   of the Complaint.
   8         68.    Mr. Lau admits that as a prerequisite to being permitted to sit for the
   9   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  10   which were presented not by AICPA but by third parties. Except as expressly
  11   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  12   of the Complaint.
  13         69.    Mr. Lau admits that as a prerequisite to being permitted to sit for the
  14   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  15   which were presented not by AICPA but by third parties. Except as expressly
  16   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  17   of the Complaint.
  18                          Defendant’s [Alleged] Unlawful Acts
  19         70.    Denied.
  20         71.    Denied.
  21                 Defendant [Allegedly] Leaks Exam Content on Discord
  22         72.    Mr. Lau admits that he has used Discord, an online service accessible
  23   on the Internet that according to its website is a “place to hang out with your friends
  24   and build community around shared interests” that is “private and safe, by design”
  25   and provides “the best experience…and…resources you need, whether you’re a
  26
  27
                                                            DEFENDANT STEPHEN LAU’S ANSWER
  28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                                -8-                     AND SECOND AMENDED
                                                                                COUNTERCLAIMS
                                                                 CASE NO. 5:24-CV-01940-SSS-SHKX
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  1   teen, parent, educator, or long-time Discord user.”1
  2            73.   Mr. Lau admits that Discord’s service includes a communication
  3   platform divided into private individual chat rooms that are sometimes referred to
  4   as “Discord Servers” or “Servers.” Mr. Lau admits that the study group Discover
  5   Server described in the Complaint as the “CPA Study Group” was accessible only
  6   through an invite link from a pre-existing member of that CPA Study Group
  7   Discord Server.
  8            74.   Admitted.
  9            75.   Admitted.
 10            76.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
 11   Uniform CPA Exam on February 3, 2024, Mr. Lau had to click-through electronic
 12   messages, some of which were presented not by AICPA but by third parties. Except
 13   as expressly admitted, Mr. Lau denies any other allegations made or implied by this
 14   paragraph of the Complaint.
 15            77.   Mr. Lau admits discussing ideas related to how to study for the
 16   Uniform CPA Exam in a Discord server dedicated to people studying for the CPA
 17   Exam. Except as expressly admitted, Mr. Lau denies any other allegations made or
 18   implied by this paragraph of the Complaint.
 19            78.   Denied.
 20            79.   Denied.
 21       Defendant Makes [Alleged] Unauthorized Discloses of Exam Content on Reddit
 22            80.   This allegation is unintelligible, and Mr. Lau therefore denies it.
 23            81.   Mr. Lau lacks sufficient information about AICPA’s alleged
 24   investigation to admit the allegations of this paragraph and therefore denies them.
 25            82.   Admitted.
 26
      1
 27       https://discord.com/safety
                                                             DEFENDANT STEPHEN LAU’S ANSWER
 28                                                         TO PLAINTIFF’S AMENDED COMPLAINT
                                                 -9-                     AND SECOND AMENDED
                                                                                 COUNTERCLAIMS
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  1         83.    Admitted that Reddit is a news aggregation, content rating, and forum
  2   website divided into “subreddits” where users submit and discuss content related to
  3   a particular topic or interest. Except as expressly admitted, Mr. Lau denies any
  4   other allegations made or implied by this paragraph of the Complaint.
  5         84.    Admitted.
  6         85.    Mr. Lau admits that he discussed subject matter related to the topics of
  7   information relevant to CPA exams in a study group post on Reddit. Except as
  8   expressly admitted, Mr. Lau denies any other allegations made or implied by this
  9   paragraph of the Complaint.
 10         86.    Denied.
 11         87.    Denied.
 12         88.    Denied.
 13                           FIRST CLAIM FOR RELIEF
                          (Copyright Infringement in violation of
 14                 the Copyright Act, 17 U.S.C. §§ 106 and 501, et seq.)
 15         89.    No response required.
 16         90.    Mr. Lau admits that AICPA has attempted to plead a claim for
 17   copyright infringement. Mr. Lau denies AICPA has satisfied the minimum pleading
 18   requirements for plausible alleging a copyright infringement claim. Except as
 19   expressly admitted, Mr. Lau denies any other allegations made or implied by this
 20   paragraph of the Complaint.
 21         91.    Mr. Lau lacks sufficient information to admit the allegations of this
 22   paragraph and therefore denies them.
 23         92.    Denied.
 24         93.    Mr. Lau lacks sufficient information to admit the allegations of this
 25   paragraph and therefore denies them.
 26         94.    Mr. Lau lacks sufficient information to admit the allegations of this
 27   paragraph and therefore denies them.
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                              - 10 -                  AND SECOND AMENDED
                                                                              COUNTERCLAIMS
                                                               CASE NO. 5:24-CV-01940-SSS-SHKX
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  1         95.   Denied.
  2         96.   Mr. Lau admits that AICPA never expressly authorized Mr. Lau to
  3   reproduce, publicly display or create derivative works of U.S. Copyright Reg. No.
  4   TXu002287113 but denies that any authorization for his alleged conduct was
  5   required under the Copyright Act. Except as expressly admitted, Mr. Lau denies
  6   any other allegations made or implied by this paragraph of the Complaint.
  7         97.   Mr. Lau admits that as a prerequisite to being permitted to sit for the
  8   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  9   which were presented not by AICPA but by third parties. Except as expressly
 10   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
 11   of the Complaint.
 12         98.   Denied.
 13         99.   Denied.
 14         100. Denied.
 15         101. Denied.
 16         102. Denied.
 17         103. Denied
 18                         SECOND CLAIM FOR RELIEF
            (Misappropriation of Trade Secrets under 18 U.S.C. § 1836, et seq.)
 19
 20         104. No response required.
 21         105. Mr. Lau admits that AICPA has attempted to plead a claim for trade
 22   secrets misappropriation. Except as expressly admitted, Mr. Lau denies any other
 23   allegations made or implied by this paragraph of the Complaint.
 24         106. Denied.
 25         107. Mr. Lau admits that AICPA intends the alleged trade secrets to be
 26   available to and used in interstate and foreign commerce by anyone and everyone
 27   who is willing to pay the cost of accessing the Uniform CPA Exam or exam
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                             - 11 -                   AND SECOND AMENDED
                                                                              COUNTERCLAIMS
                                                               CASE NO. 5:24-CV-01940-SSS-SHKX
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  1   preparation materials. Except as expressly admitted, Mr. Lau denies any other
  2   allegations made or implied by this paragraph of the Complaint.
  3         108. Mr. Lau lacks sufficient information to admit the allegations of this
  4   paragraph and therefore denies them.
  5         109. Denied.
  6         110. Mr. Lau admits that as a prerequisite to being permitted to sit for the
  7   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  8   which were presented not by AICPA but by third parties. Except as expressly
  9   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
 10   of the Complaint.
 11         111. Mr. Lau admits that as a prerequisite to being permitted to sit for the
 12   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
 13   which were presented not by AICPA but by third parties. Except as expressly
 14   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
 15   of the Complaint.
 16         112. Denied.
 17         113. Denied.
 18         114. Denied.
 19         115. Denied.
 20         116. Denied.
 21         117. Denied.
 22         118. Denied
 23         119. Denied.
 24                            THIRD CLAIM FOR RELIEF
                                   (Breach of Contract)
 25
 26         120. No response required.
 27         121. Mr. Lau admits that as a prerequisite to being permitted to sit for the
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                             - 12 -                   AND SECOND AMENDED
                                                                              COUNTERCLAIMS
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  1   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  2   which were presented not by AICPA but by third parties. Except as expressly
  3   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  4   of the Complaint.
  5         122. Mr. Lau admits that as a prerequisite to being permitted to sit for the
  6   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
  7   which were presented not by AICPA but by third parties. Except as expressly
  8   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  9   of the Complaint.
 10         123. Admitted.
 11         124. Mr. Lau admits that as a prerequisite to being permitted to sit for the
 12   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
 13   which were presented not by AICPA but by third parties. Except as expressly
 14   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
 15   of the Complaint.
 16         125. Mr. Lau admits that as a prerequisite to being permitted to sit for the
 17   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
 18   which were presented not by AICPA but by third parties. Except as expressly
 19   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
 20   of the Complaint.
 21         126. Mr. Lau admits that as a prerequisite to being permitted to sit for the
 22   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
 23   which were presented not by AICPA but by third parties. Except as expressly
 24   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
 25   of the Complaint.
 26         127. Mr. Lau admits that as a prerequisite to being permitted to sit for the
 27   Uniform CPA Exam, Mr. Lau had to click-through electronic messages, some of
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
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  1   which were presented not by AICPA but by third parties. Except as expressly
  2   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  3   of the Complaint.
  4         128. Denied.
  5         129. Mr. Lau admits discussing information related to the subject matter of
  6   CPA exams in study groups hosted on Reddit and Discord. Except as expressly
  7   admitted, Mr. Lau denies any other allegations made or implied by this paragraph
  8   of the Complaint.
  9         130. Denied.
 10         131. Denied.
 11         132. Denied.
 12                                PRAYER FOR RELIEF
 13         Mr. Lau denies that AICPA is entitled to any relief.
 14                             AFFIRMATIVE DEFENSES
 15                                    First Defense
                           No Federal Subject Matter Jurisdiction
 16
 17         Federal courts have a sua sponte duty to examine their own subject matter
 18   jurisdiction. In non-diversity cases, in order for a complaint to give rise to federal
 19   subject matter jurisdiction, the complaint must allege sufficient factual information
 20   to give rise to a plausible claim for relief on at least one federal claim. AICPA’s
 21   Complaint does not meet this standard. Moreover, even at this very early stage of
 22   the case, it is apparent that AICPA’s federal claims are implausible and meritless.
 23         Copyright Claim. From a pleading perspective, AICPA fails to plead any
 24   plausible copyright infringement claim because the Complaint is “entirely devoid of
 25   allegations establishing the protectable elements of the infringed works” and makes
 26   “no effort to compare the copyrightable elements of the allegedly infringing and
 27   copyrighted works.” Evans v. McCoy-Harris, No. C17-8345, 2019 U.S. Dist. LEXIS
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
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  1   42744, 2019 WL 1002512, at *3 (C.D. Cal. Jan. 4, 2019); accord Boost Beauty, LLC
  2   v. Woo Signatures, LLC, No. C18-2960, 2018 U.S. Dist. LEXIS 227156, 2018 WL
  3   6219895, at *1, 4 (C.D. Cal. July 23, 2018) (allegation of copying “specific words
  4   and language in a specific order” insufficient where complaint failed to provide “even
  5   written descriptions of the…words”); Bungie, Inc. v. Aimjunkies.Com, 2022 WL
  6   1239906, at *2 (W.D. Wash. Apr. 27, 2022) (allegation that infringing software was
  7   “identical or substantially similar” to copyrighted work held insufficient)(quoting
  8   Twombly, 550 U.S. at 555). “Here, [AICPA’s] allegations as to similarity are…no
  9   more than conclusory and do not suffice to state a claim.” Enlightened Today LLC v.
 10   Soulmate Medium LLC, 2023 U.S. Dist. LEXIS 172087, at *11 (W.D. Wash. Sep.
 11   26, 2023).
 12         Moreover, from a legal perspective, even accepting the truth of AICAP’s
 13   formulaic boilerplate, AICPA’s copyright claim is facially meritless because there is
 14   no allegation that Mr. Lau violated any of AICPA’s rights to the actual “work”: U.S.
 15   Copyright Reg. No. TXu002287113. The “work” protected by Registration
 16   TXu002287113 is entitled “GRSTQ: Uniform CPA Examination Business
 17   Environment and Concepts 2019.” AICPA does not and indeed cannot allege that
 18   Mr. Lau infringed any of AICPA’s §106 rights to the compilation registered as
 19   Registration TXu002287113, i.e., the “group of secure test items examined [by the
 20   Copyright Office] on 11/8/2021.” Dkt.1-1. Indeed, Mr. Lau has never even had
 21   access to that “work.” In other words, although “there are just two fundamental
 22   elements to a copyright infringement claim: (1) access to a plaintiff's original work,
 23   and (2) substantial similarity of the works at issue,” AICPA can’t plead either of
 24   them. Bassil v. Webster, No. 2:20-cv-05099-SB (PDx), 2021 U.S. Dist. LEXIS
 25   68981, at *4 (C.D. Cal. Jan. 15, 2021).
 26         Instead, AICPA alleges that Mr. Lau “virtually exactl(y)” “reproduced” a
 27   single question and answer pairing from Registration TXu002287113. Under well
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                              COUNTERCLAIMS
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  1   settled Ninth Circuit law, Mr. Lau’s alleged copying of a single-digit percentage of a
  2   the “GRSTQ: Uniform CPA Examination Business Environment and Concepts
  3   2019” work identified in Registration TXu002287113 cannot violate AICPA’s §106
  4   rights. E.g., Experian Info. Sols., Inc. v. Nationwide Mktg. Servs. Inc., 893 F.3d 1176,
  5   1187 (9th Cir. 2018) (“Even assuming Natimark's pairings were exact copies of their
  6   counterparts in the Experian database, the match rate would only be 80% and
  7   insufficient to establish a bodily appropriation of Experian's work.”); Feist Publ'ns,
  8   Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 348, 111 S. Ct. 1282, 1289 (1991) (“The
  9   mere fact that a work is copyrighted does not mean that every element of the work
 10   may be protected”).
 11         Mr. Lau alleges that a reasonable opportunity for discovery will reveal that
 12   Registration TXu002287113 covers at least 200 question and answer sets comprising
 13   thousands of lines of text, a substantial majority of which text is made up of
 14   uncopyrightable factual information, short statements, and stock industry terms that
 15   are (i) necessary to describe the ideas that the question and answer sets are intended
 16   to convey, (ii) not subject to copyright protection in and of themselves, and (iii) are
 17   only entitled to copyright protection to the extent their selection and arrangement
 18   amounts to a creative and original work.
 19         Moreover, even if the “GRSTQ: Uniform CPA Examination Business
 20   Environment and Concepts 2019” is subject to copyright protection, that protection
 21   is necessarily very thin given the functional purpose of the work: to test the minimum
 22   qualifications of CPA candidates. The text Mr. Lau allegedly reproduced amounts to
 23   less than one percent of the overall work, which is not enough to give rise to
 24   infringement of such a work. According to AICPA, “[o]n February 3, 2024, [Mr.
 25   Lau]…unlawfully reproduced and publicly displayed on the CPA Study Group server
 26
 27
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
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  1   in Discord, Exam Content.” Compl. ¶ 90.2 The “Exam Content” Mr. Lau allegedly
  2   reproduced consists of
  3         (i) “a message Mr. Lau posted “in the CPA Study Group Discord server
            containing a virtually exact reproduction of both the content of an ISC
  4         multiple choice question along with the related answer choices”; and
  5
            (ii) “descriptions of the subject matter of three task-based simulations.”
  6
  7   Compl. ¶¶ 73-75.
  8         A “description[] of the subject matter” of a copyrighted work is not
  9   infringement, because facts and ideas “are not copyrightable.” Comparion Med.
 10   Analytics, Inc. v. Prime Healthcare Servs., Inc., 2015 WL 12746228, at *5 (C.D. Cal.
 11   Apr. 14, 2015) (citing inter alia Feist Publications, Inc. v. Rural Tel. Serv. Co., 499
 12   U.S. 340, 344 (1991)); Bikram's Yoga Coll. of India, L.P. v. Evolation Yoga, LLC,
 13   803 F.3d 1032, 1041 (9th Cir. 2015) (“an idea, process, or system…is not eligible for
 14   copyright protection”); Advanta-STAR Auto. Research Corp. of Am. v. DealerCMO,
 15   Inc., No. 20-1150, 2022 U.S. Dist. LEXIS 10343, at *17 (E.D. La. Jan. 20, 2022)
 16   (collecting cases like McGraw-Hill, Inc. v. Worth Publishers, Inc., 335 F. Supp. 415,
 17   420-21 (S.D.N.Y. 1971) (“subject of an economics textbook restricted the language
 18   options available…given the corpus of technical words and phrases whose meanings
 19   have been fixed and concepts whose importance is generally acknowledged”) and
 20   Windsor v. Olson, 2019 U.S. Dist. LEXIS 79755, 2019 WL 2080021, at *5 (N.D.
 21   Tex. 2019) (finding phrases functional and ineligible for protection because they
 22   defined a system and information contained therein and were thus not original);
 23   Satava v. Lowry, 323 F.3d 805, 810 (9th Cir. 2003) (“expressions that are standard,
 24   stock, or common to a particular subject matter or medium are not protectable under
 25
      2
 26    As discussed further below, the Discord server at issue is private, and
      communications in that study group server cannot be deemed public displays for
 27   purposes of § 106.
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
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  1   copyright law.”). “[C]opyright assures authors the right to their original expression,
  2   but encourages others to build freely upon the ideas and information conveyed by a
  3   work.” Feist, 499 U.S. at 349-50 (emphasis added).
  4           That leaves AICPA with only the alleged “virtually exact reproduction” of a
  5   single ISC exam question and answer set to hang its infringement case on, which
  6   clearly isn’t enough. See, e.g., Experian, 893 F.3d at 1187. Even assuming that that
  7   Registration TXu002287113 includes only 100 question and answer sets, AICPA’s
  8   allegations amounts to an assertion that Mr. Lau reproduced less than 1% of the
  9   AICPA’s “work.”3 Mr. Lau avers that a reasonable opportunity for discovery will
 10   reveal that the content he allegedly “reproduced” consist largely of uncopyrightable
 11   stock phrases and factual information, and that the totality of the words he used
 12   amount to well under 1% of the lines of text contained in the “GRSTQ: Uniform CPA
 13   Examination Business Environment and Concepts 2019” work. Mr. Lau further
 14   alleges that discovery will show that prior to filing suit, AICPA knew or should have
 15   known that Mr. Lau allegedly copied far, far less than the minimum amount of
 16   copying required to state an infringement claim under Ninth Circuit law. E.g.,
 17   Bensbargains.Net, LLC. v. Xpbargains.Com, 2007 WL 2385092, at *4 (S.D. Cal.
 18   Aug. 16, 2007) (dismissing claims based on copying less than 70% of compilation
 19   work) (collecting similar cases cases); Experian 893 F.3d at 1187 (80% copying held
 20   insufficient).
 21           The inability of AICPA to prove that Mr. Lau reproduced AICPA’s “GRSTQ:
 22   Uniform CPA Examination Business Environment and Concepts 2019” work is
 23   particularly obvious given that the underlying content of the AICPA’s compilation
 24   work is primarily functional and/or factual information related to “the knowledge and
 25   skills that all newly licensed CPAs need in their role.” Compl. ¶ 34. Fact intensive,
 26
      3
 27       AICPA alleges that exam sections take four hours to complete.
                                                          DEFENDANT STEPHEN LAU’S ANSWER
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  1   functional works are entitled only to “thin” copyright protection. Experian, 893 F.3d
  2   at 1187. While “a compilation of facts may be copyrightable even if the underlying
  3   facts are not,” the “Ninth Circuit has held that copyright infringement of compilations
  4   consisting largely of uncopyrightable elements should not be found in the absence of
  5   ‘bodily appropriation of expression,’” or “unauthorized use of substantially the entire
  6   item.” Bensbargains.Net, LLC. v. Xpbargains.Com, 2007 WL 2385092, at *4 (citing
  7   inter alia Harper House, Inc. v. Thomas Nelson, Inc., 889 F.2d 197, 205 (9th
  8   Cir.1989)). AICPA’s allegations that Mr. Lau “virtually exact(ly)” copied only one
  9   item from the group of items comprising Registration No. TXu002287113 is
 10   insufficient as a matter of law to state a claim for infringement—and that is before
 11   the Court even considers the other facial problems with AICPA’s copyright claim
 12   (like Mr. Lau’s obvious fair use defense), which are detailed further below.
 13          DTSA Claim. There are several problems with AICPA’s complaint that
 14   render its federal trade secrets claim deficient on its face.4 First, AICPA’s complaint
 15   does not allege sufficient facts to plausibly describe any trade secrets. AICPA
 16   provides nothing more than bare conclusions and labels, which is insufficient.
 17   Compare Compl. ¶ 39-41 with Ashcroft v. Iqbal, 556 U.S. 662 (2009); Creative
 18   Writer Software, LLC v. Schechter, 2023 WL 6786796, at *4 (C.D. Cal. Sept. 6,
 19   2023) (plausible trade secrets allegation requires plaintiff to allege “not only the
 20   categories of information but also their subject matter”). Paragraph 39 defines “Trade
 21   Secrets” as follows:
 22         “The Exam Content contains and is comprised in large part of trade
            secrets (the ‘Trade Secrets’).”
 23
      4
 24     AICPA does not assert a claim under California’s Uniform Trade Secrets Act,
      presumably because it hoped to forestall identifying with reasonable particularity the
 25   alleged trade secrets disclosed in Mr. Lau’s alleged Reddit and Discord posts. See,
      e.g., Cal. Code Civ. P. § 2019.210 (requiring California trade secrets to identify
 26   alleged trade secrets with reasonable particularity); Loop AI Labs Inc. v. Gatti, 195
      F. Supp. 3d 1107, 1117 (N.D. Cal. 2016) (applying § 2019.210 in a federal case);
 27   InteliClear, LLC v. ETC Glob. Holdings, Inc., 978 F.3d 653, 657 (9th Cir. 2020)
      (same).
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
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  1   Compl. ¶ 39. Paragraph 9, in turn, defines “Exam Content” as
  2
            the questions, problems and suggested answers (“Exam Content”),
  3         which include the prefatory material, narrative passages, diagrams and
            answer choices that make up the test items used in the Uniform CPA
  4         Exam.”
  5   Compl. ¶ 9. That’s it. That’s the “trade secrets” definition AICPA offers. But AICPA
  6   doesn’t accused Mr. Lau of misappropriating all that stuff—“the prefatory material,
  7   narrative passages, diagrams and answer choices that make up the test items used in
  8   the Uniform CPA.” AICPA alleges only that Mr. Lau discussed a few questions,
  9   without alleging anything substantive to suggest that the information reflected in
 10   those questions rises to the level of trade secret information.
 11         Other than the spartan allegations of 39 and 9, the Complaint contains
 12   absolutely no allegations about the content of the information at issue. There are
 13   simply no qualitative allegations about Exam Content anywhere in the Complaint,
 14   which precludes the Court from obtaining DTSA jurisdiction because the existence
 15   of a trade secret has not been plausibly alleged. See, e.g., Vendavo, Inc. v. Price f(x)
 16   AG, 2018 WL 1456697, at *4 (N.D. Cal. Mar. 23, 2018). “[AICPA] has not pleaded
 17   sufficient facts to show plausible misappropriation of trade secrets. Indeed, [AICPA]
 18   has set out its purported trade secrets in broad, categorical terms, more descriptive of
 19   the types of information that generally may qualify as protectable trade secrets than
 20   as any kind of listing of particular trade secrets [AICPA] has a basis to believe
 21   actually were misappropriated here.” Id.
 22          “To determine whether a plaintiff sufficiently identified a trade secret, courts
 23   examine ‘(1) whether something beyond general knowledge is being claimed and (2)
 24   whether there is enough specificity to put the defendant on notice regarding the nature
 25   of the trade secret.’” Creative Writer Software, 2023 WL 6786796, at *3 (citing
 26   Beluca Ventures LLC v. Einride Aktiebolag, ––– F. Supp. 3d ––––, No. 21-06992,
 27   2023 WL 2456716, at *5 (N.D. Cal. Mar. 10, 2023)). Here, the Court cannot even
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
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  1   proceed past the first step, because there are insufficient factual allegations to
  2   determine “whether something beyond general knowledge is being claimed.” Id. On
  3   the contrary, it appears that the primary purpose of the subject information (“Exam
  4   Content”) is to test general knowledge in the accountancy industry.
  5         Second, there are no allegations that plausibly suggest the subject information
  6   is valuable because of its secrecy. In a real trade secrets case, “it is the secrecy of the
  7   information that permits it to be treated as ‘property,’ because secrecy allows the
  8   information-holder to exclude others from using that information.” Alderson v.
  9   United States, 718 F. Supp. 2d 1186, 1199 (C.D. Cal. 2010), aff'd, 686 F.3d 791 (9th
 10   Cir. 2012) (citing inter alia Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1011, 104
 11   S. Ct. 2862, 2877, 81 L. Ed. 2d 815 (1984)). By contrast, here, AICPA cannot exclude
 12   others from using the subject information at all: its test questions are available for
 13   anyone who qualifies for the exam, and the underlying information in the test is pure
 14   industry knowledge. Rather than secrecy, it is AICPA’s influence in the CPA
 15   licensure process and government-derived monopoly power as the sole supplier of
 16   CPA licensing exams that allows AICPA to treat its test information as “property.”
 17   AICPA doesn’t even have the right to exclude others from accessing the subject
 18   information—AICPA must make its tests available to anyone who meets the
 19   requirements to sit for their state’s CPA licensure exam, and it must also make
 20   available the underlying information candidates need to prepare for the exam.
 21         The fact that AICPA licenses and monetizes retired exam content to third
 22   parties for the express purpose of allowing those third parties to teach exam
 23   candidates the subject information proves that any economic value to AICPA’s exam
 24   content comes not from its secrecy (retired exam content is anything but secret, after
 25   all) but from AICPA’s monopoly as a test provider and, perhaps, its exclusionary
 26   rights for compilations of information under the Copyright Act. Mr. Lau alleges that
 27   a reasonable opportunity for discovery will show that AICPA has disclosed most if
                                                             DEFENDANT STEPHEN LAU’S ANSWER
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  1   not all of the information it claims as trade secrets by including that information in
  2   prior exams, by licensing the same or similar content to test preparation providers,
  3   and/or by otherwise disclosing information about AICPA’s exams and how to
  4   prepare for them.
  5         AICPA admits that it licenses retired Exam Content to third party exam review
  6   course providers. Comp. ¶ 50. Mr. Lau alleges that a reasonable opportunity for
  7   discovery will reveal that past licensed content reflects AICPA’s alleged “trade
  8   secrets” in this case, and that the contracts referred to in paragraph 51 of AICPA’s
  9   complaint will reveal licenses to and royalties for copyright licenses, not trade secrets
 10   licenses, or will otherwise prove that any economic value test materials have is not
 11   derived from secrecy.
 12         Third, the Complaint does not plausibly allege any act of misappropriation by
 13   Mr. Lau. AICPA alleges only that (i) “On February 3, 2024…Defendant posted a
 14   message in the ‘CPA Study Group’ Discord server containing a virtually exact
 15   reproduction of both the content of an ISC multiple choice question;” (ii) “Defendant
 16   also disclosed descriptions of the subject matter of three task-based simulations on
 17   the same Discord server”; and (iii) in November 2023, “Defendant again provided
 18   details about the subject matters of four different multiple choice questions from the
 19   REG Exam.” Compl. ¶¶ 73-74; 83. There are no further facts alleged about the
 20   content of these questions or Mr. Lau’s posts, which precludes the Court from finding
 21   a plausible trade secrets claim based on Mr. Lau’s study group communications.
 22   Moreover, the Complaint’s own allegations suggest that Mr. Lau’s study group
 23   discussions were made to other persons with authorization to access such information
 24   in any event. Such disclosures cannot amount to misappropriation.
 25         “[T]rade secret law protects the right to maintain the confidentiality of facts,
 26   not ideas.” Loop AI Labs, 195 F. Supp. 3d at 1111 (citation omitted). Here, the facts
 27   AICPA accuses Mr. Lau of disclosing are not the type of facts that “can, at the
                                                            DEFENDANT STEPHEN LAU’S ANSWER
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  1   possessor's option, be made known to others, or withheld from them, i.e., kept
  2   secret.” Id. On the contrary, the underlying facts contained in AICPA’s exams
  3   consist of information that must be made known to all CPA applicants to provide
  4   them with “the knowledge and skills that all newly licensed CPAs need in their role.”
  5   Compl. ¶ 34. It is axiomatic that “[t]he subject of a trade secret must be secret, and
  6   must not be of public knowledge or of a general knowledge in the trade or business.”
  7   Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 475 (1974). Yet general knowledge
  8   in the trade is exactly what the Uniform CPA Exam is designed to test. See, e.g.,
  9   Compl. ¶¶ 14, 34-35.
 10         According to AICPA’s own allegations, the nature of Exam Content
 11   information is such that anyone who is “able to exercise the skills [] required of a
 12   newly licensed CPA” can “correctly answer the questions.” Compl. ¶ 14. “The Core
 13   exam sections assess the knowledge and skills that all newly licensed CPAs need,”
 14   while “The Discipline exam sections assess the knowledge and skills in the respective
 15   Discipline domain.” Compl. ¶¶ 34-35. These allegations establish that the “subject
 16   matters” of and factual information contained within the four questions Mr. Lau
 17   discussed in his study group discussions cannot be subject to trade secret protection
 18   as a matter of law.
 19         Finally, even assuming that Mr. Lau is “a person who…had reason to know…
 20   that [his] knowledge of trade secret was…acquired under circumstances giving rise
 21   to a duty to…limit the use of the trade secret,” 18 U.S.C. § 1839(5), it is implausible
 22   to suggest that Mr. Lau intended to deprive AICPA of its ownership of Exam Content
 23   by talking about the subject information in the context of a study group discussion.
 24   Trade secret law “does not offer protection against discovery by fair and honest
 25   means, such as by independent invention, accidental disclosure, or by so-called
 26   reverse engineering.” Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 476, 94 S. Ct.
 27   1879, 1883, 40 L. Ed. 2d 315 (1974). Any accidental disclosure of AICPA’s alleged
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1   trade secrets during the course of Mr. Lau’s alleged study group communications
  2   cannot be a trade secrets violation.
  3         Sua Sponte Dismissal. Because Plaintiff fails to plausibly allege any federal
  4   claims, the Court has a sua sponte duty to dismiss this case for lack of jurisdiction.
  5   That would not leave AICPA without a potential remedy, however. If AICPA
  6   believes it has contract claims against Mr. Lau, AICPA can attempt to vindicate its
  7   alleged contract rights in State court.
  8                                      Second Defense
                      Failure to State a Claim for Copyright Infringement
  9
 10         For the reasons discussed above in the copyright section of Mr. Lau’s first
 11   affirmative defense, the Complaint fails to allege a claim for copyright
 12   infringement.
 13                                      Third Defense
                                 Failure to State a DTSA Claim
 14
 15         For the reasons discussed above in the DTSA section of Mr. Lau’s first
 16   affirmative defense, the Complaint fails to allege a claim for trade secret
 17   misappropriation.
 18
                                         Fourth Defense
 19                       Failure to State a Breach of Contract Claim
 20         Under California law, the elements of a breach of contract claim are “(1) the
 21   existence of the contract, (2) plaintiff's performance or excuse for nonperformance,
 22   (3) defendant's breach, and (4) the resulting damages to the plaintiff.” Shabazyan v.
 23   Berkshire Hathaway Homestate Ins. Co., 2023 WL 2631834, at *2 (C.D. Cal. Feb.
 24   13, 2023) (quoting Oasis W. Realty, LLC v. Goldman, 51 Cal. 4th 811, 821 (2011)).
 25   AICPA’s complaint fails on its face to allege breach of contact, as AICPA does not
 26   even attempt to allege its own performance or excuse for nonperformance. Nor can
 27   AICPA claim damages. Any harms AICPA sustains because of this case will be
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1   entirely self-inflicted.
  2          In addition, under California law, “the doctrine of mutuality of obligation
  3   requires that the promises on each side of a contract must be binding obligations in
  4   order to be consideration for each other.” Fosson v. Palace (Waterland), Ltd., 78
  5   F.3d 1448, 1454 (9th Cir. 1996) (citing Witkin, Summary of California Law,
  6   Contracts § 228 (9th ed. 1987) and Mattei v. Hopper, 51 Cal.2d 119, 330 P.2d 625,
  7   626 (1958)). AICPA does not allege any consideration of mutuality of obligation
  8   for the alleged contract at issue.
  9                                       Fifth Defense
                                  Failure to Mitigate Damages
 10
 11          At all times relevant, AICPA has been a user of the Discord and Reddit study
 12   groups described in its Complaint. Mr. Lau avers that a reasonable opportunity for
 13   discovery will reveal that what originally began as a surreptitious attempt by
 14   AICPA to secretly surveil exam candidates’ study group communications
 15   eventually became common knowledge of users of the subject Discord and Reddit
 16   due to AICPA’s communications with study group members.
 17          In the past, AICPA has reached out to users of these study groups to
 18   complain about postings that AICPA viewed as violative of its alleged rights. As a
 19   user of the Discord and Reddit groups, AICPA could have easily addressed and/or
 20   prevented the conduct it now complains of in this case through a simple Discord
 21   message to Mr. Lau or to the study groups generally. In fact, had AICPA acted
 22   promptly and in good faith by communicating with Mr. Lau when it first learned of
 23   Mr. Lau’s original post, most of the alleged conduct AICPA alleges in the
 24   complaint would never even have happened.
 25          Rather than comply with its duty to mitigate damages and extend to Mr. Lau
 26   the good faith and fair dealing that all contracting parties are required to provide to
 27   each other, AICPA elected instead to lie in wait, permit the conduct it complains of
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  1   to continue (including, as discovery will show, by other members of the study
  2   groups), and predictably compounded its own alleged injuries. AICPA is barred
  3   from recovering damages that could have and would have been easily avoided by
  4   any good faith operator.
  5                                        Sixth Defense
                                             Standing
  6
  7         Mr. Lau avers that a reasonable opportunity for discovery will reveal that
  8   AICPA lacks standing on certain portions of its copyright claim because the alleged
  9   content reproduced includes material that is either not the work registered under
 10   Registration TXu002287113 or registered as a compilation work under other
 11   registrations that have not been pleaded. J & J Sports Prods., Inc. v. Kigo, No. C
 12   10-05512 SI, 2011 WL 3418394, at *1 (N.D. Cal. Aug. 4, 2011) (“plaintiff must
 13   affirmatively plead registration in order to adequately state a claim for copyright
 14   infringement.”). Alternatively, Mr. Lau avers that a reasonable opportunity for
 15   discovery will reveal that the content he allegedly “reproduced” includes material
 16   that has never been subject to any copyright registration or application.
 17         For example, to the extent AICPA can allege in good faith that the single test
 18   item Mr. Lau allegedly “virtually exact(ly)” reproduced is copyrightable on its own
 19   (i.e., the question itself has “artistic features that can be separated from [its]
 20   utilitarian function,” see, e.g., Fabrica Inc. v. El Dorado Corp., 697 F.2d 890, 894
 21   (9th Cir. 1983) and is original, not just “expressions that are standard, stock, or
 22   common to a particular subject matter or medium,” see, e.g., Satava v. Lowry, 323
 23   F.3d 805, 810 (9th Cir. 2003), no such theory is alleged in the Complaint.
 24   Accordingly, Mr. Lau alleges that AICPA lacks statutory standing to bring
 25   copyright infringement claims for any materials that are not subject to Registration
 26   No. TXu002287113. 17 U.S.C. § 411(a) (“[N]o civil action for infringement of the
 27   copyright in any United States work shall be instituted until preregistration or
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  1   registration of the copyright claim has been made in accordance with this title.”).
  2   Mr. Lau alleges that a reasonable opportunity for discovery will show that before
  3   filing this action, AICPA knew of or should have known of the registration
  4   problems.
  5                                Seventh Affirmative Defense
                                            Fair Use
  6
  7         Section 107 of the Copyright Act provides that “Notwithstanding the
  8   provisions of sections 106 and 106A, the fair use of a copyrighted work, including
  9   such use…for purposes such as criticism, comment, news reporting, teaching
 10   (including multiple copies for classroom use), scholarship, or research, is not an
 11   infringement of copyright.” Section 107 further provides that “[i]n determining
 12   whether the use made of a work in any particular case is a fair use the factors to be
 13   considered shall include (1) the purpose and character of the use, including whether
 14   such use is of a commercial nature or is for nonprofit educational purposes; (2) the
 15   nature of the copyrighted work; (3) the amount and substantiality of the portion
 16   used in relation to the copyrighted work as a whole; and (4) the effect of the use
 17   upon the potential market for or value of the copyrighted work.” 17 U.S.C. § 107.
 18         Here, AICPA admits that all of Mr. Lau’s allegedly infringing posts were
 19   made in the context of exam candidate study groups. Such communications were
 20   obviously made for non-commercial fair use “purposes such as criticism,
 21   comment…teaching… scholarship, or research” and cannot be infringing as a
 22   matter of law. Each of Section 107’s four statutorily enumerated fair use factors
 23   buttress this conclusion.
 24         First, the purpose and character of the alleged communications were
 25   academic, critical, scholarly, and generally for purposes of study. See, e.g., Sega
 26   Enterprises Ltd. v. Accolade, Inc., 977 F.2d 1510, 1520 (9th Cir. 1992) (“Where
 27   there is good reason for studying or examining the unprotected aspects of a
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  1   copyrighted [work]…such study or examination constitutes a fair use”). The
  2   character was not at all commercial. Compare Tresona Multimedia, LLC v.
  3   Burbank High Sch. Vocal Music Ass'n, 953 F.3d 638, 651 (9th Cir. 2020) (using
  4   portion of work for “new and different” purpose that also furthered high school
  5   students’ musical learning and development held fair use); Loew's Inc. v. Columbia
  6   Broad. Sys., 131 F. Supp. 165, 176 (S.D. Cal. 1955), aff'd sub nom. Benny v. Loew's
  7   Inc., 239 F.2d 532 (9th Cir. 1956), aff'd sub nom. Columbia Broad. Sys., Inc, v.
  8   Loew's Inc., 356 U.S. 43, 78 S. Ct. 667, 2 L. Ed. 2d 583 (1958) (“broader scope [of
  9   Fair Use] will be permitted the doctrine where the field of learning is concerned and
 10   a much narrower scope where the taking is solely for commercial gain.”); Newport-
 11   Mesa Unified Sch. Dist. v. State of California Dep't of Educ., 371 F. Supp. 2d 1170,
 12   1179 (C.D. Cal. 2005) (“The Court concludes a school giving parents of special
 13   education students copies of their children's test protocols when requested under
 14   California Education Code section 56504 is a fair use under 17 U.S.C. § 107.”).
 15         Second, the nature of the copyrighted work is highly functional (designed to
 16   qualify persons for the CPA profession) and factual (reflecting basic knowledge all
 17   CPAs must possess to perform their duties), such that the work receives only the
 18   thinnest form of copyright protection (if any). See, e.g., Rassamni v. Fresno Auto
 19   Spa, Inc., 365 F. Supp. 3d 1039, 1046 (E.D. Cal. 2019) (discussing thin protection
 20   for factual compilations and noting that “systems…designed to assist in
 21   accomplishing a task…[are] not protected under copyright law”)(citing Sega
 22   Enters. Ltd. v. Accolade, Inc., 977 F.2d 1510, 1525 (9th Cir. 1992)) accord
 23   Bikram's Yoga Coll. of India, L.P. v. Evolation Yoga, LLC, 803 F.3d 1032, 1038
 24   (9th Cir. 2015) (“copyright in a manual describing how to organize roller-skating
 25   races does not extend to the rules for the races themselves”)(citation omitted).
 26         Third, Mr. Lau avers that a reasonable opportunity for discovery will reveal
 27   that any portions of the work he “reproduced” from memory are factual, de
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  1   minimis, and insubstantial compared to the work as a whole, amounting to a mere
  2   fraction of a percent of the compilation comprising the work. See, e.g., Tresona
  3   Multimedia, LLC v. Burbank High Sch. Vocal Music Ass'n, 953 F.3d 638, 651 (9th
  4   Cir. 2020) (use of only “small segments” of copyrighted works weighed in favor of
  5   fair use).
  6          Fourth, Mr. Lau avers that a reasonable opportunity for discovery will reveal
  7   that his study group communications can have absolutely no effect on the market
  8   for AICPA’s Registration TXu002287113.
  9                                     Eighth Defense
                                       Copyright Misuse
 10
 11          “The defense of copyright misuse forbids a copyright holder from securing
 12   an exclusive right or limited monopoly not granted by the Copyright Office.” A&M
 13   Recs., Inc. v. Napster, Inc., 239 F.3d 1004, 1026 (9th Cir. 2001). The misuse
 14   defense also “prevents a copyright holder that has misused its copyright from
 15   enforcing the copyright in a court of equity.” Shloss v. Sweeney, 515 F. Supp. 2d
 16   1068, 1079 (N.D. Cal. 2007). A finding of copyright misuse precludes enforcement
 17   of the copyright to a work “during the period of misuse.” Id.
 18          To establish copyright misuse, an accused infringer need only show that a
 19   “copyright is being used in a manner violative of the public policy embodied in the
 20   grant of copyright;” the accused need not prove an antitrust violation to prevail on a
 21   misuse defense. Id. As discussed above and below in Mr. Lau’s other copyright-
 22   related defenses, AICPA has no meritorious copyright infringement claim against
 23   Mr. Lau but is nevertheless pursuing claims that are foreclosed as a matter of law
 24   by binding Ninth Circuit precedent regarding at least (i) infringement of fact-heavy
 25   compilation works and (ii) fair use for educational purposes. In addition, AICPA
 26   has used this litigation as an anticompetitive weapon, abusing the process itself by
 27   needlessly sending a courier to hand Mr. Lau the complaint and summons as he was
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  1   walking into the last CPA exam standing between him and licensure—after
  2   previously serving Mr. Lau at home the night before.
  3         Mr. Lau avers that a reasonable opportunity for discovery will reveal that
  4   AICPA has, at all times relevant, engaged in a practice of asserting objectively
  5   baseless copyright infringement allegations in order to obtain rights that are not
  6   intended under, and indeed conflict with the very spirit of, the Copyright Act. Mr.
  7   Lau avers that a reasonable opportunity for discovery will reveal that AICPA has, at
  8   all times relevant, engaged in unfair, deceptive, and illegal business practices
  9   related to its exam administration duties, including at least unlawful practices in
 10   connection with substantively and procedurally unconscionable contract-formation
 11   practices.
 12         Even without discovery, it is clear from the face of AICPA’s Complaint that
 13   AICPA is using its Registration TXu002287113 “in a manner violative of the
 14   public policy embodied in the grant of copyright” by accusing Mr. Lau of willful
 15   copyright infringement based on his discussion of the “subject matter” of Exam
 16   Content in online study groups. Shloss, 515 F. Supp. 2d at 1080 (copyright misuse
 17   defense “applies broadly ‘if a copyright is leveraged to undermine the
 18   Constitution's goal of promoting invention and creative expression.’”)(citing Metro-
 19   Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 454 F. Supp. 2d 966, 995 (C.D. Cal.
 20   2006) and In re Napster, Inc. Copyright Litig., 191 F. Supp. 2d 1087, 1108 (N.D.
 21   Cal. 2002)).
 22                                      Ninth Defense
                                            Merger
 23
 24         “Under the merger doctrine, courts will not protect a copyrighted work from
 25   infringement if the idea underlying the copyrighted work can be expressed in only
 26   one way, lest there be a monopoly on the underlying idea.” Ets-Hokin v. Skyy
 27   Spirits, Inc., 225 F.3d 1068, 1082 (9th Cir. 2000) (citing CDN Inc. v. Kapes, 197
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  1   F.3d 1256, 1261 (9th Cir.1999)). “In such an instance, it is said that the work’s idea
  2   and expression ‘merge.’” Id.
  3         Mr. Lau understands from AICPA’s unhinged copyright infringement
  4   theories that, to the extent Mr. Lau’s posts contains portions of text found in the
  5   items registered as Registration TXu002287113, such portions of Registration
  6   TXu002287113 merged with the underlying ideas those portions express. “[T]here
  7   should be no monopoly on the underlying unprotectable idea,” but such a monopoly
  8   is exactly what AICPA appears to be trying to achieve through its copyright claim.
  9   Id.
 10         In addition to his present understanding of AICPA’s practices and objectives,
 11   which is based on AICPA’s Complaint and past conduct in gaining access to and
 12   communicating with members of the Discord study group described in the
 13   Complaint, Mr. Lau avers that a reasonable opportunity for discovery will reveal
 14   that AICPA’s own prior copyright registrations, licensing of retired Exam Content
 15   to CPA Exam review course providers (Compl. ¶ 50), publicly available AICPA
 16   materials, and third-party exam preparation publications will show that there are
 17   only a very limited number of ways to express the ideas underlying the exam items
 18   at issue, further supporting Mr. Lau’s merger defense. See, e.g., Satava v. Lowry,
 19   323 F.3d 805, 812 n. 5 (9th Cir. 2003) (accusations of infringement based on
 20   defendants’ use of “standard and stereotyped elements” or “the combination of
 21   those elements” suggested merger).
 22                                      Tenth Defense
                                         Scènes à Faire
 23
 24         The scènes à faire doctrine “immunize[s] from liability similarity…that
 25   necessarily follows from a common theme or setting.” Ets-Hokin v. Skyy Spirits,
 26   Inc., 225 F.3d 1068, 1082 (9th Cir. 2000)(citing 4 Nimmer § 13.03). “[L]ike
 27   merger, the rationale is that there should be no monopoly on the underlying
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  1   unprotectable idea.” Id. “A scenes a faire finding…does not turn on whether
  2   plaintiff copied prior art” but rather on whether “motive similarities” that the
  3   plaintiff attributes to “copying” could “actually be explained by the commonplace
  4   presence of the same or similar motives within the relevant field.” Smith v.
  5   Jackson, 84 F.3d 1213, 1219 (9th Cir. 1996). Mr. Lau avers that a reasonable
  6   opportunity for discovery will reveal that any portions of content from Registration
  7   TXu002287113 present in Mr. Lau’s Reddit or Discord study group discussions are
  8   the result of the commonplace presence of the same or similar expressions and short
  9   statements within the relevant field of accountancy policies and training materials.
 10                                    Eleventh Defense
                                      De Minimis Copying
 11
 12         Mr. Lau avers that a reasonable opportunity for discovery will reveal that any
 13   portions of the work he “reproduced” are factual, de minimis, and insubstantial
 14   compared to the work as a whole, amounting to a small fraction of a percent of the
 15   compilation comprising the Registered Work.
 16                                    Twelfth Defense
                                     Copyright Preemption
 17
 18         The Copyright Act preempt state law claims if (1) “the ‘subject matter’ of the
 19   state law claim falls within the subject matter of copyright”; and (2) “the rights
 20   asserted under state law” are “equivalent to the rights contained in 17 U.S.C. §
 21   106.” Iron Orchid Designs, LLC v. Prima Mktg., Inc., 2018 WL 5921351, at *3
 22   (C.D. Cal. Nov. 9, 2018) (citing Laws v. Sony Music Entertainment, Inc., 448 F.3d
 23   1134, 1137–38 (9th Cir. 2006)). Both conditions are satisfied here, as AICPA’s
 24   Complaint expressly alleges that Mr. Lau breached the alleged contract by
 25   “copying, publicly displaying and disclosing Exam Content.” Compl. ¶ 18; see,
 26   e.g., Yellowcake, Inc. v. Hyphy Music, Inc., No. 1:20-CV-0988 AWI BAM, 2021
 27   WL 3052535, at *15 (E.D. Cal. July 20, 2021) (“Because the Court finds that the
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  1   acts of reproducing, performing, and “misappropriating” are actions covered by §
  2   106, the UCL claims against Yellowcake and Colonize are preempted by the
  3   Copyright Act.”).
  4         In addition, if AICPA is correct about its breach of contract theory-i.e., that
  5   anyone who writes about the “subject matter” of “Exam Content” breached the
  6   NDA and infringes AICPA’s copyrights by reproducing, displaying, or creating a
  7   “derivative work” of Exam Content, one or more of AICPA’s non-copyright claims
  8   are preempted by the Copyright Act for the reasons stated above in Mr. Lau’s other
  9   copyright-related defenses, including his copyright misuse defense. See, e.g.,
 10   Netbula, LLC v. BindView Dev. Corp., 516 F. Supp. 2d 1137, 1148 (N.D. Cal.
 11   2007) (“federalism principles dictate that state rules of contractual construction
 12   cannot interfere with…federal copyright law and policy”) (citation omitted).
 13                                   Thirteenth Defense
                                       Implied License
 14
 15         Mr. Lau is aware of the AICPA’s monitoring of and participation in the study
 16   groups at issue in this case and alleges that a reasonable opportunity for discovery
 17   will show “rigorous” monitoring of the study groups’ communications for many
 18   years. Discord servers and Reddit communities are moderated by the users. At all
 19   times relevant, Mr. Lau has understood the conduct of participants in the Reddit and
 20   Discord study groups to be subject to rules implemented by the moderators of those
 21   study groups. Also at all times relevant, AICPA and/or its agents have been aware
 22   of the existence of the study groups and their respective rules, community
 23   standards, and the nature and frequency of moderators’ enforcement of posted rules.
 24   Also at all times relevant, AICPA has been aware of conduct of the type it alleges
 25   in its complaint by numerous individuals other than Mr. Lau.
 26         Mr. Lau’s alleged conduct was consistent with routine conduct in the study
 27   groups and their respective rules, guidelines, and community standards as evidence
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1   by the nature and frequency of moderators’ enforcement of posted rules. Mr. Lau
  2   believed his conduct was not objectionable because AICPA has long acquiesced to
  3   the conduct of which it now complains. Mr. Lau relied on AICPA’s conduct and
  4   lack thereof. The totality of circumstances therefore creates an implied license. See,
  5   e.g., Roblox Corp. v. WowWee Grp. Ltd., No. 22-cv-04476-SI, 2024 U.S. Dist.
  6   LEXIS 158056, at *15 (N.D. Cal. Sep. 3, 2024) (collecting cases like Field v.
  7   Google Inc., 412 F. Supp. 2d 1106, 1116 (D. Nev. 2006) (“An implied license can
  8   be found” where rights holder engaged “in conduct from which the other party may
  9   properly infer that the owner consents to his use.”) and Mindys Cosmetics, Inc. v.
 10   Dakar, No. CV 08-4459 SVW (RZx), 2009 U.S. Dist. LEXIS 141026 (C.D. Cal.
 11   July 14, 2009) (finding implied license where “plaintiff was well aware” of
 12   complained of conduct and “acquiesced to such use.”); Melville B. Nimmer &
 13   David B. Nimmer, Nimmer on Copyright § 10.03[A][7] (revised ed. 2009) ("A
 14   nonexclusive license may therefore be granted orally, or may even be implied from
 15   conduct. Where the totality of the parties' conduct indicates an intent to grant such
 16   permission, the result is a nonexclusive license."); see Milgrim on Licensing § 5.41
 17   (2010)(similar); De Forest Radio Tel. Co. v. United States, 273 U.S. 236, 241, 47 S.
 18   Ct. 366, 71 L. Ed. 625, 63 Ct. Cl. 677 (1927) ("No formal granting of a license is
 19   necessary in order to give it effect. Any . . . conduct on [the owner's] part exhibited
 20   to another, from which that other may properly infer that the owner consents to his
 21   use of the patent . . . constitutes a license . . . ."); Interscope Records, Motown
 22   Record Co., L.P. v. Time Warner, Inc., No. CV 10-1662 SVW (PJWx), 2010 U.S.
 23   Dist. LEXIS 151460, at *11-12 (C.D. Cal. June 28, 2010) (collecting case);
 24   Softketeers, Inc. v. Regal W. Corp., No. 8:19-cv-00519-JWH (JDEx), 2023 U.S.
 25   Dist. LEXIS 233249, at *17 (C.D. Cal. Dec. 26, 2023) (citing Asset Mktg. Sys. v.
 26   Gagnon, 542 F.3d 758, 752 (9th Cir. 2008) for the proposition that “because the
 27   alleged copyright infringer had an implied license to the copyrighted work, the
                                                             DEFENDANT STEPHEN LAU’S ANSWER
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  1   license included access to any trade secret embodied therein”).
  2                                   Fourteenth Defense
                                            Laches
  3
  4         The equitable doctrine of laches is a defense to equitable relief. Trevari
  5   Media LLC v. Cantu, 2024 WL 3411815, at *4 (D. Or. June 20, 2024) (citing
  6   Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 685 (2014)); M.I.B. Grp.
  7   LLC v. Aguilar, No. 5:23-CV-01597-SVW-SHK, 2024 WL 3857540, at *16 (C.D.
  8   Cal. July 16, 2024) (“the Ninth Circuit has held that laches barred an otherwise
  9   meritorious trademark or copyright claim because the plaintiff had constructive
 10   knowledge of potentially infringing activity outside the limitation period”). Here,
 11   Mr. Lau understands that AICPA has been a member of the private Discord server
 12   referred to in the Complaint since at least 2022. Mr. Lau further alleges that a
 13   reasonable opportunity for discovery will reveal that AICPA has been a member of
 14   the subject Discord Server since prior to 2021, and that at all times relevant, AICPA
 15   has aware of allegedly infringing conduct on that Discord Server that occurred
 16   more than three years before AICPA filed its case against Mr. Lau.
 17                                    Fifteenth Defense
                                            Privilege
 18
 19         Mr. Lau’s alleged communications were constitutionally protected statements
 20   about matters of public concern. In addition, and/or in the alternative, Mr. Lau’s
 21   alleged communications are privileged under California Civil Code 47.
 22                                    Sixteenth Defense
                                       Unconscionability
 23
 24         AICPA’s contract claim and all claims that depend on the existence of a
 25   contract are barred by the doctrine of unconscionability. Under California law, a
 26   court can decline to enforce a contract if it is “unconscionable in both the
 27   procedural and substantive senses.” E.g., Lynda Tyler, Plaintiff, v. Tailored Shared
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1   Servs., LLC, Defendant., 2024 WL 4894589, at *5 (E.D. Cal. Nov. 26, 2024) (citing
  2   Sanchez v. Valencia Holding Co., LLC, 61 Cal. 4th 899, 911, 353 P.3d 741, 748
  3   (2015)). “The more substantively oppressive the contract term, the less evidence of
  4   procedural unconscionability is required to come to the conclusion that the term is
  5   unconscionable, and vice versa.” Id. “The unconscionability doctrine ensures that
  6   contracts, particularly contracts of adhesion, do not impose terms that have been
  7   variously described as “overly harsh.’” Sanchez v. Valencia Holding Co., LLC, 61
  8   Cal. 4th 899, 910, 353 P.3d 741, 748 (2015). Here, AICPA’s alleged Contract is
  9   highly unconscionable in both the procedural and substantive sense; “overly harsh”
 10   perfectly describes AICPA’s breach of contract claim.
 11         Procedurally, the alleged contracts (collectively, the alleged “NDA”) are pure
 12   adhesion contracts: the NDA was “drafted and imposed” unilaterally by AICPA, a
 13   monopolist “party of superior bargaining strength,” and it was offered to Mr. Lau
 14   “on essentially a ‘take it or leave it’ basis without affording the consumer a realistic
 15   opportunity to bargain and under such conditions that the consumer cannot obtain
 16   the desired product or services except by acquiescing in the form contract.” Sanchez
 17   v. Valencia Holding Co., LLC, 61 Cal. 4th 899, 930, 353 P.3d 741, 762 (2015). In
 18   fact, discovery may reveal that Mr. Lau was not even provided with an opportunity
 19   to read the contract at the time of alleged contact formation—a situation that would
 20   be so procedurally unconscionable as to require only nominal evidence of
 21   substantive unconscionability under California’s sliding scale approach. Id.5
 22
      5
 23     According to AICPA, Mr. Lau entered into the NDA when he scheduled himself
      to sit for CPA Exams. But Mr. Lau scheduled his exams on a third-party website
 24   that provided a purported NDA that is different than the one attached to AICPA’s
      complaint, and it is unclear whether that third party had sufficient authority to enter
 25   into contracts on behalf of AICPA. To the extent AICPA contends that a valid
 26   contract was formed when Mr. Lau clicked through notices on the day of his exam,
      it is unclear what consideration supported that agreement and Mr. Lau does not
 27   recall being able to actually access the terms of the NDA from his exam room.
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 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
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  1         Substantively, the NDA is extremely oppressive—as AICPA’s own
  2   allegations make clear. According to AICPA, a test taker breaches the NDA by
  3   merely remembering any “Exam Content,” Compl. ¶¶ 58 (alleging NDA prohibits
  4   “memorization”), 60 (“reconstruction through memorization”), 124 (similar), 125
  5   (similar) or discussing in a study group the “subject matters” contained in Exam
  6   Conduct. Worse still, “Exam Content” is vaguely and broadly defined to include
  7   everything about the Exam, from exam questions to “prefatory material,” regardless
  8   of whether such materials actually reflect any non-public information. Compl. ¶ 9.
  9   Moreover, the AICPA attempts to force candidates to agree that material is
 10   confidential/trade secret information before candidates are allowed to even see such
 11   information. In brief, AICPA’s adhesion contracts like the alleged NDA “include
 12   ‘terms that impair the integrity of the bargaining process,” “contravene the public
 13   interest and public policy,” “attempt to alter in an impermissible manner
 14   fundamental duties otherwise imposed by the law,” and “seek to negate the
 15   reasonable expectations of the nondrafting party,” imposing “unreasonably and
 16   unexpectedly harsh terms.” Sanchez v. Valencia Holding Co., LLC, 61 Cal. 4th
 17   899, 911, 353 P.3d 741, 748 (2015).
 18                                  Seventeenth Defense
                                          Mistake
 19
 20         AICPA’s contract claims and all claims that depend on the existence of a
 21   contract are barred by the doctrine of mistake. A party may rescind a contract if his
 22   or her consent was given by mistake. Civ.Code, § 1689, subd. (b)(1). “A factual
 23   mistake by one party to a contract, or unilateral mistake, affords a ground for
 24   rescission in some circumstances. Donovan v. RRL Corp., 26 Cal. 4th 261, 278, 27
 25   P.3d 702, 714 (2001), as modified (Sept. 12, 2001) (citing Cal. Civil Code section
 26   1577: “Mistake of fact is a mistake, not caused by the neglect of a legal duty on the
 27   part of the person making the mistake, and consisting in: [¶] 1. An unconscious
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1   ignorance or forgetfulness of a fact past or present, material to the contract”).
  2         Here, there was a mistake of fact with respect to Mr. Lau’s understanding of
  3   the alleged NDA. First, it is unclear what documents actually comprise that parties’
  4   agreement, especially in view of the thicket of agreements and disclaimers made by
  5   multiple parties through the course of alleged contract formation. It appears from
  6   AICPA’s allegations that there was no moment when AICPA or anyone else
  7   provided Mr. Lau with all the documents comprising his alleged agreement with
  8   AICPA.
  9         Second, Neither Mr. Lau nor any other reasonable person entering into the
 10   NDA could be expected to know of AICPA’s unreasonable and/or illegal
 11   interpretation of the NDA’s provisions. Nor could Mr. Lau or anyone else be
 12   expected to know that AICPA would claim foundational factual information known
 13   to all CPA exam candidates as AICPA’s “trade secrets” or “Confidential
 14   Information.” For example, Mr. Lau did not believe that discussing the “subject
 15   matters” of Exam Content-something done routinely in the study group, which has
 16   been monitored by AICPA and its agents at all times relevant—on a private study
 17   group Discord server would be deemed a breach, much less result in a federal case
 18   alleging trade secrets crimes. Mr. Lau understood the NDA to apply only to
 19   information that is actually confidential, whereas AICPA now claims publicly
 20   available information as its confidential or trade secrets information. “[T]he
 21   consequences of [this] mistake are so grave that enforcement of the contract would
 22   be unconscionable.” Donovan, 26 Cal. 4th at 281. Third, Mr. Lau was unaware of
 23   the fact that AICPA does not make good on the duty of good faith and fair dealing
 24   that is implied in any real contractual relationship.
 25         Mr. Lau is entitled to recission of the alleged agreement because he (1) made
 26   a mistake regarding a basic assumption upon which the defendant made the
 27   contract; (2) the mistake has a material effect upon the agreed exchange of
                                                               DEFENDANT STEPHEN LAU’S ANSWER
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  1   performances that is adverse to Mr. Lau; (3) Mr. Lau does not bear the risk of the
  2   mistake; and (4) the effect of the mistake is such that enforcement of the contract
  3   would be unconscionable.
  4                                   Eighteenth Defense
                                      Misrepresentation
  5
  6         AICPA’s contract claim and all claims that depend on the existence of a
  7   contract are bared by the doctrine of misrepresentation. At all times relevant,
  8   AICPA had reason to know and/or did in fact know that certain Exam Content does
  9   not qualify as confidential information, trade secret, or copyrightable subject
 10   matter. Without permitting Mr. Lau to first see Exam Content, AICPA
 11   misrepresented that all exam content was protectable as trade secret and/or
 12   copyright information and required Mr. Lau to confirm same.
 13         AICPA had reason to know and/or did in fact know that Mr. Lau believed
 14   AICPA’s NDA prevented disclosed only of information that is actually
 15   confidential. Nevertheless, AICPA misleadingly asked Mr. Lau to agree that all
 16   Exam Content is confidential, knowing its positions to be factually incorrect and
 17   legally baseless. In addition, by soliciting a contract with Mr. Lau, AICPA
 18   misrepresented that it would comply with “the implied covenant of good faith and
 19   fair dealing,” which “imposes upon each [contractual] party a duty of good faith
 20   and fair dealing in its performance and its enforcement.” Carma Devs. (Cal.), Inc.
 21   v. Marathon Dev. California, Inc., 2 Cal. 4th 342, 371, 826 P.2d 710, 726 (1992).
 22                                   Nineteenth Defense
                                       Undue Influence
 23
 24         AICPA’s contract claim and all claims that depend on the existence of a
 25   contract are bared by the doctrine of undue influence. Under California law, undue
 26   influence “is a shorthand legal phrase used to describe persuasion which tends to be
 27   coercive in nature, persuasion which overcomes the will without convincing the
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
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  1   judgment.” Odorizzi v. Bloomfield Sch. Dist., 246 Cal. App. 2d 123, 130, 54 Cal.
  2   Rptr. 533, 539 (Ct. App. 1966). “The hallmark of such persuasion is high pressure,
  3   a pressure which works on mental, moral, or emotional weakness to such an extent
  4   that it approaches the boundaries of coercion.” Id.
  5         “In essence undue influence involves the use of excessive pressure to
  6   persuade one vulnerable to such pressure, pressure applied by a dominant subject to
  7   a servient object.” Id. There can be no doubt that AICPA, a monopolist that
  8   anyone wishing to become a licensed CPA must do business with, is the dominant
  9   subject in the NDA transaction. In addition, it appears that AICPA may have
 10   required Mr. Lau to enter into a contract without providing access to its full terms,
 11   and at a time when AICPA knew Mr. Lau was on the clock before commencement
 12   of an exam. “In combination, the elements of undue susceptibility in the servient
 13   person and excessive pressure by the dominating person make the latter's influence
 14   undue, for it results in the apparent will of the servient person being in fact the will
 15   of the dominant person.” Odorizzi v. Bloomfield Sch. Dist., 246 Cal. App. 2d 123,
 16   131, 54 Cal. Rptr. 533, 540 (Ct. App. 1966). “Whether a person of subnormal
 17   capacities has been subjected to ordinary force or a person of normal capacities
 18   subjected to extraordinary force, the match is equally out of balance.” Id.
 19   Accordingly, Mr. Lau is entitled to recission of the NDA.
 20                                     Twentieth Defense
                                            Duress
 21
 22         AICPA’s contract claim and all claims that depend on the existence of a
 23   contract are bared by the doctrine of duress. “Duress generally exists whenever one
 24   is induced by the unlawful act of another to make a contract or perform some other
 25   act under circumstances that deprive him of the exercise of free will.” Tarpy v.
 26   Cnty. of San Diego, 110 Cal. App. 4th 267, 276 (2003). “[A]n unlawful act, to
 27   constitute duress, may be either a tort or a crime.” In re Marriage of Gonzalez, 57
                                                             DEFENDANT STEPHEN LAU’S ANSWER
 28                                                         TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                                 COUNTERCLAIMS
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  1   Cal. App. 3d 736, 743, 129 Cal. Rptr. 566, 570 (Ct. App. 1976). For the reasons
  2   discussed above and below, AICPA has engaged in at least tortious conduct by
  3   misusing its copyrights and engaging in unfair, deceptive and misleading practices
  4   with respect to its NDAs. Accordingly, Mr. Lau is entitled to recission of the NDA.
  5                                   Twenty-First Defense
                                           Illegality
  6
            AICPA’s contract claim and all claims that depend on the existence of a
  7
      contract are bared by the doctrine of illegality. “No principle of law is better settled
  8
      than that a party to an illegal contract or an illegal transaction cannot come into a
  9
      court of law and ask it to carry out the illegal contract or to enforce rights arising
 10
      out of the illegal transaction.” Holm v. Bramwell, 20 Cal. App. 2d 332, 336, 67
 11
      P.2d 114, 116 (1937). “Such agreements are traditionally referred to as ‘illegal
 12
      contracts,’ even though they are functionally described as contracts unenforceable
 13
      on grounds of public policy.” Kashani v. Tsann Kuen China Enter. Co., 118 Cal.
 14
      App. 4th 531, 541, 13 Cal. Rptr. 3d 174, 179 (2004). “[A] bargain may be illegal
 15
      even though no illegal performance is either promised or executed as the
 16
      consideration for a promise; it may be illegal because the making of such a bargain
 17
      is itself forbidden.” Id. a 542. For the reasons discussed above, AICPA’s contract
 18
      violates the Copyright Act and its policies, and contract formation was tainted by
 19
      AICPA’s unlawful conduct, including conduct prohibited by California’s Unfair
 20
      Competition Law, as described above and below.
 21
                                     Twenty-Second Defense
 22                                     Unclean Hands
 23
            For the reasons discussed above and below, AICPA comes to the Court with
 24
      unclean hands relative to the matter in which AICPA seeks relief, which bars
 25
      AICPA from obtaining any relief. Among other unlawful and/or inequitable
 26
      conduct, AICPA has engaged in copyright misuse; taken objectively baseless
 27
                                                             DEFENDANT STEPHEN LAU’S ANSWER
 28                                                         TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                                 COUNTERCLAIMS
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  1   positions regarding the scope of its intellectual property and contract rights;
  2   engaged in misleading and unfair practices in violation of California’s Unfair
  3   Competition Law; and has engaged in unethical business practices that shock the
  4   conscience.
  5                      SECOND AMENDED COUNTERCLAIMS
  6         1.      Stephen Lau is an aspiring Certified Public Accountant (“CPA”) who
  7   grew up in Upland, California. Mr. Lau earned a B.S. Degree in Accounting from
  8   the University of Southern California in May 2004 and has been working hard to
  9   complete the Uniform CPA Exam requirements necessary for a California CPA
 10   license since then. Mr. Lau has one more test section to pass before he is eligible
 11   for a California CPA license.
 12         2.      Mr. Lau is an individual diagnosed with Autism Spectrum Disorder,
 13   Attention Deficit Disorder, and Language Processing Disorder. Mr. Lau received
 14   his diagnosis later in life, and he struggled with the AICPA exam for several years
 15   before realizing he was entitled to disability accommodations. Despite many
 16   challenges, Mr. Lau refuses to give up on his goal of becoming a licensed CPA in
 17   California. In November 2017, the California Board of Accountancy (“CBA”)
 18   provided Mr. Lau with written confirmation of his entitlement to testing
 19   accommodations pursuant to the Americans with Disabilities Act (“ADA”).
 20   Subsequent to CBA’s November 2017 confirmation letter (“Accommodation
 21   Letter”), AICPA afforded Mr. Lau reasonable testing accommodations.
 22         3.      Unfortunately, all semblance of reasonableness at AICPA disappeared
 23   earlier this year, when AICPA sued Mr. Lau alleging objectively baseless copyright
 24   infringement and trade secrets claims based on routine statements made in study
 25   group discussions on Discord and Reddit. AICPA’s federal claims are shams. Mr.
 26   Lau has never infringed any AICPA copyrightable work, and AICPA’s alleged
 27   “trade secrets” consist of old information from a discontinued 2019 test,
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  1   information from which had already been disclosed to at least a quarter million
  2   people by the time of Mr. Lau’s Reddit and Discord posts. Such information is not
  3   “secret” by any stretch of the imagination, and it cannot possibly possess economic
  4   value by virtue of its alleged secrecy. In fact, the year after the subject copyright
  5   registration was filed, AICPA publicized its intent to phase out the BEC exam out
  6   altogether.
  7         4.      After sitting by idly observing Discord and Reddit study group
  8   discussions about AICPA exam content for years, AICPA surprised Mr. Lau with a
  9   federal lawsuit on September 11, 2024. AICPA then waited until September 23, the
 10   night before Mr. Lau sat for what he hoped would be his last CPA Exam, to serve
 11   him at home with the Complaint and summons. Perhaps that was just a coincidence.
 12   What was clearly not a coincidence was AICPA’s callous and legally pointless act
 13   of sending a messenger to slap Mr. Lau with a second copy of the Complaint as Mr.
 14   Lau was at the testing center walking into what he hoped would be his final CPA
 15   exam—an exam for which AICPA understood Mr. Lau needed reasonable disability
 16   accommodations.
 17         5.      Mr. Lau and his family are real people who are enduring real suffering
 18   because of AICPA’s fake federal claims. AICPA has no legitimate federal IP
 19   interests in this case. AICPA’s copyright claim is dead on arrival for all the reasons
 20   explained in Mr. Lau’s Affirmative Defenses and below, and AICPA’s trade secrets
 21   claim is similarly doomed to fail given the words of AICPA’s own Director of
 22   Psychometrics & Research for AICPA Examinations, John Mattar: “If somebody
 23   uses [the AICPA’s publicly available exam] blueprint to guide their studying,
 24   they’re going be looking at a detailed map of what could be on the test.”6
 25
      6
 26     https://www.journalofaccountancy.com/news/2017/jun/how-cpa-exam-is-scored-
      201716840.html; see also https://www.aicpa-cima.com/resources/article/learn-
 27   what-is-tested-on-the-cpa-exam
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                                COUNTERCLAIMS
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  1          6.     To recap, AICPA is suing Mr. Lau for communicating in online study
  2   groups for CPA exams. AICPA has been monitoring these study groups for years
  3   and could have easily prevented nearly all of the comments of which it now
  4   complains by sending a simple message to Mr. Lau.
  5          7.     Rather than acting as any good faith contracting party would and
  6   contacting Mr. Lau to inform him of their objections to his study group
  7   communications, AICPA chose to lurk on Discord and Reddit hoping to build a
  8   federal case. Such is not the conduct of a good faith plaintiff coming to the Court
  9   for real justice.
 10                                         The Parties
 11          8.     Mr. Lau is a resident of Upland, California and an aspiring CPA.
 12          9.     AICPA is a non-profit corporation doing regular business in California
 13   and is the world’s largest member association representing the accounting
 14   profession. According to its LinkedIn account, AICPA has over 1,000 employees,
 15   is a participant of the accounting industry, and has a headquarters in Durham, North
 16   Carolina.
 17                                  Jurisdiction and Venue
 18          10.    The Court has federal question subject matter jurisdiction over Mr.
 19   Lau’s counterclaims seeking declaratory relief related to AICPA’s federal copyright
 20   and trade secrets claims pursuant to 28 U.S.C. § 1331. The Court also has
 21   jurisdiction over Mr. Lau’s claim under the Digital Millenium Copyright Act and
 22   federal anti-discrimination claims pursuant to 28 U.S.C. § 1331. The Court has
 23   supplemental jurisdiction over Mr. Lau’s state law causes of action pursuant to 28
 24   U.S. Code § 1367.
 25          11.    This Court is the proper venue because a substantial part of the events
 26   giving rise to the parties’ claims occurred within his judicial district.
 27
                                                             DEFENDANT STEPHEN LAU’S ANSWER
 28                                                         TO PLAINTIFF’S AMENDED COMPLAINT
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  1                     Mr. Lau’s Endeavor to Become a Licensed CPA
  2         12.      Mr. Lau earned a B.S. Degree in Accounting from the University of
  3   Southern California in May 2004. Since then, he has been working hard to
  4   complete the Uniform CPA Exam requirements necessary for a California CPA
  5   license. Mr. Lau has one more test section to pass before he is eligible for a
  6   California CPA license.
  7         13.      In October 2017, Mr. Lau submitted to the California Board of
  8   Accountancy a request for reasonable disability accommodations in connection
  9   with his attempts to pass the CPA exam.
 10         14.      In November 2017, the California Board of Accountancy granted Mr.
 11   Lau’s request for reasonable disability accommodations.
 12         15.      Since obtaining from the California Board of Accountancy its
 13   confirmation that Mr. Lau is entitled to reasonable disability accommodations in
 14   connection with his efforts to pass the CPA exam, the following steps have
 15   occurred each time Mr. Lau scheduled himself for CPA exams:
 16               a. Mr. Lau would pay his exam sitting fee to NASBA in order to obtain a
 17                  notice to schedule (NTS) his exams
 18               b. After obtaining an NTS, Mr. Lau would contact the California Board
 19                  of Accountancy to ask them to relay to NASBA Mr. Lau’s continuing
 20                  entitlement to disability accommodations
 21               c. NASBA would then transmit to Mr. Lau an updated NTS with
 22                  accommodations listed; these accommodations have included extended
 23                  time to complete the exam and a separate room free from unnecessary
 24                  distractions
 25               d. Mr. Lau would then deliver to Prometric the NTS and schedule an
 26                  exam with the accommodations designated in the NTS
 27               e. In response, Prometric would send Mr. Lau a confirmation of his exam
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1                   appointment, including confirmation of the accommodations identified
  2                   in the NTS.
  3         16.       Commencing in November 2017, administrators of the CPA exam
  4   began affording to Mr. Lau disability-related accommodations for taking the
  5   Uniform CPA Exam.
  6         17.       Commencing in November 2017, AICPA and AICPA’s agents began
  7   affording to Mr. Lau disability-related accommodations for taking the Uniform
  8   CPA Exam.
  9         18.       However, AICPA, though its agent, purports to limit its obligation to
 10   provide reasonable accommodations via a disclaimer that the testing
 11   administrator(s) need only make "efforts" to supply the approved accommodations
 12   and need not guarantee all approved accommodations will be properly administered
 13   on any particular test.
 14         19.       One of the accommodations afforded to Mr. Lau by administrators of
 15   the Uniform CPA exam is designed specifically to cut down on unnecessary
 16   distractions.
 17         20.       Prior to September 2024, Prometric provided to Mr. Lau disability-
 18   related accommodations for taking the Uniform CPA Exam. The accommodations
 19   provided by Prometric included a private room equipped with a white noise
 20   machine and other features designed to cut down on unnecessary distractions.
 21         21.       AICPA has access to Prometric information regarding when, where,
 22   and how the Uniform CPA Exam is administered to candidates in California.
 23         22.       AICPA has access to Prometric information regarding administration
 24   of the Uniform CPA Exam to persons entitled to disability accommodations.
 25         23.       AICPA knew where Mr. Lau would be on the morning of September
 26   24, 2024 because of its access to Prometric information regarding Mr. Lau’s exam
 27   schedule and location.
                                                             DEFENDANT STEPHEN LAU’S ANSWER
 28                                                         TO PLAINTIFF’S AMENDED COMPLAINT
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  1          24.      AICPA knew that that Mr. Lau’s disability entitles him to distraction-
  2   limiting accommodations.
  3          25.      Being handed a federal lawsuit immediately prior to walking into an
  4   important exam is a significant distraction.
  5          26.      AICPA intentionally created an exam environment that was not free of
  6   unnecessary distractions.
  7          27.      AICPA deprived Mr. Lau of the rights and privileges he is entitled to
  8   under California and federal law by interfering with his entitlement to a test
  9   environment free of unnecessary distractions.
 10          28.      Over the past two decades, Mr. Lau has submitted CPA testing
 11   applications 64 times. Despite many challenges, Mr. Lau refuses to give up on his
 12   goal of becoming a licensed CPA in California.
 13          29.      Mr. Lau has passed three out of the four required sections of the CPA
 14   Exam and performed over several thousand attest hours.
 15          30.      Over the past 20 years, Mr. Lau has taken 25 CPA exams and has been
 16   exposed to several hundred if not thousands of questions and answers.
 17          31.      At least some of the exam questions and/or exam sections Mr. Lau has
 18   taken in the past have been retired and are obtainable from sources other than
 19   AICPA.
 20          32.      Mr. Lau’s knowledge of the Uniform CPA Exam and related content
 21   comprising the terminology, regulations, theories, and methodologies of the
 22   accounting profession is based on his two decades of experience taking CPA
 23   exams, as well as his undergraduate education and post-graduate work experience
 24   in the field.
 25          33.      At least some of the information at issue in this case is disclosed in
 26   exam questions and/or exam sections Mr. Lau has taken in the past that have been
 27   retired and are obtainable from sources other than AICPA.
                                                              DEFENDANT STEPHEN LAU’S ANSWER
 28                                                          TO PLAINTIFF’S AMENDED COMPLAINT
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  1         34.    Nearly all of the subject information in this case is general knowledge
  2   known to those in the relevant industries.
  3         35.    Mr. Lau has spent thousands of hours studying and applying the type
  4   of information provided in CPA Exam prep course materials, college courses on
  5   accounting, public domain information about the CPA Exam, and materials like the
  6   AICPA’s testing blueprints. To date, Mr. Lau has spent over $10,000.00 in exam
  7   sitting fees and more than $15,000.00 for CPA Review Courses, Review Materials,
  8   and Study Guides.
  9                       Online Study Groups for the CPA Exam
 10         36.    Mr. Lau has at times felt it productive to participate in online study
 11   group discussions hosted on Reddit and Discord. In fact, one post from another
 12   study group member who passed the exam in his early 40’s was instrumental in
 13   inspiring Mr. Lau to keep going and to not give up on his dream of becoming a
 14   licensed CPA.
 15         37.    The study groups Mr. Lau has participated in post rules to govern the
 16   conduct of group members. A reasonable opportunity for discovery is likely to
 17   yield evidence that AICPA has known of and acquiesced to the study group rules
 18   since long before the events giving rise to AICPA’s lawsuit against Mr. Lau.
 19         38.    Prior to this lawsuit, Mr. Lau’s understanding was that the study group
 20   rules were generally designed to ensure that members do not violate any
 21   confidentiality obligations associated with the CPA exam. For example, the rules
 22   posting for the Reddit study group Mr. Lau sometimes participated in provides in
 23   pertinent part:
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 26
 27
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                              - 48 -                   AND SECOND AMENDED
                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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                                    ID #:480


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 16   The Reddit study group rules post further provides:
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 19
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 22
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 27
                                                         DEFENDANT STEPHEN LAU’S ANSWER
 28                                                     TO PLAINTIFF’S AMENDED COMPLAINT
                                             - 49 -                  AND SECOND AMENDED
                                                                             COUNTERCLAIMS
                                                              CASE NO. 5:24-CV-01940-SSS-SHKX
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                                   ID #:481


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 12         39.   Similarly, the rules for the Discord study group that Mr. Lau
 13   sometimes participated in provides:
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                                                         DEFENDANT STEPHEN LAU’S ANSWER
 28                                                     TO PLAINTIFF’S AMENDED COMPLAINT
                                            - 50 -                   AND SECOND AMENDED
                                                                             COUNTERCLAIMS
                                                              CASE NO. 5:24-CV-01940-SSS-SHKX
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                                    ID #:482


  1         40.   A related Discord post provides:
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 18         41.   In Mr. Lau’s experience, study group members usually comply with

 19   posted rules and are able to discuss general exam concepts and study strategies

 20   without creating any problems. Exemplary examples of posts Mr. Lau is aware of

 21   include the following post:

 22
 23
 24
 25
 26
 27
                                                         DEFENDANT STEPHEN LAU’S ANSWER
 28                                                     TO PLAINTIFF’S AMENDED COMPLAINT
                                             - 51 -                  AND SECOND AMENDED
                                                                             COUNTERCLAIMS
                                                              CASE NO. 5:24-CV-01940-SSS-SHKX
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                                    ID #:483


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 16
 17   Mr. Lau is also aware of the following post:
 18
 19
 20
 21
 22
 23
 24   Mr. Lau is also aware of the following post:
 25
 26
 27
                                                       DEFENDANT STEPHEN LAU’S ANSWER
 28                                                   TO PLAINTIFF’S AMENDED COMPLAINT
                                             - 52 -                AND SECOND AMENDED
                                                                           COUNTERCLAIMS
                                                            CASE NO. 5:24-CV-01940-SSS-SHKX
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                                    ID #:484


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 16   Mr. Lau is also aware of the following post:

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 18
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 20
 21
 22
 23
 24
 25
 26         42.   The above posts are illustrative of the type of content that is routinely
 27   posted on the subject study group forums.
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                             - 53 -                   AND SECOND AMENDED
                                                                              COUNTERCLAIMS
                                                               CASE NO. 5:24-CV-01940-SSS-SHKX
Case 5:24-cv-01940-SSS-SHK      Document 42 Filed 03/11/25       Page 55 of 128 Page
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  1         43.    Mr. Lau alleges that a reasonable opportunity for discovery will yield
  2   evidence that AICPA is aware of scores if not hundreds of such communications
  3   made routinely over the past several years, and that AICPA has never taken any
  4   effective action to abate such conduct.
  5         44.    AICPA has never filed a federal case against another study group
  6   member for their communications on study group forums.
  7         45.    AICPA has never filed a federal case against a non-disabled person for
  8   their communications on study group forums.
  9         46.    In a few instances, Mr. Lau recalls posts by others that may have been
 10   too specific and were flagged as problematic before being altered and/or removed.
 11   None of these instances of post removal/alteration resulted in any lawsuits, much
 12   less federal cases alleging copyright or trade secrets misappropriation.
 13         47.    Mr. Lau also recalls posts by other study group members that resulted
 14   in those members being contacted by persons purporting to act on behalf of AICPA.
 15   For example, Mr. Lau is aware of the following communication:
 16
 17
 18
 19
 20
 21
 22
 23
 24         48.    A reasonable opportunity for discovery is likely to reveal that there are

 25   many communications between someone at AICPA named Taryn and members of

 26   the study groups in issue that are relevant to Mr. Lau’s claims and defenses in this

 27   action.
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                                - 54 -                 AND SECOND AMENDED
                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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  1         49.   Members of the study groups have long been aware that AICPA
  2   monitors their communications looking for potential compliance issues.
  3         50.   Knowledge of AICPA’s monitoring of study group communications is
  4   part of the reason why Mr. Lau never believed that his posts, which are compliant
  5   with the study groups rules and normal practices, were violative of any of AICPA’s
  6   rights. For example, Mr. Lau is aware of the following communication:
  7
  8
  9
 10
 11
 12
 13   Mr. Lau is also aware of the following communication:
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
                                                         DEFENDANT STEPHEN LAU’S ANSWER
 28                                                     TO PLAINTIFF’S AMENDED COMPLAINT
                                             - 55 -                  AND SECOND AMENDED
                                                                             COUNTERCLAIMS
                                                              CASE NO. 5:24-CV-01940-SSS-SHKX
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                                   ID #:487


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 22
 23
 24
      Mr. Lau is also aware of the following communication:
 25
 26
 27
                                                       DEFENDANT STEPHEN LAU’S ANSWER
 28                                                   TO PLAINTIFF’S AMENDED COMPLAINT
                                           - 56 -                  AND SECOND AMENDED
                                                                           COUNTERCLAIMS
                                                            CASE NO. 5:24-CV-01940-SSS-SHKX
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                                     ID #:488


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 17          51.    A reasonable opportunity for discovery is likely to reveal that there are
 18   many such communications between AICPA and members of the study groups in
 19   issue that are similar to the above and supportive of Mr. Lau’s claims and defenses
 20   in this action.
 21                      The Accused Study Group Communications
 22   Mr. Lau’s November 2023 Reddit Post
 23          52.    In late November 2023, Mr. Lau made a post in the Reddit study group
 24   forum (“Reddit Post”) in which he expressed frustration with the REG portion of
 25   the Uniform CPA exam, which Mr. Lau has attempted to pass on five separate
 26   occasions. Mr. Lau’s Reddit Post contained statements like “on what planet do you
 27   expect me to understand tax treatment to such a degree that I would remember that
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
                                               - 57 -                   AND SECOND AMENDED
                                                                                COUNTERCLAIMS
                                                                 CASE NO. 5:24-CV-01940-SSS-SHKX
Case 5:24-cv-01940-SSS-SHK       Document 42 Filed 03/11/25        Page 59 of 128 Page
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  1   …”; “why are my prep books wasting so many pages about basis in property
  2   transactions”; “I studied…as presented in the text, but said presentation didn’t
  3   mention anything about wash rules/disallowed losses…or does it?”; “or what about
  4   co guarantors bailing out a principal debtor…can they still go after each other? Idk
  5   bro, business law was optional for me 20 years ago;” “Am I expected to be
  6   intellectually curious or or [sic] care to bridge my learning beyond what is
  7   presented in the text?”; and “TLDR; Rant over. Time to reset, pray for the best, and
  8   prepare to try again between 12/5 and 12/13.”
  9         53.      The overall themes expressed in Mr. Lau’s Reddit Post were that the
 10   REG exam was unfair, that the quality of the preparation materials Mr. Lau used
 11   was poor, and that Mr. Lau was worried about his exam performance because of
 12   these facts.
 13         54.      At the time of the Reddit Post, Mr. Lau did not remember the exact
 14   nature, wording, or expressions found in the REG exam and did not believe that any
 15   of the subject matter discussed in his post violated the Reddit study group’s
 16   guidelines or AICPA’s rights.
 17         55.      Other posts made before Mr. Lau’s, which remained up on Reddit at
 18   the time of Mr. Lau’s post, discussed the same subject matter.
 19         56.      In addition, at the time he made his Reddit Post, the subject matter
 20   discussed in his post was referred to in the AICPA’s Exam Blueprint, which had
 21   been publicly available to everyone in the world (not just exam candidates) for a
 22   long time prior to the time of Mr. Lau’s statement.
 23         57.      Mr. Lau’s criticisms of the AICPA’s REG exam and preparation
 24   materials in his Reddit Post were statements concerning matters about which the
 25   public has an interest, and Mr. Lau’s Reddit Post contributed to public debate and
 26   conversation on the topic of the fairness of the REG exam.
 27         58.      Mr. Lau made his statements to an audience that is keenly concerned
                                                             DEFENDANT STEPHEN LAU’S ANSWER
 28                                                         TO PLAINTIFF’S AMENDED COMPLAINT
                                                - 58 -                   AND SECOND AMENDED
                                                                                 COUNTERCLAIMS
                                                                  CASE NO. 5:24-CV-01940-SSS-SHKX
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  1   with the fairness of the REG exam and standards applicable to the accounting
  2   profession, as participants in the Reddit study group forum at issue are CPA
  3   candidates, licensed CPAs, and even AICPA itself.
  4          59.    At all times relevant, AICPA has known that California’s Anti-SLAPP
  5   statute protects speech in connection with a public issue or issue of public interest,
  6   and that Mr. Lau’s Reddit Post qualified for such protection. In order to avoid the
  7   consequences of filing in California state court a strategic lawsuit against public
  8   participation seeking to penalize Mr. Lau for his protected speech, AICPA
  9   endeavored to gin up federal claims.
 10          60.    Mr. Lau’s statements were made for the obvious purpose of criticism,
 11   commentary, academic study, and fostering discussion of factual information and
 12   ideas over which AICPA has no monopoly.
 13          61.    The factual information discussed in the Reddit Post consists almost
 14   entirely of facts that do not belong to AICPA.
 15          62.    All information found in the Reddit Post can be readily ascertained by
 16   the public.
 17          63.    Even the fact that the subject information is tested by the REG exam
 18   fails to qualify for trade secret protection, because as AICPA’s own executive has
 19   explained, “If somebody uses [the AICPA’s publicly available exam] blueprint to
 20   guide their studying, they’re going be looking at a detailed map of what could be on
 21   the test.”
 22          64.    In addition, Mr. Lau believes that a reasonable opportunity for
 23   discovery will show that the subject matter discussed in Mr. Lau’s Reddit Post does
 24   not qualify as “Exam Content” under the AICPA’s purported NDA agreements
 25   because the relevant questions, answers, and/or subject matter have all been
 26   previously disclosed to the public. Certainly all information found in the Reddit
 27   Post can be readily ascertained by the public.
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
                                               - 59 -                   AND SECOND AMENDED
                                                                                COUNTERCLAIMS
                                                                 CASE NO. 5:24-CV-01940-SSS-SHKX
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  1   Mr. Lau’s February 2024 Discord Posts
  2         65.    In early February 2024, Mr. Lau made a few posts in the Discord study
  3   group that also appeared to have drawn AICPA’s ire. Like his Reddit Post, the
  4   themes of Mr. Lau’s Discord posts included criticism of AICPA’s exam and the
  5   preparation materials Mr. Lau used, the unfairness of certain AICPA exam tactics,
  6   and ideas for how to improve candidate study methodology.
  7         66.    A reasonable opportunity for discovery will show that the subject
  8   matter discussed in his Discord posts is not copyrightable and/or that Mr. Lau’s
  9   statements did not amount to “bodily appropriation of expression” of the Registered
 10   Work as required to establish infringement of a compilation work. Moreover, even
 11   if his statements did amount to bodily appropriation of expression, Mr. Lau’s
 12   statements were made for the obvious purpose of criticism, commentary, academic
 13   study, and fostering discussion of factual information and ideas over which AICPA
 14   has no monopoly. This is classic fair use.
 15         67.    The Discord posts cannot violate the DTSA either. Mr. Lau believes
 16   that discovery will show that the information in the Discord posts at issue can be
 17   readily ascertained by the public. Even the fact that the subject information is tested
 18   by AICPA fails to qualify for trade secret protection, because as AICPA’s own
 19   executives has explained, “If somebody uses [the AICPA’s publicly available
 20   exam] blueprint to guide their studying, they’re going be looking at a detailed map
 21   of what could be on the test.” Mr. Lau believes that a reasonable opportunity for
 22   discovery will show that the subject matter discussed in Mr. Lau’s Discord posts
 23   does not qualify as “Exam Content” under the AICPA’s purported NDA
 24   agreements because the relevant questions, answers, and/or subject matter have all
 25   been previously disclosed to the public.
 26         68.    AICPA did not contact Mr. Lau about his Discord posts.
 27         69.    AICPA could have easily contacted Mr. Lau about his Discord posts
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                              - 60 -                   AND SECOND AMENDED
                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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  1   by messaging his Discord account or posting a response to the subject statements.
  2         70.      AICPA did not contact Mr. Lau about his Reddit posts.
  3         71.      AICPA could have easily contacted Mr. Lau about his Reddit posts by
  4   messaging his Reddit account or posting a response to the subject statements.
  5                              AICPA’s Sham DMCA Notices
  6         72.      Mr. Lau first learned that AICPA took issue with any of his social
  7   media posts in July 2024, when Mr. Lau received an email from Discord notifying
  8   him that Discord had received a DMCA take down demand from AICPA.
  9         73.      Mr. Lau believes that a reasonable opportunity for discovery will show
 10   that AICPA has engaged in a pattern and practice of sending DMCA notices
 11   without first conducting a good faith fair use assessment.
 12         74.      Mr. Lau believes that a reasonable opportunity for discovery will show
 13   that AICPA has engaged in a pattern and practice of sending sham DMCA notices.
 14         75.      Mr. Lau believes that a reasonable opportunity for discovery will show
 15   that AICPA sent more than one sham DMCA notice accusing Mr. Lau of copyright
 16   infringement.
 17         76.      At least one of AICPA’s DMCA notices concerning Mr. Lau was so
 18   dubious that Discord was “unable to locate [AICPA’s copyrighted work] in the
 19   content [AICPA] identified as allegedly infringing material.”
 20         77.      In response to one of AICPA’s DMCA take down requests, Discord
 21   responded to AICPA that Discord was “unable to locate [AICPA’s copyrighted
 22   work] in the content [AICPA] identified as allegedly infringing material.”
 23         78.      Eventually, however, AICPA’s efforts paid off: Mr. Lau’s posts were
 24   removed based on AICPA’s objectively baseless copyright infringement
 25   allegations.
 26         79.      As a result of AICPA’s sham DMCA notices, Mr. Lau was expelled
 27   from his study groups and has suffered reputational injury.
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
                                               - 61 -                   AND SECOND AMENDED
                                                                                COUNTERCLAIMS
                                                                 CASE NO. 5:24-CV-01940-SSS-SHKX
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  1         80.    As a result of AICPA’s sham DMCA notices, Mr. Lau has suffered
  2   severe emotional and physical distress requiring medical attention.
  3         81.    Mr. Lau first learned that AICPA took issue with his Reddit Post when
  4   he received this lawsuit.
  5         82.    Two days after this lawsuit was filed, the moderator of the Reddit
  6   study group permanently banned Mr. Lau, deleted the Reddit Post, and pinned a
  7   link to AICPA’s lawsuit to the Reddit study group. Mr. Lau alleges that a
  8   reasonable opportunity for discovery will reveal that AICPA caused at least some
  9   of the foregoing conduct in an attempt to defame Mr. Lau and intimidate other
 10   study group members with the implicit threat of objectively baseless federal IP
 11   claims.
 12         83.    Mr. Lau alleges that a reasonable opportunity for discovery will reveal
 13   that AICPA never conducted a good faith fair use analysis of Mr. Lau’s posts
 14   before sending out DMCA notices related to Mr. Lau’s Reddit and Discord posts,
 15   and that at all times relevant, AICPA knew of (or recklessly disregarded) binding
 16   Ninth Circuit law which holds that “if a copyright holder ignores or neglects our
 17   unequivocal holding that it must consider fair use before sending a takedown
 18   notification, it is liable for damages under § 512(f).” Lenz v. Universal Music
 19   Corp., 815 F.3d 1145, 1154 (9th Cir. 2016).
 20         84.    Mr. Lau was injured by AICPA’s objectively baseless, sham DMCA
 21   takedown notices.
 22         85.    As a result of AICPA’s takedown notices, Mr. Lau was banned from
 23   his study groups and subjected to account restrictions on his social media accounts.
 24                       CPA Licensure and Testing in California
 25         86.    California has bestowed on AICPA the privilege of serving as the
 26   provider of exam content for California’s CPA licensure requirements.
 27         87.    AICPA has the power to delay or prevent the release of CPA exam test
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                              - 62 -                  AND SECOND AMENDED
                                                                              COUNTERCLAIMS
                                                               CASE NO. 5:24-CV-01940-SSS-SHKX
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  1   scores, and by extension, a person’s licensure in California.
  2         88.    With AICPA’s privilege and power comes great responsibility.
  3         89.    Rather use its power and privilege in a manner consistent with
  4   AICPA’s stated goals of serving the public interest, AICPA is wielding its power in
  5   an unfair manner designed to coerce candidates into unconscionable agreements,
  6   stifle public criticism and debate over AICPA’s role and the purported value it
  7   brings to the accounting profession, and intimidate exam candidates from speaking
  8   out. AICPA has engaged in these and other unfair, deceptive, and unlawful business
  9   practices, thereby causing injury to Mr. Lau, other CPA exam candidates, and the
 10   public at large.
 11         90.    California Business and Professions Code governs licensure of
 12   certified public accountants in California.
 13         91.    For over 100 years, the California Legislature has entrusted the
 14   California Board of Accountancy (CBA) with protecting the public related to the
 15   practice of public accountancy in California. The CBA’s mission evokes this
 16   charge: “To protect consumers by ensuring only qualified licensees practice public
 17   accountancy in accordance with applicable professional standards.”
 18         92.    According to the California Board of Accountancy’s website, “To sit
 19   for the CPA Exam” in California, a candidate “must have a baccalaureate degree or
 20   higher, including 24 semester units each of accounting and business-related
 21   subjects,” or “must be enrolled in a college or university and within 180 days of
 22   meeting the CPA Exam educational requirements.” Anyone who meets these
 23   requirements may schedule themselves for CPA exams in California. According to
 24   the California Board of Accountancy’s website, CBA “approves reasonable
 25   accommodations based on a physical or mental disability or medical condition.”
 26         93.    According to the CBA’s “CPA Exam Quick Tips,” anyone who meets
 27   the requirements for taking a CPA exam can readily sign up to do so by
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                              - 63 -                   AND SECOND AMENDED
                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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  1   establishing an account and completing an application. Thereafter, CBA will
  2   approve the application, at which point a candidate can select which exams they
  3   wish to take, submit required payments, and schedule their exam by visiting the
  4   domain www.prometric.com. The info graphic below depicts the CPA exam sign-
  5   up and scheduling flow:
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      The above diagram shows how easy it is for anyone who qualifies (e.g., a universe
 18
      of untold thousands of people) to get lawful access to AICPA’s alleged “trade
 19
      secret” CPA exam content. The only thing a person needs to do to gain access to
 20
      AICPA’s alleged “trade secrets” is show the CBA that they possess the required
 21
      educational prerequisites, submit the exam fee, and schedule the exam. Incredibly,
 22
      it appears from AICPA’s Complaint and the relevant third-party websites that
 23
      AICPA does not even have a proper click-through process in place and is thus not
 24
      forming binding, enforceable contracts with any exam candidates before granting
 25
      them access the alleged trade secrets.
 26
            94.    As noted in the CBA info graphic above, the third to last step in
 27
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                               - 64 -                 AND SECOND AMENDED
                                                                              COUNTERCLAIMS
                                                               CASE NO. 5:24-CV-01940-SSS-SHKX
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  1   scheduling a CPA exam is submission of payment to “NASBA.” NASBA is the
  2   National Association of State Boards of Accountancy. According to NASBA’s
  3   website, NASBA provides “a comprehensive array of services related to the
  4   Uniform CPA Examination.”
  5         95.   Persons wishing to submit a payment to NASBA for a California CPA
  6   examination may access NASBA’s payment portal by visiting the URL
  7   “https://nasba.org/exams/cpaexam/california/”. A screen shot depicting the website
  8   hosted at the NASBA payment portal URL is set forth below:
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                                                        DEFENDANT STEPHEN LAU’S ANSWER
 28                                                    TO PLAINTIFF’S AMENDED COMPLAINT
                                            - 65 -                  AND SECOND AMENDED
                                                                            COUNTERCLAIMS
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           96.   NASBA payment portal URL contains a passive link to terms of use
 24
      located at the URL “https://nasba.org/wp-content/uploads/2021/01/NASBA-
 25
      Revised-Terms-of-Use-2021-0114.pdf” (NASBA ToS).
 26
           97.   The NASBA ToS makes unspecified “agents” third party beneficiaries
 27
                                                      DEFENDANT STEPHEN LAU’S ANSWER
 28                                                  TO PLAINTIFF’S AMENDED COMPLAINT
                                          - 66 -                  AND SECOND AMENDED
                                                                          COUNTERCLAIMS
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  1   of the agreement but does not identify any such agents.
  2         98.    The NASBA ToS contains an arbitration provision which provides in
  3   part: “ANY DISPUTE ARISING OUT OF OR RELATING IN ANY WAY TO
  4   YOUR USE OF OUR SITES REQUIRES THAT SUCH CLAIM BE RESOLVED
  5   EXCLUSIVELY BY CONFIDENTIAL BINDING ARBITRATION, EXCEPT
  6   FOR CLAIMS BY NASBA THAT YOU HAVE VIOLATED OR THREATENED
  7   TO VIOLATE NASBA’S INTELLECTUAL PROPERTY RIGHTS.” The
  8   NASBA ToS Arbitration provision further provides: “For all disputes, you agree to
  9   first give NASBA the opportunity to resolve the issue, by contacting NASBA with
 10   your name, address, and a written description of your claim. You must then provide
 11   NASBA with 60 business days to resolve the issue before resorting to arbitration.”
 12         99.    The NASBA ToS also contains a provision which provides: “any
 13   claim or cause of action arising out of your use of our Sites or these Terms of Use
 14   must be filed within one (1) year after such claim or cause of action arose or it shall
 15   forever be barred, notwithstanding any statute of limitations or other law to the
 16   contrary.”
 17         100. The NASBA ToS also contains a provision which provides in part
 18   “NASBA IS NOT CONSIDERED TO BE (1) A LICENSING JURISDICTION,
 19   REGULATOR, LICENSING AUTHORITY, CERTIFYING ORGANIZATION
 20   OR THE LIKE WITH AUTHORITY TO GOVERN, ADVISE, OR MAKE ANY
 21   OFFICIAL DECISIONS OF ANY NATURE REGARDING ANY OFFICIAL
 22   RULES CONCERNING LICENSING; (2) AN ENTITY AUTHORIZED BY ANY
 23   LICENSING JURISDICTION, LICENSING AUTHORITY, CERTIFYING
 24   ORGANIZATION OR THE LIKE TO MAINTAIN OFFICIAL RECORDS
 25   REGARDING LICENSURE OTHER THAN PROVIDED THROUGH CERTAIN
 26   NASBA SERVICES; OR (3) AN AUTHORITY PROVIDING LEGAL ADVICE
 27   ON ANY MATTER REGARDING LICENSURE, AND NASBA SHALL NOT
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1   BE RESPONSIBLE FOR ANY DECISIONS OR INDECISIONS, FOR
  2   WHATEVER REASON MADE, MADE BY ANY USER OF OUR SITES.”
  3         101. The NASBA ToS contains a “Refund Policy” clause. NASBA’s
  4   refund policy is essentially that there are no refunds allowed.
  5         102. There is no reference to AICPA found on the NASBA payment portal
  6   or in the NASBA ToS.
  7         103. After clicking the “pay exam fees” button, users are prompted to login
  8   using NASBA account credentials. There is no mention of AICPA during the
  9   NASBA payment flow.
 10         104. After NASBA accepts payment, it provides the payor with a “NTS,” or
 11   “notice to schedule.” According to NASBA’s website, “After applying for the CPA
 12   Exam, being found eligible, and paying the associated fees to register for CPA
 13   Examination Sections, you will be issued an NTS from NASBA/CPA Examination
 14   Services. The Notice to Schedule (NTS) is not emailed directly to candidates. It
 15   becomes available to view/print from your CPA Candidate Portal after the
 16   requirements have been met to issue the NTS. The NTS is your ‘ticket’ used to
 17   schedule and then take the specified Exam section you signed up for. You are
 18   allowed to register for multiple sections of the Exam at one time but those Exam
 19   sections you register for must be taken within the time frame as set by your State
 20   Board of Accountancy.” NASBA’s website directs candidates who have received
 21   an NTS to visit “https://www.prometric.com/test-takers/search/cpa” to schedule
 22   their exam(s).
 23         105. According to its website, Prometric is “a leading provider of
 24   technology-enabled testing and assessment solutions to many of the world’s most
 25   recognized licensing and certification organizations, academic institutions, and
 26   government agencies.”
 27         106. The Prometric scheduling website provides a passive link to terms of
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                               COUNTERCLAIMS
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  1   service located at the URL https://www.prometric.com/privacy-policy. (“Prometric
  2   ToS”). The Prometric ToS contains the following passage under the heading
  3   “Conditions of Use”:
  4         Prometric LLC and its affiliates ("Prometric") provide this website,
            test services and solutions (“Services”) expressly subject to the
  5         following terms and conditions set forth below ("Terms") provided,
            however, that other terms of use shall apply with respect to Prometric's
  6         affiliates' websites, as specified on each such website. Any use by you
            of this website or the Services constitutes your agreement to abide by
  7         the Terms. We reserve the right to amend or change the Terms at any
            time by posting the amended terms on this site, and it is your
  8         responsibility to ensure that you are aware of the most up-to-date
            Terms. Prometric complies with all applicable laws in the jurisdictions
  9         where we deliver Services and, as such, if a particular Term herein has
            the effect of violating a local law in the jurisdiction where
 10         individual(s) reside and/or utilize (as applicable) the Services, such
            Term does not apply to such individual(s). You agree to use this site
 11         only for lawful purposes, and agree not to take any action that might
            compromise the security or accessibility of the site.
 12
 13         107. Mr. Lau’s understanding is that the term “affiliates” as used in the
 14   above passage is used in its plain and ordinary sense and refers to corporate
 15   affiliates of Prometric but not third parties outside of Prometric’s corporate affiliate
 16   family structure.
 17         108. The Prometric ToS contains a “Copyright and Trademarks” section
 18   that provides in part as follows: “All content provided on this site is owned by or
 19   licensed to Prometric and/or its affiliates (the "Prometric Content") and protected
 20   by United States and international intellectual property laws.”
 21         109. The Prometric ToS contains a disclaimer section that provides in part
 22   as follows: “PROMETRIC MAKES NO REPRESENTATIONS OR
 23   WARRANTIES OF ANY KIND, EXPRESS OR IMPLIED, AS TO…THE
 24   INFORMATION, CONTENT OR MATERIALS INCLUDED ON THIS SITE…”
 25         110. The Prometric ToS contains a “Third Party Websites” section that
 26   provides: “Any links provided to third party websites are supplied merely as a
 27   convenience and are not under the control of or the responsibility of Prometric.”
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                                COUNTERCLAIMS
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  1         111. The Prometric ToS makes no mention of AICPA.
  2         112. The Prometric scheduling website contains a passive link to the
  3   AICPA’s website at the URL: “https://www.aicpa-
  4   cima.com/news/download/uniform-cpa-examination-conduct-and-non-disclosure-
  5   agreement”.
  6         113. The Uniform CPA Examination Conduct and Non-Disclosure
  7   Agreement is not displayed at the URL: “https://www.aicpa-
  8   cima.com/news/download/uniform-cpa-examination-conduct-and-non-disclosure-
  9   agreement”. Instead, the website provides a further link that can be used to
 10   download a PDF document. A screenshot of this website is provided below.
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 26         114. Although that PDF document that is downloadable from
 27   “https://www.aicpa-cima.com/news/download/uniform-cpa-examination-conduct-
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                              COUNTERCLAIMS
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  1   and-non-disclosure-agreement” (AICPA Downloadable NDA) contains check
  2   boxes that state “I Accept” and “I Do Not Agree,” a user does not have to download
  3   the PDF, click either box, or submit a copy of the PDF to complete the scheduling
  4   process.
  5         115. The AICPA URL “https://www.aicpa-
  6   cima.com/news/download/uniform-cpa-examination-conduct-and-non-disclosure-
  7   agreement” contains a passive link to terms and conditions located at the URL
  8   “https://www.aicpa-cima.com/help/terms-and-conditions” (“AICPA ToS”).
  9         116. The opening clause of the AICPA ToS states “This website, including
 10   any content, functionality, and services offered on or through this website
 11   (collectively, the “Website”) is offered by the Association of International Certified
 12   Professional Accountants (“Association”), American Institute of Certified Public
 13   Accountants (“AICPA”), and The Chartered Institute of Management Accountants
 14   (“CIMA,” together CIMA, the Association and the AICPA, collectively, “we” or
 15   “us”). As the context requires, “we” or “us” may also refer just to the Association,
 16   the AICPA, or CIMA on its own or in combination with only one of the other
 17   entities. Your access to and use of the Website is subject to the following terms and
 18   conditions (“Terms and Conditions” or “Terms”) and all applicable law.”
 19         117. The AICPA ToS includes a disclaimer section that provides as
 20   follows: “We do not supply legal, investment, professional, career, or any other
 21   advice. Nothing on the Website or within the documents available through the
 22   Website constitutes legal, investment, career or other professional advice. You
 23   should not rely on any information posted on the Website as if it were legal,
 24   investment, career or other professional advice. The documents provided on the
 25   Website are for general guidance only and do not contain definitive advice. We
 26   cannot and do not guarantee or warrant that any of the information that you may
 27   receive through the Website, or links to third party websites is accurate, up-to-date
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
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  1   or complete and we do not accept any responsibility for any errors or omissions, or
  2   for any damage or loss you may suffer.”
  3         118. Section 2.2 of the AICPA ToS provides in part “These Terms and
  4   Conditions permit you to use the Website and related Website Content for your
  5   personal, non-commercial use only.”
  6         119. Section 2.7 of the AICPA ToS provides in part “We reserve the right,
  7   in our discretion, to withdraw, suspend or modify the Website, the Website
  8   Content, or certain features or parts of the Website or Website Content with or
  9   without notice to you, at our discretion.”
 10         120. Section 6.1 of the AICPA ToS provides in part: “From the Website
 11   you may be able to obtain access to websites operated by others. The content of
 12   such third-party websites to which you may navigate, by means of hypertext links,
 13   from the Website is beyond our control. You proceed entirely at your own risk. We
 14   do not accept any responsibility for any damage or loss you may suffer arising out
 15   of access to those websites, including, but not limited to, damage or loss arising
 16   from your use of documents or other information found on those websites. These
 17   links are not monitored or maintained by us nor are we responsible for the content
 18   of any third-party websites.”
 19         121. Section 6.2 of the AICPA ToS provides “Any links to such third-party
 20   websites are for your convenience and the inclusion of the links on our Sites does
 21   not imply any endorsement, guarantee, warranty or representation by us of the
 22   quality or accuracy of the information, products or services provided to you on
 23   those third-party websites.
 24         122. Section 8.2 of the AICPA ToS provides: “We shall not be liable to you
 25   for any loss arising out of the inaccuracy or incompleteness of information,
 26   including the Website Content or any of your or any third party’s Contributions,
 27   contained on the Website or in the services available through the Website.”
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                               COUNTERCLAIMS
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  1          123. Section 8.5 of the AICPA ToS provides in part: “The information
  2   presented on or through the Website is made available solely for general
  3   information purposes. We do not warrant the accuracy, completeness, or usefulness
  4   of this information. Any reliance you place on such information is strictly at your
  5   own risk. We disclaim all liability and responsibility arising from any reliance
  6   placed on such materials by you or any other visitor to the Website, or by anyone
  7   who may be informed of any of its contents… We are not responsible, or liable to
  8   you or any third party, for the content or accuracy of any materials provided by any
  9   third parties.”
 10          124. Section 9.1 of the AICPA ToS provides in part: “All matters relating to
 11   the Website, Website Content, and these Terms, and any dispute or claim arising
 12   therefrom or related thereto (in each case, including non-contractual disputes or
 13   claims), shall be governed by and construed in accordance with the internal laws of
 14   the State of New York without giving effect to any choice or conflict of law
 15   provision or rule. Any legal suit, action, or proceeding arising out of, or related to,
 16   these Terms, the Website, or any Website Content shall be instituted exclusively in
 17   the federal courts of the United States or the courts of the State of New York, in
 18   each case located in or having jurisdiction over the City of New York.”
 19          125. Section 9.2 of the AICPA ToS provides “At our sole discretion, we
 20   may require you to submit any disputes arising from these Terms or use of the
 21   Website or Website Content, including disputes arising from or concerning their
 22   interpretation, violation, invalidity, non-performance, or termination, to final and
 23   binding arbitration under the Rules of Arbitration of the American Arbitration
 24   Association applying New York law.”
 25          126. Section 9.4 of the AICPA ToS provides “ANY CAUSE OF ACTION
 26   OR CLAIM YOU MAY HAVE ARISING OUT OF OR RELATING TO THESE
 27   TERMS, THE WEBSITE, OR ANY WEBSITE CONTENT MUST BE
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                                COUNTERCLAIMS
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  1   COMMENCED WITHIN ONE (1) YEAR AFTER THE CAUSE OF ACTION
  2   ACCRUES; OTHERWISE, SUCH CAUSE OF ACTION OR CLAIM IS
  3   PERMANENTLY BARRED.”
  4         127. Section 10.3 of the AICPA ToS provides: “These Terms and
  5   Conditions and our Privacy Policy constitute the sole and entire agreement between
  6   you and us regarding the Website and supersede all prior and contemporaneous
  7   understandings, agreements, representations, and warranties, both written and oral,
  8   regarding the Website.”
  9         128. As noted, the Prometric scheduling flow does not require a candidate
 10   to actually visit any AICPA URL in order to complete scheduling. Instead, users
 11   are directed to the Prometric URL https://proscheduler.prometric.com/home, which
 12   provides access to Prometric’s “Pro Scheduler” tool. The user interface for the Pro
 13   Scheduler tools is depicted below.
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 26         129. The Pro Scheduler tool URL provides a passive link to the Prometric
 27   ToS discussed above.
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                              COUNTERCLAIMS
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  1         130. At no point prior to scheduling his exam was Mr. Lau required to
  2   affirmatively assent to the AICPA Downloadable NDA agreement.
  3         131. At no point during the morning of his exam was he required to
  4   affirmatively assent to the AICPA Downloadable NDA agreement.
  5         132. To the best of Mr. Lau’s recollection, on the day he scheduled his
  6   relevant examinations, Mr. Lau did encounter a click-through message styled as a
  7   “The Uniform CPA Examination Conduct and Non-Disclosure Agreement.” But
  8   the terms of that agreement are different from the AICPA’s downloadable NDA
  9   agreement and also from the document attached to AICPA’s Complaint. As of the
 10   date of this filing, the so-called “Uniform CPA Examination Conduct and Non-
 11   Disclosure Agreement” presented during the Prometric scheduling flow contains
 12   statements not found in the other “Uniform” agreements discussed herein. For
 13   example, the Prometric version of the “Uniform” agreement contains the phrase “a
 14   conflict between this Agreement and the NASBA’s CPA Exam Candidate Guide,”
 15   whereas that phrase does not appear in the document attached to AICPA’s
 16   complaint or downloadable from AICPA’s website.
 17         133. Neither Prometric nor AICPA provided to him at the time of alleged
 18   contracting the “NASBA’s CPA Exam Candidate Guide” referenced in the
 19   Prometric click-through message.
 20         134. The document referred to as “NASBA’s CPA Exam Candidate Guide”
 21   in the Prometric click-through message is different from the “Candidate Bulletin”
 22   document referenced in the AICPA Downloadable NDA and document attached to
 23   AICPA’s complaint in this action.
 24         135. AICPA has no record of Mr. Lau affirmatively assenting to the
 25   document attached to its original complaint.
 26         136. Mr. Lau alleges that reasonable opportunity for discovery will reveal
 27   that AICPA has not granted Prometric actual authority to enter into contracts on
                                                         DEFENDANT STEPHEN LAU’S ANSWER
 28                                                     TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                             COUNTERCLAIMS
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  1   AICPA’s behalf or to other bind AICPA to legal obligations.
  2         137. At all times relevant, Prometric has lacked apparent authority to
  3   contract on behalf of AICPA given the disclaimers and language found in the
  4   relevant Prometric and AICPA terms of service discussed above.
  5                            AICPA’s Sham Federal Claims
  6         138. AICPA’s federal causes of action are sham claims designed to
  7   manufacture federal jurisdiction in furtherance of AICPA’s attempt to use the
  8   process of litigation as an anti-competitive weapon and tool.
  9         139.   AICPA’s sham DMCA notices were intended to inflict emotional
 10   distress on Mr. Lau.
 11         140. Mr. Lau alleges that a reasonable opportunity for discovery is likely to
 12   show that AICPA filed sham federal claims in order to deprive Mr. Lau of the
 13   protections he would have been entitled to had AICPA filed a state court breach of
 14   contract action, including the protections provided by California’s Anti-SLAPP
 15   statute and California Code of Civil Procedure 2019.210.
 16         141. Mr. Lau alleges that a reasonable opportunity for discovery is likely to
 17   show that AICPA also filed sham federal claims in furtherance of its effort to
 18   shame and defame Mr. Lau in the most public way possible. AICPA wanted to
 19   make a federal case out of an alleged problem that could have been resolved
 20   privately because AICPA wanted its scurrilous allegations against Mr. Lau to be as
 21   widely publicized as possible.
 22         142. At the time it filed its original complaint in this action, AICPA lacked
 23   evidentiary support for the following allegations contained in its original complaint:
 24             Mr. Lau’s alleged acts “were willful and malicious” (Compl. ¶ 86)
 25             Mr. Lau acted with “blatant disregard of his personal legal obligations”
 26                (Compl. ¶ 23)
 27             “He did so in violation of the public’s trust in the accounting
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
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  1               profession and its members” (Compl. ¶ 24)
  2              The alleged “Trade Secrets are the subject of efforts that are
  3               reasonable under the circumstances to maintain secrecy” (Comp. ¶ 43)
  4            AICPA’s Trade Secrets derive independent actual and potential
  5               economic value from not being generally known to, and not being
  6               readily ascertainable through proper means” (Compl. ¶46)
  7            “unauthorized disclosure of Exam Content causes significant harm to
  8               the AICPA including, but not limited to, creating the need to develop
  9               additional Exam Content to replace the disclosed Exam Content”
 10               (Compl. ¶ 48)
 11            Mr. Lau “risked undermining the public trust in the accountancy
 12               profession by repeatedly disclosing Exam Content where it was likely
 13               to be seen by others taking the CPA Exam.” (Compl. ¶ 67)
 14            Mr. Lau “provided an unfair advantage to other test takers” (Compl. ¶
 15               76)
 16            Mr. Lau’s alleged acts “jeopardize the integrity and fairness of the
 17               CPA Exam and threaten to undermine the foundations of public trust
 18               upon which the accounting profession is built, necessitating the
 19               AICPA to take action to prevent further disclosure of Exam Content”
 20               (Compl. ¶ 85)
 21            “Defendant unlawfully reproduced and publicly displayed on the CPA
 22               Study Group server in Discord, Exam Content that is the subject of
 23               U.S. Copyright Reg. No. TXu002287113” (Compl. ¶ 90)
 24            “The Registered Work was part of the ISC section of the CPA Exam,
 25               which Defendant sat for on February 3, 2024” (Compl. ¶ 91)
 26            “While sitting for the ISC section of the CPA Exam, Defendant had
 27               access to the Registered Work” (Compl. ¶ 92)
                                                         DEFENDANT STEPHEN LAU’S ANSWER
 28                                                     TO PLAINTIFF’S AMENDED COMPLAINT
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  1            “Defendant infringed the AICPA’s copyright in the Registered Work
  2              by unlawfully publicly displaying an unauthorized reproduction of
  3              and/or derivative work based upon the Registered Work” (Compl. ¶
  4              93)
  5            Mr. Lau’s alleged copyright infringement was “willful” (Compl. ¶95)
  6            “AICPA has suffered actual damages” as a result of the alleged
  7              infringement (Compl. ¶ 97)
  8            “AICPA is entitled to receive…profits made by Defendant” (Compl. ¶
  9              98)
 10            “AICPA is entitled to statutory damages” (Compl. ¶ 99)
 11            “Defendant’s conduct is causing, and unless enjoined and restrained by
 12              this Court, will continue to cause, Plaintiff great and irreparable
 13              injury” (Compl. ¶ 100)
 14            “Defendant’s misappropriation was willful and malicious because he
 15              disclosed the AICPA’s Trade Secrets repeatedly” (Compl. ¶ 112)
 16            “As a result of the misappropriation, Defendant has proximately
 17              caused harm to the AICPA and is in a position to continue to injure the
 18              AICPA” (Compl. ¶ 113)
 19            “The AICPA has incurred actual losses, and/or Defendant has been
 20              unjustly enriched as a result of Defendant’s misappropriation of the
 21              AICPA’s Trade Secrets.” (Compl. ¶ 114)
 22            “The AICPA is entitled to injunctive relief against Defendant, who
 23              should be preliminary and permanently enjoined pursuant to 18 U.S.C.
 24              § 1836(b)(3)(A)” (Compl. ¶ 117)
 25            “Defendant has and will likely continue to knowingly, intentionally,
 26              and materially breach the NDA” (Compl. ¶ 128)
 27        143. In addition to lacking evidentiary support for the above allegations
                                                         DEFENDANT STEPHEN LAU’S ANSWER
 28                                                     TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                             COUNTERCLAIMS
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  1   contained in its complaint, AICPA’s federal claims are also objectively baseless as
  2   a matter of law. AICPA’s copyright and DTSA claims are foreclosed by binding
  3   statutory law and well-settled Ninth Circuit precedent. Taken together, the lack of
  4   evidentiary and legal support for AICPA’s federal claims is more than sufficient to
  5   permit a rational jury to conclude that no reasonable litigant could expect success
  6   on AICPA’s federal claims.
  7         144. In addition to the objectively baseless nature of AICPA’s federal
  8   claims, the manner in which AICPA has prosecuted this case supports and inference
  9   that AICPA is acting with improper subjective motives.
 10         145. For example, AICPA’s malicious interference with Mr. Lau’s CPA
 11   exam on the morning of Mr. Lau’s last CPA exam by delivering to him a copy of
 12   the complaint and summons shocks the conscience. This outrageous conduct had
 13   absolutely no legal purpose, since AICPA had already effected proper service the
 14   night before. The only inference to draw from AICPA’s conduct is that it used its
 15   sham service of process to intentionally torpedo Mr. Lau’s prospects of passing the
 16   exam, in violation of Mr. Lau’s rights.
 17         146. Even worse, AICPA’s conduct was carried out with express
 18   knowledge that Mr. Lau is a disabled individual who was entitled to special exam
 19   accommodations designed specifically to reduce distractions. Rather than comply
 20   with its legal duty to provide Mr. Lau with reasonable accommodations by
 21   providing an environment free of unnecessary distractions, AICPA intentionally
 22   distracted and inflicted sever emotional distress on Mr. Lau as he was walking into
 23   his special accommodations facility in hopes of making him fail the exam.
 24         147.   AICPA’s sham delivery of sham federal claims to Mr. Lau as he was
 25   walking into his exam were the moving force of the harms caused to Mr. Lau
 26   thereafter. Had AICPA simply complied with its legal obligations, including the
 27   covenant of good faith and fair dealing that applies to any contractual relationship
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                                - 79 -                 AND SECOND AMENDED
                                                                               COUNTERCLAIMS
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  1   between the parties, or had AICPA filed its lawsuit in an appropriate state law
  2   forum alleging only claims with reasonable legal and factual support, and had
  3   AICPA refrained from abusing legal process by pointlessly serving Mr. Lau as he
  4   walked into his special accommodations exam facility, the injuries AICPA caused
  5   to Mr. Lau, his family, and the public complained of herein would not have been
  6   sustained.
  7                AICPA’s Efforts to Exclude Mr. Lau from the Profession
  8         148. Separate and apart from the malicious, sham activity described above,
  9   AICPA has engaged in an unlawful course of conduct designed to prevent Mr. Lau
 10   from obtaining CPA licensure in California.
 11         149. According to AICPA’s First Amended Complaint, “[t]he Exam
 12   Content infringed by Defendant is the subject of U.S. Copyright Registration No.
 13   TXu002287113 (dated July 6, 2020).” U.S. Copyright Registration No.
 14   TXu002287113 is entitled “GRSTQ: Uniform CPA Examination Business
 15   Environment and Concepts 2019.”
 16         150. The “Exam Content” AICPA accuses Mr. Lau of infringing comes
 17   from the “GRSTQ: Uniform CPA Examination Business Environment and
 18   Concepts 2019” document that was examined by the U.S. Copyright Office on
 19   November 8, 2021.
 20         151. According to AICPA’s First Amended Complaint paragraphs 51
 21   through 66, Mr. Lau gained access to the subject “Exam Content” by entering into
 22   NDAs dated November 16, 2023 and December 28, 2023, referred to collectively in
 23   AICPA’s First Amended Complaint as “the NDAs”.
 24         152. According to AICPA’s First Amended Complaint paragraphs 76
 25   through 78, Mr. Lau breached the December 28, 2023 NDA on February 3, 2024,
 26   by posting a message in the “CPA Study Group” Discord server that contained “a
 27   virtually exact reproduction of both the content of an ISC multiple choice question
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                             - 80 -                   AND SECOND AMENDED
                                                                              COUNTERCLAIMS
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  1   [sic] along with the related answer choices” from an ISC section of the February 3,
  2   2024 CPA Exam Mr. Lau took.
  3         153. According to AICPA’s First Amended Complaint paragraphs 76
  4   through 78, Mr. Lau breached the December 28, 2023 NDA on February 3, 2024,
  5   by posting a message in the “CPA Study Group” Discord server that disclosed
  6   descriptions of the subject matter of three task based simulations from an ISC
  7   section of the February 3, 2024 CPA Exam Mr. Lau took.
  8         154. According to AICPA’s First Amended Complaint paragraphs 63-63
  9   and 85, Mr. Lau breached the November 16, 2023 NDA on November 26, 2023 by
 10   posting in his Reddit CPA study group a comment that “provided details about the
 11   subject matters of four different multiple choice questions from the REG Exam”
 12   administered on November 25, 2023.
 13         155. To recap, the conduct complained of in AICPA’s First Amended
 14   Complaint concerns study group communications Mr. Lau made in November 2023
 15   and February 3, 2024 about exams Mr. Lau took in November 2023 and February
 16   2024, respectively.
 17         156. In or about early September 2024, Mr. Lau scheduled himself to sit for
 18   the FAR section of the Uniform CPA examination on September 24, 2024. In
 19   connection with scheduling himself for the September 24, 2024 FAR exam, Mr.
 20   Lau entered into agreements with at least Prometric, NASBA, and the CBA
 21   concerning the 2024 FAR exam. As a result of these contracts, AICPA received
 22   benefits, including money, from Mr. Lau. By depriving Mr. Lau of the benefits of
 23   his agreements with Prometric, NASBA, and the CBA, while at the same time
 24   retaining the benefits and money AICPA received from Mr. Lau, AICPA has been
 25   unjustly enriched. AICPA is therefore required under California law to provide
 26   restitution to Mr. Lau of such money.
 27         157. Mr. Lau was permitted to schedule and sit for the 2024 FAR exam.
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
                                              - 81 -                  AND SECOND AMENDED
                                                                              COUNTERCLAIMS
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  1         158. AICPA permitted Mr. Lau to gain access to the September 24, 2024
  2   FAR exam.
  3         159. AICPA permitted Mr. Lau to take the September 24, 2024 FAR exam.
  4         160. AICPA did not expel Mr. Lau from the testing facility for the
  5   September 24, 2024 FAR exam.
  6         161. AICPA has not alleged that Mr. Lau breached any of his obligations
  7   with respect to the September 24, 2024 FAR exam. Prometric, the test proctor, has
  8   also never asserted that Mr. Lau violated Exam code of conduct before, during, or
  9   after the exam while at its test center, for the September 24, 2024 FAR exam or any
 10   CPA exam sections taken.
 11         162. Mr. Lau complied with all his duties concerning the September 24,
 12   2024 FAR exam.
 13         163. AICPA has placed a hold on Mr. Lau’s scores for the September 24,
 14   2024 FAR exam.
 15         164. AICPA has refused to provide Mr. Lau with an explanation for why it
 16   has placed a hold on Mr. Lau’s scores for the September 24, 2024 FAR exam.
 17         165. AICPA’s intent in withholding Mr. Lau’s scores is to retaliate against
 18   Mr. Lau for complaining about AICPA’s discriminatory conduct and asserting his
 19   rights under federal and state anti-discrimination statutes.
 20         166. Unless and until AICPA removes the hold from Mr. Lau’s scores for
 21   the September 24, 2024 FAR exam, Mr. Lau and the California Board of
 22   Accountancy cannot know whether Mr. Lau passed his September 24, 2024 FAR
 23   exam, which in turn prevents Mr. Lau from obtaining licensure.
 24         167. Unless and until AICPA removes the hold from Mr. Lau’s scores for
 25   the September 24, 2024 FAR exam, Mr. Lau and the California Board of
 26   Accountancy cannot schedule Mr. Lau’s retaking of the FAR exam as needed to
 27   complete Mr. Lau’s licensure requirements in the event he did not pass the
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
                                               - 82 -                   AND SECOND AMENDED
                                                                                COUNTERCLAIMS
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  1   September 24, 2024 FAR exam.
  2         168. Mr. Lau alleges that a reasonable opportunity for discovery will show
  3   that AICPA is without legal basis holding Mr. Lau’s scores for the September 24,
  4   2024 FAR exam in order to prevent him from obtaining licensure in California.
  5         169. Mr. Lau alleges that a reasonable opportunity for discovery will show
  6   that AICPA is without basis holding Mr. Lau’s scores for the September 24, 2024
  7   FAR exam in order to ensure that Mr. Lau’s older passing exam scores will expire,
  8   requiring him to go back to square one in his journey to become a licensed CPA.
  9         170. AICPA is aware that Mr. Lau is a disabled individual who has been
 10   trying to satisfy the Uniform CPA exam requirements since approximately 2004
 11   and only has one test left to pass before he is eligible for licensure.
 12         171. AICPA’s unjustified holding up of Mr. Lau’s September 24, 2024
 13   FAR exam scores in order to prevent him from obtaining licensure in California is
 14   consistent with the motives AICPA revealed during the courses of settlement
 15   efforts in this case, during which AICPA attempted to coerce Mr. Lau into agreeing
 16   to ask CBA to invalidate Mr. Lau’s prior exam scores that have nothing to do with
 17   the 2023 REG and 2024 ISC exam conduct alleged in AICPA’s First Amended
 18   Complaint and also attempted to coerce Mr. Lau into agreeing not to take any CPA
 19   exams again for five years (which would cause all prior exam scores to expire and
 20   send Mr. Lau back to square one).
 21                            FIRST CLAIM FOR RELIEF
                 (Declaratory Judgment of Non-Infringement of Copyright)
 22
 23         172. Mr. Lau incorporates by reference and re-alleges herein the allegations
 24   contained in paragraphs 1-171 above.
 25         173. An actual justiciable controversy exists between Mr. Lau, on the one
 26   hand, and AICPA, on the other, because AICPA accuses Mr. Lau of copyright
 27   infringement, and Mr. Lau denies AICPA’s allegation.
                                                             DEFENDANT STEPHEN LAU’S ANSWER
 28                                                         TO PLAINTIFF’S AMENDED COMPLAINT
                                               - 83 -                    AND SECOND AMENDED
                                                                                 COUNTERCLAIMS
                                                                  CASE NO. 5:24-CV-01940-SSS-SHKX
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  1         174. Mr. Lau and AICPA have adverse legal interests.
  2         175. The sufficiency and immediacy of the parties’ dispute warrants the
  3   issuance of declaratory judgment under 28 U. S. C. § 2201.
  4         176. AICPA’s objectively baseless copyright allegations against Mr. Lau
  5   have caused him injury.
  6         177.     A judicial determination declaring that Mr. Lau has not infringed
  7   AICPA’s copyright rights would help abate the injury AICPA has caused.
  8         178. Mr. Lau is entitled to a declaration that he has not infringed AICPA’s
  9   copyrights and such other equitable relief as the Court deems appropriate.
 10         179. Mr. Lau is entitled to a declaration that he has not willfully infringed
 11   AICPA’s copyrights and such other equitable relief as the Court deems appropriate.
 12         180. Mr. Lau is entitled to a declaration that his alleged conduct is fair use
 13   under 17 U.S.C. § 107 and such other equitable relief as the Court deems
 14   appropriate.
 15         181. Mr. Lau is entitled to a declaration that AICPA’s asserted copyright is
 16   unenforceable due to copyright misuse.
 17         182. Mr. Lau is entitled to a declaration that AICPA’s copyright
 18   infringement allegations are objectively baseless for at least the reasons explained
 19   below and in Mr. Lau’s affirmative defenses.
 20         183. Mr. Lau is entitled to attorneys’ fees incurred responding to AICPA’s
 21   objectively baseless copyright allegations.
 22   No Substantial Similarity is Factually or Legally Possible
 23         184. The “Work” at issue is U.S. Copyright Reg. No. TXu002287113,
 24   which is a compilation of test items examined on November 8, 2021. AICPA
 25   cannot possibly in good faith allege that Mr. Lau infringed any of AICPA’s §106
 26   rights to the compilation registered as Registration TXu002287113, i.e., the “group
 27   of secure test items examined [by the Copyright Office] on 11/8/2021.” Dkt. 1-1.
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                               - 84 -                  AND SECOND AMENDED
                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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  1            185. As an objective matter of fact and as a matter of law, there is no
  2   substantial similarity between the registered Work and Mr. Lau’s Reddit or Discord
  3   posts.
  4            186. The registered work is entitled “GRSTQ: Uniform CPA Examination
  5   Business Environment and Concepts 2019”.
  6            187. Mr. Lau has taken BEC exams in the past and is familiar with their
  7   content.
  8            188. Mr. Lau last took the BEC in 2021.
  9            189. The Business Environment Concepts (BEC) section tests content
 10   across five areas: corporate governance, economic concepts and analysis, financial
 11   management, information technology, and operations management.
 12            190. In contrast to the BEC as it existed in the 2019 to 2021 timeframe, the
 13   ISC section tests different subject matter in a different format.
 14            191. The “GRSTQ: Uniform CPA Examination Business Environment and
 15   Concepts 2019” is not contained within the ISC Section of the CPA Exam that Mr.
 16   Lau sat for on February 3, 2024.
 17            192. The Registered Work is entitled to only to “thin” copyright protection
 18   at most. It is highly factual, comprised primarily of concepts, ideas, terms, and
 19   phrases that are necessary to convey the non-protectable information underlying
 20   AICPA’s expression, and it is also highly functional because its purpose is to test
 21   the minimum requirements that any registered CPA must have to carry out their
 22   duties.
 23            193. While “a compilation of facts may be copyrightable even if the
 24   underlying facts are not,” the “Ninth Circuit has held that copyright infringement of
 25   compilations consisting largely of uncopyrightable elements should not be found in
 26   the absence of ‘bodily appropriation of expression,’” or “unauthorized use of
 27   substantially the entire item.” Bensbargains.Net, LLC. v. Xpbargains.Com, 2007
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
                                                - 85 -                  AND SECOND AMENDED
                                                                                COUNTERCLAIMS
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  1   WL 2385092, at *4 (citing inter alia Harper House, Inc. v. Thomas Nelson, Inc.,
  2   889 F.2d 197, 205 (9th Cir.1989)).
  3         194. Whatever the bounds are of AICPA’s ultrathin protection may be,
  4   there is no way Mr. Lau’s alleged conduct can fall within those bounds. Unlike the
  5   Work, Mr. Lau’s posts look nothing like a CPA exam. They consist of commentary
  6   and discussion about the ideas and concepts tested in the exam and were made to
  7   foster discussion, debate, and study about the test and its content.
  8         195. According to AICPA, there are two types of “reproductions” at issue.
  9   “On February 3, 2024, [Mr. Lau]…unlawfully reproduced and publicly displayed
 10   on the CPA Study Group server in Discord, Exam Content.” Compl. ¶ 90. The
 11   “Exam Content” Mr. Lau allegedly reproduced consists of (i) “a message Mr. Lau
 12   posted “in the CPA Study Group Discord server containing a virtually exact
 13   reproduction of both the content of an ISC multiple choice question along with the
 14   related answer choices”; and (ii) “descriptions of the subject matter of three task-
 15   based simulations.” Compl. ¶¶ 73-75.
 16         196. A “description[] of the subject matter” of a copyrighted work is not
 17   infringement, because facts and ideas “are not copyrightable.” Comparion Med.
 18   Analytics, Inc. v. Prime Healthcare Servs., Inc., 2015 WL 12746228, at *5 (C.D.
 19   Cal. Apr. 14, 2015) (citing inter alia Feist Publications, Inc. v. Rural Tel. Serv. Co.,
 20   499 U.S. 340, 344 (1991)); Bikram's Yoga Coll. of India, L.P. v. Evolation Yoga,
 21   LLC, 803 F.3d 1032, 1041 (9th Cir. 2015) (“an idea, process, or system…is not
 22   eligible for copyright protection”); Advanta-STAR Auto. Research Corp. of Am. v.
 23   DealerCMO, Inc., No. 20-1150, 2022 U.S. Dist. LEXIS 10343, at *17 (E.D. La.
 24   Jan. 20, 2022) (collecting cases like McGraw-Hill, Inc. v. Worth Publishers, Inc.,
 25   335 F. Supp. 415, 420-21 (S.D.N.Y. 1971) (“subject of an economics textbook
 26   restricted the language options available…given the corpus of technical words and
 27   phrases whose meanings have been fixed and concepts whose importance is
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
                                               - 86 -                   AND SECOND AMENDED
                                                                                COUNTERCLAIMS
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  1   generally acknowledged”) and Windsor v. Olson, 2019 U.S. Dist. LEXIS 79755,
  2   2019 WL 2080021, at *5 (N.D. Tex. 2019) (finding phrases functional and
  3   ineligible for protection because they defined a system and information contained
  4   therein and were thus not original); Satava v. Lowry, 323 F.3d 805, 810 (9th Cir.
  5   2003) (“expressions that are standard, stock, or common to a particular subject
  6   matter or medium are not protectable under copyright law.”). “[C]opyright assures
  7   authors the right to their original expression, but encourages others to build freely
  8   upon the ideas and information conveyed by a work.” Feist, 499 U.S. at 349-50.
  9         197. That leaves AICPA with only the alleged “virtually exact
 10   reproduction” of a single ISC exam question and answer set to hang its
 11   infringement case on, which clearly isn’t enough. See, e.g., Experian, 893 F.3d at
 12   1187. Even assuming that that Registration TXu002287113 includes only 100
 13   question and answer sets, AICPA’s allegations amounts to an assertion that Mr. Lau
 14   reproduced less than 1% of the “GRSTQ: Uniform CPA Examination Business
 15   Environment and Concepts 2019.”
 16         198. Mr. Lau avers that a reasonable opportunity for discovery will reveal
 17   that the content he allegedly “reproduced” consist largely of uncopyrightable stock
 18   phrases and factual information, and that the totality of the words he used amount to
 19   well under 1% of the lines of text contained in the “GRSTQ: Uniform CPA
 20   Examination Business Environment and Concepts 2019.”
 21         199. Mr. Lau further alleges that discovery will show that prior to filing
 22   suit, AICPA knew or should have known that Mr. Lau allegedly copied far, far less
 23   than the minimum amount of copying required to state an infringement claim under
 24   Ninth Circuit law. E.g., Bensbargains.Net, LLC. v. Xpbargains.Com, 2007 WL
 25   2385092, at *4 (S.D. Cal. Aug. 16, 2007) (dismissing claims based on copying less
 26   than 70% of compilation work) (collecting similar cases cases); Experian 893 F.3d
 27   at 1187 (80% copying held insufficient).
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                              - 87 -                   AND SECOND AMENDED
                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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  1         200. AICPA’s copyright infringement allegations are objectively baseless
  2   because no reasonable litigant could expect to prevail in the Ninth Circuit on a
  3   claim for infringement of a functional, fact-intensive compilation work based on
  4   copying of 1% or less of the work.
  5         201. Binding Ninth Circuit case law establishing the objective baselessness
  6   of AICPA’s claims is so prevalent, and the underlying legal principles supporting
  7   these holdings are so basic, that AICPA could not have been ignorant of the
  8   objective baseless of its claims. See, e.g., E.g., Experian Info. Sols., Inc. v.
  9   Nationwide Mktg. Servs. Inc., 893 F.3d 1176, 1187 (9th Cir. 2018) (“Even
 10   assuming Natimark's pairings were exact copies of their counterparts in the
 11   Experian database, the match rate would only be 80% and insufficient to establish a
 12   bodily appropriation of Experian's work.”); Feist Publ'ns, Inc. v. Rural Tel. Serv.
 13   Co., 499 U.S. 340, 348, 111 S. Ct. 1282, 1289 (1991) (“The mere fact that a work is
 14   copyrighted does not mean that every element of the work may be protected”).
 15         202. The weight of precedent makes it so obvious that AICPA has no
 16   meritorious infringement claim arising from Mr. Lau’s study group
 17   communications that AICPA’s filing of a federal copyright infringement lawsuit
 18   supports a plausible inference of improper subjective motives.
 19         203. A plausible inference of improper subjective motives underlying
 20   AICPA’s copyright claim is also supported by AICPA’s bad faith conduct in
 21   slapping Mr. Lau with a duplicate copy of the lawsuit as we walked into his exam,
 22   and by AICPA’s other bad faith conduct as described above and below.
 23   Sham Pleading Tactics
 24         204. The objective baselessness of AICPA’s claims is also evidenced by
 25   AICPA’s inability to properly plead the basic elements of a copyright infringement
 26   claim. AICPA does not and cannot allege the fundamental threshold element of a
 27   copyright claim: that Mr. Lau had access to the Work.
                                                             DEFENDANT STEPHEN LAU’S ANSWER
 28                                                         TO PLAINTIFF’S AMENDED COMPLAINT
                                                - 88 -                   AND SECOND AMENDED
                                                                                 COUNTERCLAIMS
                                                                  CASE NO. 5:24-CV-01940-SSS-SHKX
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  1           205. AICPA does not say that the two different CPA exams at issue, which
  2   Mr. Lau took in late 2023 and early 2024, are each subject to their own copyright
  3   registrations. Instead, AICPA suggests that some of the material from those exams
  4   was also the “subject of” a much older test submitted for copyright registration in
  5   2019.
  6           206. According to AICPA’s registration, the Work is entitled “GRSTQ:
  7   Uniform CPA Examination Business Environment and Concepts 2019” and
  8   consists of “a group of secure test items examined on 11/8/2021.” Dkt. 1-1 at 3.
  9   According to what AICPA told the Copyright Office, the Work was completed in
 10   2019. Dkt. 1-1 at 2. Among the “group of secure test items” comprising the Work
 11   are multiple items (presumably test and answer pairs) that are excluded from
 12   AICPA’s copyright claim, presumably because these items were already published,
 13   subject to another registration, not eligible for copyright protection, not authored by
 14   the same author as required by the form of registration, and/or some other fact or
 15   combination of factors that would have precluded registration of TXu-2-287-113
 16   but for their exclusion:
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                               COUNTERCLAIMS
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
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  1
  2
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  7
  8
  9
 10
 11
 12
 13
 14
              207. Unlike the “GRSTQ: Uniform CPA Examination Business
 15
      Environment and Concepts 2019”, the exams Mr. Lau is alleged to have talked
 16
      about in study groups were (i) a November 2023 REG exam and (ii) February 2024
 17
      ISC exam. At most, only some of the questions in the tests he took in 2023 and
 18
      2024 were hold over questions from the aging 2019 exam referenced in
 19
      TXu2287113.
 20
              208. The AICPA’s own exam blueprints state that the REG exam does not
 21
      include BEC subject matter.
 22
              209. Content from “GRSTQ: Uniform CPA Examination Business
 23
      Environment and Concepts 2019” cannot (or should not) be included in the REG
 24
      exam.
 25
              210. Because AICPA knows Mr. Lau has never seen the “GRSTQ: Uniform
 26
      CPA Examination Business Environment and Concepts 2019” registered with the
 27
                                                         DEFENDANT STEPHEN LAU’S ANSWER
 28                                                     TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                             COUNTERCLAIMS
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  1   Copyright Office, AICPA alleges only that “the Exam Content infringed by
  2   Defendant is the subject of U.S. Copyright Reg. No. TXu002287113 (dated July 6,
  3   2020).” Compl. ¶¶37; 90. Note that AICPA does not say that the tests Mr. Lau took
  4   are “the subject of” any registration—only that the content of the two tests Mr. Lau
  5   allegedly “infringed” are “the subject of” the old 2019 registration.
  6         211. AICPA’s “subject of” allegation could mean that some of the words
  7   and phrases Mr. Lau is alleged to have “reproduced” are included in the old 2019
  8   test that AICPA registered for copyright, or it could even mean more broadly that
  9   the questions relate to the same factual subject matter. Either way, AICPA’s resort
 10   to this type of hand waiving on the most basic element of copyright infringement
 11   supports plausible inferences that permit a finding that AICPA’s claims are
 12   objectively baselessness and pursued for subjective improper motives.
 13         212. AICPA does not have registrations for each of the exam questions at
 14   issue or the exams Mr. Lau took in 2023 and 2024.
 15         213. Mr. Lau avers that a reasonable opportunity for discovery will reveal
 16   that AICPA lacks standing on certain portions of its copyright claim because the
 17   alleged content reproduced includes material that is either not registered under
 18   Registration TXu002287113 or registered as a compilation work under other
 19   registrations that have not been pleaded. J & J Sports Prods., Inc. v. Kigo, No. C
 20   10-05512 SI, 2011 WL 3418394, at *1 (N.D. Cal. Aug. 4, 2011) (“plaintiff must
 21   affirmatively plead registration in order to adequately state a claim for copyright
 22   infringement.”).
 23         214. Alternatively, Mr. Lau avers that a reasonable opportunity for
 24   discovery will reveal that the content he allegedly “reproduced” includes material
 25   that has never been subject to any copyright registration or application.
 26         215. To the extent AICPA can allege in good faith that the single test item
 27   Mr. Lau allegedly “virtually exact(ly)” reproduced is copyrightable on its own (i.e.,
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                              - 91 -                   AND SECOND AMENDED
                                                                               COUNTERCLAIMS
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  1   the question itself has “artistic features that can be separated from [its] utilitarian
  2   function,” see, e.g., Fabrica Inc. v. El Dorado Corp., 697 F.2d 890, 894 (9th Cir.
  3   1983) and is original, not just “expressions that are standard, stock, or common to a
  4   particular subject matter or medium,” see, e.g., Satava v. Lowry, 323 F.3d 805, 810
  5   (9th Cir. 2003), that single-question registration does not exist, and such a theory
  6   has not been pleaded. 17 U.S.C. § 411(a) (“[N]o civil action for infringement of the
  7   copyright in any United States work shall be instituted until preregistration or
  8   registration of the copyright claim has been made in accordance with this title.”).
  9         216. AICPA lacks statutory standing to bring copyright infringement claims
 10   for any materials that are not subject to Registration No. TXu002287113. Mr. Lau
 11   alleges that a reasonable opportunity for discovery will show that before filing this
 12   action, AICPA knew of or should have known of the registration problems that
 13   preclude AICPA’s standing for its copyright claims as pled.
 14         217. In addition to not even pleading threshold issues like standing or the
 15   fundamental element of access to the Work, AICPA' Complaint is “entirely devoid
 16   of allegations establishing the protectable elements of the infringed works” and
 17   makes “no effort to compare the copyrightable elements of the allegedly infringing
 18   and copyrighted works.” Evans v. McCoy-Harris, No. C17-8345, 2019 U.S. Dist.
 19   LEXIS 42744, 2019 WL 1002512, at *3 (C.D. Cal. Jan. 4, 2019); accord Boost
 20   Beauty, LLC v. Woo Signatures, LLC, No. C18-2960, 2018 U.S. Dist. LEXIS
 21   227156, 2018 WL 6219895, at *1, 4 (C.D. Cal. July 23, 2018) (allegation of
 22   copying “specific words and language in a specific order” insufficient where
 23   complaint failed to provide “even written descriptions of the…words”); Bungie,
 24   Inc. v. Aimjunkies.Com, 2022 WL 1239906, at *2 (W.D. Wash. Apr. 27, 2022)
 25   (allegation that infringing software was “identical or substantially similar” to
 26   copyrighted work held insufficient)(quoting Twombly, 550 U.S. at 555).
 27         218. Mr. Lau alleges that a reasonable opportunity for discovery will reveal
                                                             DEFENDANT STEPHEN LAU’S ANSWER
 28                                                         TO PLAINTIFF’S AMENDED COMPLAINT
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  1   that Registration TXu002287113 covers at least 200 question and answer sets
  2   comprising thousands of lines of text, a substantial majority of which text is made
  3   up of uncopyrightable factual information, short statements, and stock industry
  4   terms that are (i) necessary to describe the ideas that the question and answer sets
  5   are intended to convey, (ii) not subject to copyright protection in and of themselves,
  6   and (iii) are only entitled to copyright protection to the extent their selection and
  7   arrangement into a compilation amounts to a creative and original work.
  8   Moreover, even if the compilation is subject to copyright protection, that protection
  9   is necessarily very thin given the functional purpose of the work: to test the
 10   minimum qualifications of CPA candidates. The text Mr. Lau allegedly reproduced
 11   amounts to likely less than one percent of the overall work, which is not enough to
 12   give rise to infringement of such a work.
 13   Failure to Conduct Fair Use Analysis
 14         219. Mr. Lau’s study group discussions are classic fair use. Section 107 of
 15   the Copyright Act provides that “Notwithstanding the provisions of sections 106
 16   and 106A, the fair use of a copyrighted work, including such use…for purposes
 17   such as criticism, comment, news reporting, teaching (including multiple copies for
 18   classroom use), scholarship, or research, is not an infringement of copyright.”
 19   Section 107 further provides that “[i]n determining whether the use made of a work
 20   in any particular case is a fair use the factors to be considered shall include (1) the
 21   purpose and character of the use, including whether such use is of a commercial
 22   nature or is for nonprofit educational purposes; (2) the nature of the copyrighted
 23   work; (3) the amount and substantiality of the portion used in relation to the
 24   copyrighted work as a whole; and (4) the effect of the use upon the potential market
 25   for or value of the copyrighted work.” 17 U.S.C. § 107.
 26         220. AICPA admits that all of Mr. Lau’s allegedly infringing posts were
 27   made in the context of exam candidate study groups. Such communications were
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                                COUNTERCLAIMS
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  1   obviously made for non-commercial fair use “purposes such as criticism,
  2   comment…teaching… scholarship, or research” and cannot be infringing as a
  3   matter of law.
  4         221. The purpose and character of the alleged communications were
  5   academic, critical, scholarly, and generally for purposes of study. See, e.g., Sega
  6   Enterprises Ltd. v. Accolade, Inc., 977 F.2d 1510, 1520 (9th Cir. 1992) (“Where
  7   there is good reason for studying or examining the unprotected aspects of a
  8   copyrighted [work]…such study or examination constitutes a fair use”). The
  9   character was not at all commercial. Compare Tresona Multimedia, LLC v.
 10   Burbank High Sch. Vocal Music Ass'n, 953 F.3d 638, 651 (9th Cir. 2020) (using
 11   portion of work for “new and different” purpose that also furthered high school
 12   students’ musical learning and development held fair use); Loew's Inc. v. Columbia
 13   Broad. Sys., 131 F. Supp. 165, 176 (S.D. Cal. 1955), aff'd sub nom. Benny v. Loew's
 14   Inc., 239 F.2d 532 (9th Cir. 1956), aff'd sub nom. Columbia Broad. Sys., Inc, v.
 15   Loew's Inc., 356 U.S. 43, 78 S. Ct. 667, 2 L. Ed. 2d 583 (1958) (“broader scope [of
 16   Fair Use] will be permitted the doctrine where the field of learning is concerned and
 17   a much narrower scope where the taking is solely for commercial gain.”); Newport-
 18   Mesa Unified Sch. Dist. v. State of California Dep't of Educ., 371 F. Supp. 2d 1170,
 19   1179 (C.D. Cal. 2005) (“The Court concludes a school giving parents of special
 20   education students copies of their children's test protocols when requested under
 21   California Education Code section 56504 is a fair use under 17 U.S.C. § 107.”).
 22         222. The nature of the copyrighted work is highly functional (designed to
 23   qualify persons for the CPA profession) and factual (reflecting basic knowledge all
 24   CPAs must possess to perform their duties), such that the work receives only the
 25   thinnest form of copyright protection (if any). See, e.g., Rassamni v. Fresno Auto
 26   Spa, Inc., 365 F. Supp. 3d 1039, 1046 (E.D. Cal. 2019) (discussing thin protection
 27   for factual compilations and noting that “systems…designed to assist in
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1   accomplishing a task…[are] not protected under copyright law”)(citing Sega
  2   Enters. Ltd. v. Accolade, Inc., 977 F.2d 1510, 1525 (9th Cir. 1992)) accord
  3   Bikram's Yoga Coll. of India, L.P. v. Evolation Yoga, LLC, 803 F.3d 1032, 1038
  4   (9th Cir. 2015) (“copyright in a manual describing how to organize roller-skating
  5   races does not extend to the rules for the races themselves”)(citation omitted).
  6         223. Any portions of text actually “reproduced” from memory are
  7   necessarily de minimis and insubstantial compared to the work as a whole,
  8   amounting to a mere fraction of a percent of the compilation comprising the work.
  9   See, e.g., Tresona Multimedia, LLC v. Burbank High Sch. Vocal Music Ass'n, 953
 10   F.3d 638, 651 (9th Cir. 2020) (use of only “small segments” of copyrighted works
 11   weighed in favor of fair use).
 12         224. Mr. Lau avers that a reasonable opportunity for discovery will reveal
 13   that his study group communications can have absolutely no effect on the market
 14   for AICPA’s Registration TXu002287113.
 15         225. No reasonable litigant could expect to overcome Mr. Lau’s facially
 16   obvious fair use defense to copyright infringement claims arising from his
 17   discussion of material in a study group setting, especially given the thin nature of
 18   protection afforded to the Work at issue.
 19         226. AICPA either did not conduct, or ignored the results of, a reasonable
 20   good faith pre-suit investigation and analysis of Mr. Lau’s obvious fair use defense.
 21         227. In addition, “[t]he defense of copyright misuse forbids a copyright
 22   holder from securing an exclusive right or limited monopoly not granted by the
 23   Copyright Office.” A&M Recs., Inc. v. Napster, Inc., 239 F.3d 1004, 1026 (9th Cir.
 24   2001). The misuse defense also “prevents a copyright holder that has misused its
 25   copyright from enforcing the copyright in a court of equity.” Shloss v. Sweeney, 515
 26   F. Supp. 2d 1068, 1079 (N.D. Cal. 2007). A finding of copyright misuse precludes
 27   enforcement of the copyright to a work “during the period of misuse.” Id.
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1         228. To establish copyright misuse, an accused infringer need only show
  2   that a “copyright is being used in a manner violative of the public policy embodied
  3   in the grant of copyright;” the accused need not prove an antitrust violation to
  4   prevail on a misuse defense. Id.
  5         229. AICPA has no meritorious copyright infringement claim against Mr.
  6   Lau but is nevertheless pursuing claims that are foreclosed as a matter of law by
  7   binding Ninth Circuit precedent regarding at least (i) infringement of fact-heavy
  8   compilation works and (ii) fair use for educational purposes. In addition, AICPA
  9   has used this litigation as an anticompetitive weapon, abusing the process itself by
 10   needlessly sending a process server to hand Mr. Lau the complaint and summons as
 11   he was walking into the last CPA exam standing between him and licensure—after
 12   previously serving Mr. Lau at home the night before.
 13         230. Mr. Lau avers that a reasonable opportunity for discovery will reveal
 14   that AICPA has, at all times relevant, engaged in a practice of asserting objectively
 15   baseless copyright infringement allegations in order to obtain rights that are not
 16   intended under, and indeed conflict with the very spirit of, the Copyright Act.
 17         231. Even without discovery, it is clear from the face of AICPA’s
 18   Complaint that AICPA is using its Registration TXu002287113 “in a manner
 19   violative of the public policy embodied in the grant of copyright” by accusing Mr.
 20   Lau of willful copyright infringement based on his discussion of the “subject
 21   matter” of Exam Content in online study groups. Shloss, 515 F. Supp. 2d at 1080
 22   (copyright misuse defense “applies broadly ‘if a copyright is leveraged to
 23   undermine the Constitution's goal of promoting invention and creative
 24   expression.’”)(citing Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 454 F.
 25   Supp. 2d 966, 995 (C.D. Cal. 2006) and In re Napster, Inc. Copyright Litig., 191 F.
 26   Supp. 2d 1087, 1108 (N.D. Cal. 2002)).
 27
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
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  1                          SECOND CLAIM FOR RELIEF
               (Declaratory Judgment of No Trade Secret Misappropriation)
  2
  3         232. Mr. Lau incorporates by reference and re-alleges herein the allegations
  4   contained in paragraphs 1-231 above.
  5         233. An actual justiciable controversy exists between Mr. Lau, on the one
  6   hand, and AICPA, on the other, because AICPA accuses Mr. Lau of trade secrets
  7   misappropriation, and Mr. Lau denies AICPA’s allegation.
  8         234. Mr. Lau and AICPA have adverse legal interests.
  9         235. The sufficiency and immediacy of the parties’ dispute warrants the
 10   issuance of declaratory judgment under 28 U. S. C. § 2201.
 11         236. AICPA’s objectively baseless trade secrets allegations against Mr. Lau
 12   have caused him injury.
 13         237.     A judicial determination declaring that Mr. Lau has not
 14   misappropriated any trade secrets would help abate the injury AICPA has caused.
 15         238. Mr. Lau is entitled to a declaration that he has not misappropriated
 16   AICPA’s trade secrets and such other equitable relief as the Court deems
 17   appropriate.
 18         239. Mr. Lau is entitled to an award of reasonable attorney’s fees incurred
 19   defending AICPA’s bad faith trade secrets claim pursuant to 8 U.S.C. §
 20   1836(b)(3)(D).
 21         240. AICPA’s DTSA claim is objectively baseless and brought in bad faith.
 22
 23   Sham Pleading Tactics
 24         241. AICPA did not identify its trade secrets with sufficient factual
 25   information to provide fair notice.
 26         242. No reasonable litigant could expect to prevail on a trade secrets claim
 27   that defines the alleged trade secrets as broadly and vaguely as AICPA has.
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1         243. The alleged “Trade Secrets” at issue are “Exam Content”, which
  2   includes the questions, problems and suggested answers, prefatory material,
  3   narrative passages, diagrams and answer choices that make up the test items used in
  4   the Uniform CPA Exam.
  5         244. There are no qualitative allegations about Exam Content anywhere in
  6   the Complaint. See, e.g., Vendavo, Inc. v. Price f(x) AG, 2018 WL 1456697, at *4
  7   (N.D. Cal. Mar. 23, 2018).
  8         245. Complaint does not plausibly allege any act of misappropriation by
  9   Mr. Lau. AICPA alleges only that (i) “On February 3, 2024…Defendant posted a
 10   message in the ‘CPA Study Group’ Discord server containing a virtually exact
 11   reproduction of both the content of an ISC multiple choice question;” (ii)
 12   “Defendant also disclosed descriptions of the subject matter of three task-based
 13   simulations on the same Discord server”; and (iii) in November 2023, “Defendant
 14   again provided details about the subject matters of four different multiple choice
 15   questions from the REG Exam.” Compl. ¶¶ 73-74; 83. There are no further facts
 16   alleged about the content of these questions or Mr. Lau’s posts, which precludes the
 17   Court from finding a plausible trade secrets claim based on Mr. Lau’s study group
 18   communications.
 19         246. The most plausible inferences that can be draw from AICPA’s suggest
 20   that Mr. Lau’s study group discussions did not involve any actual trade secrets.
 21         247. At the time it filed its original complaint in this action, AICPA had no
 22   evidence that anyone who saw Mr. Lau’s communications were persons who were
 23   not authorized to see, or who had not already seen, the alleged “trade secrets.”
 24   No Secrecy
 25         248. The content tested by all sections of the Uniform CPA Exam is general
 26   industry knowledge.
 27         249. There are only a limited number of ways to test general industry
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  1   knowledge.
  2          250. If somebody uses the AICPA’s publicly available exam blueprint to
  3   guide their studying, they’re going be looking at a detailed map of what could be on
  4   the test.
  5          251. Persons who use the full scope of CPA exam study materials that are
  6   readily available through appropriate means have all the information they need to
  7   understand the subject matter of CPA exams.
  8          252. Persons who use the full scope of CPA exam study materials that are
  9   readily available through appropriate means have all the information they need to
 10   be able to pass CPA exams.
 11          253. Persons who use the full scope of CPA exam study materials that are
 12   readily available through appropriate means have all the information they need to
 13   understand the nature of CPA exam questions.
 14          254. Persons who use the full scope of CPA exam study materials that are
 15   readily available through appropriate means have all the information they need to
 16   understand how test question formulations.
 17          255.   Persons who use the full scope of CPA exam study materials that are
 18   readily available through appropriate means have all the information they need to
 19   understand how test questions are organized.
 20          256. The primary purpose of the subject information (“Exam Content”) is to
 21   test general knowledge in the accountancy industry.
 22          257. AICPA must make its tests available to anyone who meets the
 23   requirements to sit for their state’s CPA licensure exam, and it must also make
 24   available the underlying information candidates need to prepare for the exam.
 25          258. Mr. Lau alleges that a reasonable opportunity for discovery will show
 26   that AICPA has disclosed most if not all of the information it claims as trade secrets
 27   in prior exams, by licensing the same or similar content to test preparation
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1   providers, and by otherwise disclosing information about AICPA’s exams and how
  2   to prepare for them.
  3         259. In 2018, the AICPA post online the BEC Exam Blueprint, with an
  4   effective date of July 1, 2019.
  5   https://us.aicpa.org/content/dam/aicpa/becomeacpa/cpaexam/examinationcontent/d
  6   ownloadabledocuments/cpa-exam-blueprint-bec-section-july-2019.pdf
  7         260. On pages BEC13 to BEC17 of the BEC Exam Blueprint, it clues
  8   candidates into representative tasks on the Exam which include but is not limited
  9   to:
 10            Understand key characteristics of a relational database (e.g., data
 11             dictionary, data types, tables, records, fields, relationships, keys, views,
 12             queries and reports).
 13            Understand the flow of transactions represented in a flowchart, data
 14             diagram and system interface diagram.
 15            Identify the role of information systems (e.g., enterprise and application
 16             systems) in key business processes (e.g., sales, cash collections,
 17             purchasing, disbursements, human resources, payroll, production,
 18             treasury, fixed assets, general ledger and reporting).
 19            Use business intelligence (including data analytics and statistics) to
 20             support business decisions.
 21            Determine the risks associated with ensuring the completeness, accuracy
 22             and continued processing integrity in input, storage, processing and
 23             output processes.
 24            Determine the role and appropriateness of input, storage, processing and
 25             output application controls (e.g., authorizations, approvals, tolerance
 26             levels, input edits and configurations) to support completeness, accuracy
 27             and continued processing integrity
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1            Identify effective IT control activities, including manual, IT dependent
  2             and automated controls, as well as preventive, detective and corrective
  3             controls.
  4            Apply cost accounting concepts, terminology, methods and measurement
  5             techniques within an entity.
  6            Determine the appropriate variance analysis method to measure the key
  7             cost drivers by analyzing business scenarios.
  8         261. An updated Exam Blueprint was released in 2020, with an effective
  9   July 1, 2021.
 10   https://us.aicpa.org/content/dam/aicpa/becomeacpa/cpaexam/examinationcontent/d
 11   ownloadabledocuments/cpa-exam-blueprints-effective-july-2021.pdf. Therein, BEC
 12   content was updated to include:
 13              Obtaining and transforming data to prepare it for data analytics to
 14                support business decisions
 15         262. Effective July 1, 2021, representative tasks were updated to include:
 16              Understand considerations associated with loading data into the final
 17                target database (e.g., operational data store, data warehouse or data
 18                lake) including the constraints that apply (e.g., uniqueness, referential
 19                integrity, mandatory fields), the types of loading (initial, incremental,
 20                full refresh) and load verification
 21              Define the attributes of a data repository such as its relevance,
 22                elements to be included or excluded, relationships between those
 23                elements and characteristics used to determine its validity,
 24                completeness and accuracy.
 25              Determine methods to transform raw data (structured and
 26                unstructured) to make it useful for decision-making by correcting or
 27                removing data in the dataset that is incorrect, inaccurate, incomplete,
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1                improperly formatted or duplicated and to convert, aggregate, merge,
  2                replace, validate, format and split data
  3             Understand the capabilities needed in tools that support data modeling
  4                and analysis.
  5             Understand the data visualization techniques used to make patterns,
  6                trends and correlations more easily detected in support of better
  7                decisions.
  8         263. The 2020 Exam Blueprint revealed the expectation for candidates to
  9   know database design techniques, including an understanding of the database
 10   structured query language also known as SQL. These topics are typically courses
 11   of study offered adjacent through information sciences programs in business or
 12   engineering degree programs; but not always made available within the accounting
 13   degree program itself.
 14         264. The 2020 Exam Blueprint updated its BEC source material to include:
 15   the AICPA TSP 100: 2017 Trust Services Criteria for Security, Availability,
 16   Processing Integrity, Confidentiality, and Privacy (includes March 2020 updates).
 17         265. The representative tasks combine both the applicable content
 18   knowledge and the skills required in the context of the work that a newly licensed
 19   CPA would reasonably be expected to perform.
 20         266. Difficulty in the Exam is attributed to the different skill levels
 21   evaluated and expected of candidates that are assigned to any test item. The four (4)
 22   skill levels: remembering and understanding, application, analysis, and evaluation.
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                                                           DEFENDANT STEPHEN LAU’S ANSWER
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            267. Remembering and Understanding is tested in all five areas of the BEC
 12
      section. Remembering and understanding tasks focus on the knowledge necessary
 13
      to demonstrate an understanding of the general business environment and business
 14
      concepts, such as those involving enterprise risk management.
 15
            268. Application is also tested in all five areas of the BEC section.
 16
      Application tasks focus on general topics such as those found in the subjects of
 17
      economics and information technology, and the day-to-day financial management
 18
      tasks that newly licensed CPAs perform, such as those involving calculations
 19
      involving ratios, valuation and budgeting.
 20
            269. Analysis skills, tested in Areas II, III and V involve tasks that require a
 21
      higher level of analysis and interpretation. These tasks, such as comparing
 22
      investment alternatives using calculations of financial metrics, financial modeling,
 23
      forecasting and projection, frequently require newly licensed CPAs to gather
 24
      evidence to support inferences.
 25
            270. The BEC section does not test any content at the Evaluation skill level
 26
      as newly licensed CPAs are not expected to demonstrate that level of skill in
 27
                                                          DEFENDANT STEPHEN LAU’S ANSWER
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  1   regards to the BEC content.
  2           271. 2019 BEC Pass Rates: The pass rates for the BEC section in 2019 were
  3   58.00% in the first quarter, 59.74% in the second quarter, 63.04% in the third
  4   quarter, and 58.61% in the fourth quarter, with a cumulative pass rate of 59.98%.
  5           272. 2020 BEC Pass Rates: In 2020, the pass rates for the BEC section were
  6   61.76% in the first quarter, 76.92% in the second quarter, 69.89% in the third
  7   quarter, and 60.77% in the fourth quarter, with a cumulative pass rate of 65.56%.
  8           273. 2021 BEC Pass Rates: The pass rates for the BEC section in 2021 were
  9   62.16% in the first quarter, 63.31% in the second quarter, 61.73% in the third
 10   quarter, and 60.27% in the fourth quarter, with a cumulative pass rate of 61.94%.
 11           274. BEC pass rates were generally higher among the 4 sections of the
 12   exam, with highest pass rates seen in years 2019, 2020, and 2021.7
 13           275. According to AICPA’s published data, pass rates for 2024 are depicted
 14   in the table below.
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 23
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      7
 27       https://ipassthecpaexam.com/cpa-exam-pass-rate/
                                                          DEFENDANT STEPHEN LAU’S ANSWER
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 17         276. Between 2020 to 2023, the AICPA took measures to revamp and
 18   enhance the CPA Exam to reflect changes to accountancy in large. Effective Jan 1,
 19   2024, the BEC Exam, in its lasting/final form, removed from the CPA exam.8 “The
 20   creation of three Core Exam sections and three Discipline Exam sections required
 21   realignment of some existing CPA Exam content and the identification of new
 22   content to be assessed on the 2024 CPA Exam. Substantially all of the content
 23   previously assessed in the Business Environment and Concepts (BEC) section has
 24   been reallocated to the AUD, FAR, BAR, and ISC Exam sections.”9
 25
      8
        https://www.evolutionofcpa.org/
 26   9
        https://www.aicpa-cima.com/resources/download/exposure-draft-proposed-2024-
 27   cpa-exam-changes
                                                         DEFENDANT STEPHEN LAU’S ANSWER
 28                                                     TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                             COUNTERCLAIMS
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  1         277. Over 67,000 people took the CPA exam in 2022 and 72,000 took the
  2   CPA exam in 2021.10
  3         278. In other words, at all times relevant, AICPA expected and intended for
  4   its so called “trade secrets” to be exposed to at least 70,000 people each year.
  5         279. Since the subject 2019 BEC test was created, its content was exposed
  6   to at least 70,000 people in 2020, 70,000 people in 2021, 67,000 people in 2022,
  7   and at least 50,000 people in 2023.
  8         280. Thus, at the time of Mr. Lau’s alleged conduct in 2024, no less than
  9   250,000 people have had access to the alleged trade secrets at issue.
 10         281. Information known to at least 250,000 people cannot be considered a
 11   secret.
 12   No Value Because of Secrecy
 13         282. AICPA’s influence in the CPA licensure process and power as the sole
 14   supplier of CPA licensing exams that allows AICPA to treat its test information as
 15   “property.”
 16         283. AICPA licenses and monetizes retired exam content to third parties for
 17   the express purpose of allowing those third parties to teach exam candidates the
 18   subject information.
 19         284. Mr. Lau alleges that a reasonable opportunity for discovery will reveal
 20   that the contracts referred to in paragraph 51 of AICPA’s complaint show licenses
 21   to and royalties for copyright licenses, not trade secrets licenses, and will otherwise
 22   prove that any economic value test materials have is not derived from secrecy.
 23   Readily Ascertainable Through Proper Means
 24         285. Anyone who wants access to the alleged trade secrets and has the
 25   minimum qualifications necessary to sit for a CPA exam in any U.S. State or
 26   10
        https://www.nysscpa.org/article-content/cpa-exam-takers-in-2022-fewest-in-17-
 27   years-053023#sthash.8lBnJ7Zm.DyEZi4j8.dpbs
                                                            DEFENDANT STEPHEN LAU’S ANSWER
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  1   territory can readily ascertain the alleged trade secrets through proper means.
  2         286. In California, the steps for gaining access to the alleged trade secrets is
  3   depicted in the info graphic below:
  4
  5
  6
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 10
 11
 12
 13
 14
 15         287.   AICPA doesn’t have the right to exclude qualified exam candidates
 16   from accessing the information contained in CPA Exams.
 17         288. AICPA must make its tests available to anyone who meets the
 18   requirements to sit for their state’s CPA licensure exam, and it must also make
 19   available the underlying information candidates need to prepare for such tests.
 20         289. Anyone qualified candidate who wishes to access CPA Exam Content
 21   has a “need to know” that information. See Compl. ¶ 45.
 22         290. Over the past 20 years, Mr. Lau has taken 25 CPA exams and has been
 23   exposed to several hundred if not thousands of questions and answers.
 24         291. At least some of the exam questions and/or exam sections Mr. Lau has
 25   taken in the past have been retired and are obtainable from sources other than
 26   AICPA.
 27
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1          292. Mr. Lau’s knowledge of the Uniform CPA Exam and related content
  2   comprising the terminology, regulations, theories, and methodologies of the
  3   accounting profession is based on his two decades of experience taking CPA
  4   exams, as well as his undergraduate education and post-graduate work experience
  5   in the field.
  6          293. At least some of the information at issue in this case is disclosed in
  7   exam questions and/or exam sections Mr. Lau has taken in the past that have been
  8   retired and are obtainable from sources other than AICPA. As Mr. Lau understands
  9   AICPA’s allegations, nearly all of the subject information in this case is general
 10   knowledge known to those in the relevant industries.
 11          294. AICPA has been making false and objectively baseless allegations of
 12   trade secret misappropriation against Mr. Lau since before this action commenced.
 13   For example, Mr. Lau believes that a reasonable opportunity for discovery will
 14   show that AICPA maliciously misrepresented to at least one law enforcement
 15   agency that Mr. Lau had committed criminal activity in order to trick that agency
 16   into issuing a search warrant to a third-party ISP. Mr. Lau avers that a reasonable
 17   opportunity for discovery will show that AICPA’s allegation was objectively
 18   baseless and made for subjectively improper purposes. AICPA has engaged in a
 19   pattern of sham activity designed to injure Mr. Lau and intimidate the public.
 20   No Misappropriation
 21          295. Mr. Lau did not acquire the alleged trade secrets by improper means.
 22          296. Mr. Lau did not use the alleged trade secrets without express or at least
 23   implied consent.
 24          297. Mr. Lau believes he did not disclose the alleged trade secrets to anyone
 25   who had not already accessed them and/or obtained the minimum qualifications for
 26   accessing them, and Mr. Lau did not have the intent to deprive AICPA of any
 27   property.
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1                            THIRD CLAIM FOR RELIEF
                     (Declaratory Judgement of No Breach or Damages)
  2
  3         298. Mr. Lau incorporates by reference and re-alleges herein the allegations
  4   contained in paragraphs 1-295 above.
  5         299. An actual justiciable controversy exists between Mr. Lau, on the one
  6   hand, and AICPA, on the other, because AICPA accuses Mr. Lau of breach of
  7   contract, and Mr. Lau denies AICPA’s allegation.
  8         300. Mr. Lau and AICPA have adverse legal interests.
  9         301. The sufficiency and immediacy of the parties’ dispute warrants the
 10   issuance of declaratory judgment under 28 U. S. C. § 2201.
 11         302. AICPA’s breach of contract allegations against Mr. Lau have caused
 12   him injury.
 13         303. A judicial determination declaring that Mr. Lau has not breached any
 14   contract would help abate the injury AICPA has caused.
 15         304. Mr. Lau is entitled to a declaration that he has not breached any
 16   enforceable contract and that AICPA is not entitled to any relief on any breach of
 17   contract claim, as well as such other equitable relief as the Court deems appropriate.
 18         305. AICPA has not performed and is not excused from performing the
 19   obligations it owes to Mr. Lau.
 20         306. AICPA has a policy and practice of attempting to force CPA
 21   candidates into agreeing to unconscionable contracts of adhesion that CPA uses for
 22   unlawful purposes, such as to use support sham copyright allegations to obtain
 23   illegal monopolies over uncopyrightable ideas and concepts and to support sham
 24   trade secrets claims.
 25         307. AICPA does not make the terms of its alleged NDA agreements clear
 26   to exam candidates. Instead, AICPA permits third parties to present to candidates a
 27   thicket of disparate terms of service, disclosure agreements, and so-called
                                                          DEFENDANT STEPHEN LAU’S ANSWER
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  1   “Uniform” NDAs that don’t actually have uniform terms. As a result, candidates
  2   like Mr. Lau are never presented in one place and at one time all of the documents
  3   AICPA contends comprise the subject agreements.
  4         308. By the time AICPA causes third parties to present so-called “Uniform”
  5   NDAs to candidates, those candidates already have entitlement from relevant
  6   licensing authorities to access AICPA exam content, which entitlements are matters
  7   of state law and may not be denied by AICPA in service of its own private interests
  8   in monetizing exam content.
  9         309. By the time AICPA causes third parties to present so-called “Uniform”
 10   NDAs to candidates, those candidates already paid monies in order to prepare for
 11   and schedule their CPA Exams, which monies will not be refunded should the
 12   candidate decide not to sign the AICPA’s purported NDAs.
 13         310. AICPA’s NDAs are not supported by valid consideration.
 14         311. AICPA’s NDAs do not have the required mutuality of obligation
 15   required to create an enforceable contract.
 16         312. AICPA is interfering with Mr. Lau’s ability to become licensed by
 17   causing the withholding of exam scores that have nothing to do with the allegations
 18   of the Complaint.
 19         313. AICPA is without legal basis preventing Mr. Lau from reattempting
 20   another retake of his final CPA exam in the current test window, making it more
 21   expensive than it once was for Mr. Lau to obtain licensure.
 22         314. AICPA interfered with Mr. Lau’s contracts with third parties, denying
 23   Mr. Lau disability accommodations owed to him under California and federal law
 24   and interfering with performance owed to Mr. Lau under third party agreements
 25   with test providers. Mr. Lau has paid money to take a test and receive scores for
 26   tests, and AICPA both torpedoed his testing attempts and is causing the scores to be
 27   unlawfully withheld.
                                                          DEFENDANT STEPHEN LAU’S ANSWER
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  1         315. To the extent there is any binding contract between Mr. Lau and
  2   AICPA, AICPA has breached it.
  3         316. On or around August 12, 2024, Mr. Lau made a payment to the
  4   California Board of Accountancy, which payment authorized Mr. Lau under state
  5   law to sit for the FAR examination and receive reasonable disability
  6   accommodations for that exam.
  7         317. On August 14, 2024, Mr. Lau made another payment to NASBA,
  8   which payment entitled him to schedule the FAR exam and receive for reasonable
  9   disability accommodations for that exam.
 10         318. On September 24, 2024, Mr. Lau sat for the FAR examination and
 11   received a paper attendance ticket.
 12         319. On September 25, 2024, the test window cutoff expired.
 13         320. FAR exam scores were released on October 30 and/or October 31,
 14   2024. Mr. Lau’s scores have not been provided or posted.
 15         321. On November 1, 2024, Mr. Lau learned that status postings between
 16   CBA and NASBA showed no FAR exam scheduled or attended for Mr. Lau,
 17   despite the monies he paid and time he spent to sit for the exam.
 18         322. From November 3 to November 15, 2024, Mr. Lau confirmed with
 19   Prometric that his test was submitted for scoring on September 24, 2024 and
 20   confirmed with NASBA that they must receive a scored exam back from AICPA in
 21   order to update status from scheduled to scored.
 22         323. On November 16, 2024, Mr. Lau received an inquiry letter from the
 23   CBA regarding AICPA’s allegations in this case.
 24         324. On January 17, 2025, the CBA confirmed that AICPA has placed a
 25   hold on Mr. Lau’s September, 24, 2024 FAR exam scores.
 26         325. AICPA is holding Mr. Lau’s September, 24, 2024 FAR exam scores
 27   hostage in an attempt to obtain an undue advantage in its sham litigation against
                                                          DEFENDANT STEPHEN LAU’S ANSWER
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  1   Mr. Lau.
  2         326. There is no lawful justification for AICPA’s withholding of Mr. Lau’s
  3   September, 24, 2024 FAR exam scores. Mr. Lau’s September, 24, 2024 FAR exam
  4   scores have nothing to do with the conduct alleged in AICPA’s complaint.
  5         327. Mr. Lau alleges that a reasonable opportunity for discovery will yield
  6   evidence that AICPA has been communicating with CBA in an attempt to interfere
  7   with Mr. Lau’s licensure and in hopes of gaining an undue, unfair advantage in this
  8   sham civil case.
  9         328. AICPA breached the covenant of good faith and fair dealing, including
 10   by failing to contact Mr. Lau concerning his alleged breaches.
 11         329. AICPA’s breaches of its own duties and obligations bar it from any
 12   contract or equitable relief on its breach claims.
 13                          FOURTH CLAIM FOR RELIEF
                         (DMCA Misrepresentation, 17 U.S.C. § 512(f))
 14
 15         330. Mr. Lau incorporates by reference and re-alleges herein the allegations
 16   contained in paragraphs 1-329 above.
 17         331. On June 3, 2024, AICPA sent a written communication to the
 18   registered DMCA agent for Discord, Inc. purporting to be a “notification of
 19   copyright infringement” pursuant to 17 U.S.C. § 15(c)(3)(A). AICPA’s June 3,
 20   2024 communication to Discord also alleged that “Discord is also hosting material
 21   that has been improperly disclosed in violation of federal and state trade secrets
 22   laws and contracts the disclosure has with the AICPA.”
 23         332. AICPA’s June 3, 2024 communication to Discord falsely stated that
 24   “Discord is, without authorization, hosting a number of files on Discord’s website.”
 25   Specifically, AICPA’s June 3, 2024 described the subject “files” as “questions,
 26   answers, and other content related to the Uniform CPA Examination” and
 27   suggested that such content “is the subject of U.S. Copyright Reg. No.
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  1   TXu002287113.” (emphasis added). In fact, AICPA knew all along that its alleged
  2   copyright interests extend, at most, only to specific question and answer pairings
  3   contained in U.S. Copyright Reg. No. TXu002287113, not to “other content related
  4   to the Uniform CPA examination.”
  5         333. The “other content related to the Uniform CPA Examination”
  6   referenced in AICPA’s June 3, 2024 letter is not subject to copyright protection.
  7         334. AICPA’s June 3, 2024 communication to Discord falsely suggested
  8   that Discord “may only avoid liability for copyright infringement” by removing all
  9   “Posted Materials”—when in fact Discord would not have faced any liability for
 10   hosting “other content related to the Uniform CPA Examination.” Moreover, under
 11   no circumstance could Discord have been held liable for copyright infringement
 12   based on its hosting of study group communications that are obvious fair use of the
 13   subject materials use under the Copyright Act.
 14         335. In addition, AICPA’s June 3, 2024 letter falsely suggested that
 15   AICPA’s authorization was required to permit hosting of the subject content. In
 16   fact, AICPA’s permission was not needed with respect to either (i) other content
 17   related to the Uniform CPA Examination; or (ii) fair use copies or derivatives of
 18   AICPA’s alleged works.
 19         336. AICPA’s June 3, 2024 communication to Discord stated that AICPA
 20   had a good faith belief that use of the “Posted Materials”—which by definition
 21   included “other content related to the Uniform CPA Examination,” not just the
 22   specific question and answer pairings contained in U.S. Copyright Reg. No.
 23   TXu002287113—was not “authorized by the copyright owner, its agent, or the
 24   law,” when in fact no such authorization was needed. Moreover, by representing
 25   that AICPA had a good faith belief that the “Posted Materials” were infringing,
 26   AICPA implicitly represented to Discord that AICPA had conducted a good faith
 27   fair use analysis.
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  1         337. Mr. Lau alleges that a reasonable opportunity for discovery will reveal
  2   that AICPA never conducted a good faith fair use assessment of the subject material
  3   before sending its June 3, 2024 notice to Discord. No reasonable copyright owner
  4   could conclude from the facts presented that Mr. Lau’s study group
  5   communications were not a fair use.
  6         338. AICPA wanted its June 3, 2024 notice to result in removal of content
  7   for which AICPA has no copyright protection and no legitimate basis to invoke the
  8   DMCA’s takedown procedure.
  9         339. The June 3, 2024 communication identified five URLs that AICPA did
 10   not associate with any copyrighted material but instead characterized as “Exam
 11   Content that is protected under trade secret law.” AICPA’s trade secret allegations
 12   were factually baseless, as evidenced by the fact that rather than act immediately to
 13   remove the so called “trade secrets” from Discord by contacting Mr. Lau directly,
 14   AICPA waited months to send its June 3 communication to Discord, all the while
 15   leaving its purported trade secrets exposed in the wild. The only reasonable
 16   inference supported by AICPA’s delay is that the subject information does not
 17   qualify for trade secret protection.
 18         340. On June 5, 2024, Discord responded to AICPA’s notice and advised
 19   AICPA that although Discord had complied with AICPA’s takedown request,
 20   Discord was “unable to locate the [copyrighted work you reported as being
 21   allegedly infringined]…in the content you identified as allegedly infringing
 22   material.” Discord’s inability to understand AICPA’s infringement allegations
 23   supports an inference that AICPA’s notice was materially deficient and objectively
 24   baseless.
 25         341. On June 14, 2024, AICPA petitioned the U.S. District Court for the
 26   Northern District of California for issuance of a subpoena to Discord, Inc. seeking
 27   documents and information related to Mr. Lau’s Discord posts. In support of that
                                                          DEFENDANT STEPHEN LAU’S ANSWER
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  1   petition, AICPA represented to the Court that content available at a particular
  2   Discord URL was “Infringing Content.” According to AICPA’s petition, “the
  3   Infringing Content consists of an unauthorized copy and/or derivative work of a
  4   copyright protected test item.” In fact, the content contained at the subject URL
  5   was neither.
  6          342. AICPA’s June 14, 2024 petition also represented that that the sole
  7   “purpose for which the DMCA Subpoena is sough is to obtain the identity of the
  8   alleged infringer,” and that “[s]uch information will be used only for the purposes
  9   of protecting the AICPA’s rights under 17 U.S.C. §§ 106, et. seq.” (emphasis
 10   added). This statement was untrue, as AICPA intended all along to use information
 11   obtained through its sham DMCA subpoena to obtain information that would be
 12   used to sue Mr. Lau for breach of contract and trade secret misappropriation.
 13          343. AICPA’s DMCA takedown notice, DMCA subpoena petition, and
 14   DMCA subpoena to Discord were shams. The true purpose of AICPA’s DMCA
 15   notice, petition, and subpoena was to facilitate AICPA’s sham federal claims
 16   against Mr. Lau in hopes of using this case as an anticompetitive weapon to
 17   intimidate and injure Mr. Lau and others so as to stifle public debate, criticism, and
 18   commentary about AICPA and its business practices by excluding Mr. Lau from
 19   the profession.
 20          344. AICPA’s conduct has caused Mr. Lau and his family to suffer physical
 21   manifestations of severe emotional distress, some of which has necessitated medical
 22   care
 23          345. Mr. Lau is entitled to compensatory damages under 17 U.S.C. §
 24   512(f), including costs and attorneys’ fees, incurred due to AICPA’s
 25   misrepresentations and sham DMCA activity.
 26
 27
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1                           FIFTH CLAIM FOR RELIEF
       (Disability Discrimination in violation of the Americans with Disabilities Act,
  2                              42 U.S.C. § 12101 et seq.)
  3
            346. Mr. Lau incorporates by reference and re-alleges herein the allegations
  4
      contained in paragraphs 1-343 above.
  5
            347. AICPA offers examinations and courses related to licensing for
  6
      professional and trade purposes.
  7
            348. AICPA is subject to the requirement of 42 U.S.C. § 12189 to offer
  8
      CPA “examinations or courses in a place and manner accessible to persons with
  9
      disabilities or offer alternative accessible arrangements for such individuals.”
 10
            349. Mr. Lau suffers from an impairment that substantially limits major life
 11
      activities within the meaning of 42 U.S.C.S. § 12102.
 12
            350. Mr. Lau requested reasonable disability accommodations from CBA,
 13
      NASBA, and Prometric in connection with his efforts to pass the Uniform CPA
 14
      Exam.
 15
            351.      Mr. Lau requested reasonable disability accommodations from
 16
      AICPA and its agents in connection with his efforts to pass the Uniform CPA
 17
      Exam.
 18
            352. AICPA, CBA, Prometric, and NASBA recognized that Mr. Lau is
 19
      entitled to reasonable exam accommodations due to his disability.
 20
            353. AICPA and its agents recognized that Mr. Lau is entitled to reasonable
 21
      exam accommodations due to his disability.
 22
            354. AICPA and its agents recognized that Mr. Lau is entitled to reasonable
 23
      exam accommodations that include a testing environment free from unnecessary
 24
      distractions.
 25
            355. AICPA intentionally denied Mr. Lau a testing environment free from
 26
      unnecessary distractions by maliciously carrying out the legally pointless conduct
 27
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1   of handing Mr. Lau a copy of the complaint as he was walking into what should
  2   have been his last CPA exam.
  3         356. AICPA’s conduct was not taken in furtherance of legitimate litigation
  4   efforts. On the contrary, AICPA’s case is a sham and its legally pointless delivery
  5   of a duplicative copy of the complaint to Mr. Lau as he was walking into a special
  6   accommodations testing facility on September 24 was sham conduct designed to
  7   injure Mr. Lau.
  8         357. AICPA failed to ensure implementation of reasonable
  9   accommodations it knew Mr. Lau was entitled to.
 10         358. AICPA’s intentional and malicious denial of disability
 11   accommodations to Mr. Lau that AICPA and its agents had already agreed to
 12   provide to Mr. Lau amounts to disability discrimination in violation of the
 13   Americans with Disabilities Act. AICPA caused, with deliberate indifference to the
 14   increased risk of such harm based on the disabilities AICPA was on notice of, Mr.
 15   Lau to suffer physical injury in connection with his pursuit of licensure and attempt
 16   to practice his chosen profession.
 17         359. Mr. Lau opposed AICPA’s discriminatory conduct, made a charge that
 18   AICPA violated the ADA, and participated in an investigation and proceeding
 19   under the ADA. In response, ADA retaliated against Mr. Lau by placing a hold on
 20   his September 24, 2024 FAR exam scores, knowing that doing so would deny Mr.
 21   Lau access public accommodations.
 22         360. Mr. Lau suffered harm due to AICPA’s misconduct. Mr. Lau was
 23   unable to demonstrate his true skills and knowledge on his September 24, 2024
 24   exam, which is at a variance with 28 C.F.R. §36.309(b)(1)(i), and has not been able
 25   to even obtain his scores due to AICPA’s other misconduct.
 26         361. ADA’s conduct towards Mr. Lau on September 24, 2024 was a
 27   discriminatory practice carried out with malice or with deliberate indifference to the
                                                           DEFENDANT STEPHEN LAU’S ANSWER
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  1   federally protected rights of Mr. Lau.
  2         362. ADA’s retaliatory conduct towards Mr. Lau was a discriminatory
  3   practice carried out with malice or with reckless and deliberate indifference to the
  4   federally protected rights of Mr. Lau.
  5         363. Mr. Lau has not given up on his goal of becoming a licensed CPA in
  6   California and will continue to try and pass the Uniform CPA Exam.
  7         364. Mr. Lau’s disability is continuing and he will require reasonable exam
  8   accommodations during his future exams.
  9         365. Mr. Lau wishes to take his final CPA exam as soon as possible and
 10   will do so as soon as he is able.
 11         366. Mr. Lau fears that AICPA will continue to interfere with his efforts to
 12   obtain licensure in California, including by attempting to interfere with Mr. Lau’s
 13   access to the Uniform CPA Examination and entitlement to reasonable testing
 14   accommodations.
 15         367. AICPA has taken the position that it is privileged to interfere with Mr.
 16   Lau’s reasonable accommodations so long as such interference is carried out under
 17   the guise of litigation-related conduct.
 18         368. Unless and until the Court enjoins AICPA from interfering with Mr.
 19   Lau’s entitlement to reasonable testing accommodations, Mr. Lau will suffer
 20   irreparable harm in the form of inability to access the Uniform CPA Exam in a
 21   manner consistent with his rights under the ADA.
 22         369. Mr. Lau is entitled to attorneys’ fees and such other equitable relief as
 23   the Court deems necessary to abate and remedy the harms caused by AICPA’s
 24   discriminatory conduct.
 25
 26
 27
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
                                                 - 118 -                AND SECOND AMENDED
                                                                                COUNTERCLAIMS
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  1                            SIXTH CLAIM FOR RELIEF
       (Disability Discrimination in violation of Section 504 of the Rehabilitation Act
  2                            of 1973, 29 U.S.C. § 794 et seq.)
  3
            370. Mr. Lau incorporates by reference and re-alleges herein the allegations
  4
      contained in paragraphs 1-369 above.
  5
            371. Section 504 of the Rehabilitation Act of 1973 (Section 504) was
  6
      enacted in part to further a policy of promoting “respect for privacy, and equal
  7
      access (including the use of accessible formats) of the individuals [with
  8
      disabilities].” 29 U.S.C.§701(c)(2).
  9
            372. Mr. Lau is a person with disabilities and is substantially limited in the
 10
      major life activities or thinking, concentrating, focusing and taking standardized
 11
      exams.
 12
            373. Mr. Lau is a qualified individual with a disability under Section 504.
 13
            374. AICPA receives federal grants, contracts, and other federal financial
 14
      assistance, thereby subjecting itself to the requirements of Section 504. For
 15
      example, a search on USASpending.gov returns multiple entries indicating that
 16
      AICPA has received federal funds. In addition, AICPA receives special
 17
      accommodations from the Copyright Office that reduce the expense to AICPA of
 18
      obtaining copyright registrations for CPA exam content; these accommodations do
 19
      not serve the interests underlying the Copyright Act but are in fact antithetical to
 20
      the policies the Copyright Act is intended to promote.
 21
            375. Section 504 mandates that “[n]o otherwise qualified individual with a
 22
      disability…shall, solely by reason of her or his disability, be excluded from the
 23
      participation in, be denied the benefits of, or be subject to discrimination, under any
 24
      program or activity receiving Federal financial assistance.” 29 U.S.C. §794(a).
 25
            376. AICPA’s acts with respect to administration of Mr. Lau’s September
 26
      2024 examination resulted in subjecting him to discrimination solely based on his
 27
                                                            DEFENDANT STEPHEN LAU’S ANSWER
 28                                                        TO PLAINTIFF’S AMENDED COMPLAINT
                                              - 119 -                   AND SECOND AMENDED
                                                                                COUNTERCLAIMS
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  1   disability.
  2          377. AICPA’s actions, set forth more fully above, and incorporated herein,
  3   intentionally and with deliberate indifference discriminated against Mr. Lau, on the
  4   basis of disability in violation of Section 504.
  5          378. As a proximate cause of AICPA’s discrimination, Mr. Lau suffers and
  6   continues to suffer harm including but not limited to economic and non-economic
  7   harms, actual monetary loss, future monetary losses, and other injuries and
  8   monetary losses including denial of equal treatment and access.
  9          379. Unless and until the Court enjoins AICPA from interfering with Mr.
 10   Lau’s entitlement to reasonable testing accommodations, Mr. Lau will suffer
 11   irreparable harm in the form of inability to access the Uniform CPA Exam in a
 12   manner consistent with his rights under the ADA.
 13          380. Mr. Lau is entitled to attorneys’ fees and such other equitable relief as
 14   the Court deems necessary to abate and remedy the harms caused by AICPA’s
 15   discriminatory conduct.
 16                         SEVENTH CLAIM FOR RELIEF
       (Disability Discrimination in violation of the California Unruh Act, Cal. Civ.
 17                                   Code § 51 & 52)
 18
             381. Mr. Lau incorporates by reference and re-alleges herein the allegations
 19
      contained in paragraphs 1, 2, 6-24, 28-71, 86-137, 148-293, 295-324, 326-329, 333,
 20
      and 341-380 above.
 21
             382. AICPA has engaged in disability discrimination against Mr. Lau in
 22
      violation of the ADA by denying him a testing environment free from unnecessary
 23
      distractions.
 24
             383. AICPA violated Cal. Civ. Code § 51(f) by intentionally discriminating
 25
      against Mr. Lau in violation of the ADA.
 26
             384. AICPA violated Cal. Civ. Code § 51(f) by intentionally retaliating
 27
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                              - 120 -                  AND SECOND AMENDED
                                                                               COUNTERCLAIMS
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  1   against Mr. Lau in violation of the ADA.
  2         385. AICPA violated Cal. Civ. Code § 52 by denying, or by aiding or
  3   inciting the denial of, Mr. Lau’s disability accommodations and/or otherwise
  4   discriminating against Mr. Lau on the basis of his disability.
  5         386. Mr. Lau suffered harm due to AICPA’s misconduct.
  6         387. Mr. Lau has been unable to obtain licensure in California due to
  7   AICPA’s discriminatory conduct, which has prevented Mr. Lau from pursuing a
  8   lawful profession and has suppressed the amount of wages Mr. Lau can earn.
  9         388. Mr. Lau is entitled to compensatory damages under Cal. Civ. Code §
 10   52.
 11         389. Mr. Lau is entitled to treble damages under Cal. Civ. Code § 52(a).
 12         390. Mr. Lau is entitled to attorneys’ fees and such other equitable relief as
 13   the Court deems necessary to abate and remedy the harms caused by AICPA’s
 14   discriminatory conduct.
 15         391. Mr. Lau is under threat of ongoing discrimination from AICPA. Mr.
 16   Lau intends to continue his effort to obtain CPA licensure in California and is
 17   entitled to injunctive relief against AICPA requiring AICPA to comply with the
 18   ADA, Rehabilitation Act, Unruh Act, and reasonable testing accommodations
 19   proscribed by Mr. Lau’s physicians and agreed to by the CBA.
 20                          EIGHTH CLAIM FOR RELIEF
                 (Breach of the Covenant of Good Faith and Fair Dealing)
 21
 22         392. Mr. Lau incorporates by reference and re-alleges herein the allegations
 23   contained in paragraphs 11, 2, 6-24, 28-71, 86-137, 148-293, 295-324, 326-329,
 24   333, and 341-391 above.
 25         393. To the extent the NDAs dated November 16, 2023 and December 28,
 26   2023(referred to collectively in AICPA’s First Amended Complaint as “the
 27   NDAs”) are binding contracts between Mr. Lau and the AICPA, those contracts are
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                             - 121 -                   AND SECOND AMENDED
                                                                               COUNTERCLAIMS
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  1   subject to the covenant of good faith and fair dealing.
  2         394. Mr. Lau performed his obligations under the NDA to the best of his
  3   abilities given the information available to him, and/or Mr. Lau was excused from
  4   full performance of such obligations due to AICPA’s own conduct in acquiescing to
  5   policies and practices of the Discord and Reddit study groups discussed in AICPA’s
  6   First Amended Complaint and AICPA’s failure to communicate with Mr. Lau about
  7   AICPA’s understanding of the NDAs.
  8         395. AICPA breached the covenant of good faith and fair dealing by failing
  9   to promptly and directly contact Mr. Lau to provide notice of AICPA’s objections
 10   to his study group communications.
 11         396. AICPA breached the covenant of good faith and fair dealing by failing
 12   to take reasonable steps to mitigate its alleged damages.
 13         397. AICPA’s failure to communicate promptly and directly with Mr. Lau
 14   about AICPA’s objections to Mr. Lau’s study group communications unfairly
 15   interfered with Mr. Lau’s right to receive the benefits of the NDAs.
 16         398. AICPA cannot prevail on its claim for breach of the NDAs because
 17   AICPA’s breach of the covenant of good faith and fair dealing precludes any relief
 18   on AICPA’s breach of contract claims.
 19         399. To the extent Mr. Lau entered into any binding contract with AICPA
 20   in connection with Mr. Lau’s scheduling and taking of the September 24, 2024
 21   FAR exam, any such contract is subject to the covenant of good faith and fair
 22   dealing, and AICPA has breached the covenant of good faith and fair dealing by
 23   placing a hold on Mr. Lau’s September 24, 2024 FAR exam without explanation or
 24   any legal justification.
 25         400. Mr. Lau performed his obligations under any binding contract with
 26   AICPA in connection with Mr. Lau’s scheduling and taking of the September 24,
 27   2024 FAR exam.
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
                                             - 122 -                   AND SECOND AMENDED
                                                                               COUNTERCLAIMS
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  1         401. Mr. Lau is being harmed by the hold AICPA has placed on his
  2   September 24, 2024 FAR exam scores as he cannot obtain licensure until his scores
  3   are released.
  4         402. Mr. Lau has been harmed by AICPA’s breaches of the covenant of
  5   good faith and fair dealing.
  6         403. Mr. Lau is entitled to damages caused by AICPA’s misconduct in
  7   addition to such other equitable relief as the Court deems appropriate.
  8                             NINTH CLAIM FOR RELIEF
                                   (Tortious Interference)
  9
 10         404. Mr. Lau incorporates by reference and re-alleges herein the allegations
 11   contained in paragraphs 2, 6-24, 28-71, 86-137, 148-293, 295-324, 326-329, 333,
 12   and 341-403 above.
 13         405. Mr. Lau entered into valid contracts with NASBA, Prometric, and the
 14   CBA in connection with the September 24, 2024 FAR exam Mr. Lau took.
 15         406. Mr. Lau’s contracts with NASBA, Prometric, and the CBA related to
 16   the September 24, 2024 FAR exam entitle Mr. Lau to timely receive his scores for
 17   that exam and to retake the exam if he did not pass.
 18         407. AICPA has had knowledge of Mr. Lau’s contracts with NASBA,
 19   Prometric, and the CBA at all times relevant.
 20         408. AICPA has wrongfully interfered with Mr. Lau’s contracts with
 21   NASBA, Prometric, and the CBA related to the September 24, 2024 FAR exam by
 22   placing holds on Mr. Lau’s scores for that exam without legal justification or any
 23   explanation.
 24         409. Mr. Lau has suffered harm due to AICPA’s interference with his
 25   contracts with NASBA, Prometric, and the CBA. AICPA is effectively preventing
 26   Mr. Lau from obtaining licensure in California by refusing to release Mr. Lau’s
 27   September 24, 2024 FAR exam score, which in turn is preventing Mr. Lau from
                                                          DEFENDANT STEPHEN LAU’S ANSWER
 28                                                      TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                              COUNTERCLAIMS
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  1   either obtaining licensure (if he passed) or rescheduling and retaking the FAR
  2   exam.
  3           410. Mr. Lau is entitled to damages in an amount to be determined by the
  4   jury at trial, including as an element of damages the attorneys’ fees incurred in
  5   connection with legal proceedings needed to abate AICPA’s tortious conduct.
  6           411. Mr. Lau is also entitled to equitable relief to abate and remedy the
  7   harms caused by AICPA’s tortious interference.
  8                             TENTH CLAIM FOR RELIEF
  9    (Violation of California’s Unfair Competition Law, Cal. Civ. Code § 17200 et
 10                                            seq.)
 11           412. Mr. Lau incorporates by reference and re-alleges herein the allegations
 12   contained in paragraphs 1, 2, 6-24, 28-71, 86-137, 148-293, 295-324, 326-329, 333,
 13   and 341-411 above.
 14           413. AICPA regularly conducts business in California and is subject to
 15   California’s Unfair Competition Law, Cal. Civ. Code § 17200 et seq.
 16           414. AICPA has engaged in unfair, unlawful, and deceptive business
 17   practices, including by engaging in unscrupulous and coercive contracting practices
 18   and tortiously interfering with contractual rights.
 19           415. AICPA has engaged in at least the following unlawful conduct
 20   amounting to practices violative of California’s Unfair Competition Law:
 21              a. Attempting to coerce agreements that unlawfully restrain California
 22                 residents’ pursuit of their lawful profession, in violation of Cal. Bus. &
 23                 Prof. Code § 16600;
 24              b. Misleading exam candidates about the nature of “Exam Content”
 25              c. Coercing exam candidates into unconscionable and illegal agreements
 26                 that violate federal and California law
 27              d. Deceptively gaining access to third party platforms like Reddit by
                                                               DEFENDANT STEPHEN LAU’S ANSWER
 28                                                           TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                                   COUNTERCLAIMS
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  1                 misrepresenting that AICPA would abide by platform terms of service
  2                 which provide, for example, that the platform’s services would not be
  3                 used by AICPA for its own commercial purposes
  4             e. Inducing third party end users of to breach their obligations to third
  5                 party platform providers by, e.g., enlisting those third parties to use
  6                 platforms for AICPA’s own commercial purposes, in violation of
  7                 contractual obligations.
  8             f. Breaching its obligations under the covenant of good faith and fair
  9                 dealing
 10             g. Tortiously interfering with contractual rights.
 11             h. Retaliating against Mr. Lau in violation of the ADA and Unruh Act.
 12         416. AICPA’s violations of the UCL have caused Mr. Lau injury in fact,
 13   including economic injury. For example, each time Mr. Lau has taken a test, he as
 14   paid money to do so. Mr. Lau’s last payment of fees for the September 24, 2024
 15   exam exceeded $250 dollars. Mr. Lau paid Surgent for CPA preparation materials
 16   over $1300 and I75 CPA Prep Supplement $900, and at least 25% of these costs are
 17   attributable to FAR.
 18         417. AICPA has been unjustly enriched due to its misconduct.
 19         418. Mr. Lau’s efforts to pursue his lawful profession have been hindered
 20   by AICPA’s misconduct. For example, he cannot continue to pursue licensure
 21   because of AICPA’s conduct.
 22         419. Mr. Lau is entitled to attorneys’ fees and such other equitable relief as
 23   the Court deems necessary to abate and remedy the harms caused by AICPA’s UCL
 24   violations.
 25                                 PRAYER FOR RELIEF
 26         WHEREFORE, Mr. Lau prays for judgment as follows:
 27             1. Declaratory judgment that the material Mr. Lau allegedly infringed is
                                                             DEFENDANT STEPHEN LAU’S ANSWER
 28                                                         TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                                 COUNTERCLAIMS
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  1               not entitled to copyright protection;
  2            2. Declaratory judgment that Mr. Lau has not infringed the Registered
  3               Work;
  4            3. Declaratory judgment that the material Mr. Lau allegedly copied is not
  5               entitled to trade secrets protection;
  6            4. Declaratory judgment that Mr. Lau has not misappropriated AICPA’s
  7               trade secrets;
  8            5. Declaratory judgment that Mr. Lau has not breached any enforceable
  9               contract with AICPA;
 10            6. Declaratory judgment that AICPA is not entitled to any relief on its
 11               contact claim due to AICPA’s own breaches and bad faith conduct;
 12            7. Declaratory judgment that Mr. Lau is the prevailing party in this
 13               action;
 14            8. Judgement that AICPA has engaged in illegal disability discrimination
 15               in violation of the ADA and injunctive relief to abate such conduct,
 16               along with reasonable attorneys’ fees incurred in prosecuting Mr.
 17               Lau’s ADA claim;
 18            9. Judgement that AICPA has engaged in illegal disability discrimination
 19               in violation of the Rehabilitation Act and an award of damages caused
 20               by such conduct, as well as injunctive relief and reasonable attorneys’
 21               fees incurred in prosecuting Mr. Lau’s Rehabilitation Act claim;
 22            10. Judgement that AICPA has tortiously interfered with Mr. Lau’s
 23               contracts and an award of damages caused by such tortious conduct, as
 24               well as injunctive relief;
 25            11. Judgment that AICPA has violated the California Unruh Civil Rights
 26               Act and an award of treble damages caused by such violations, along
 27               with reasonable attorneys fees incurred in prosecuting Mr. Lau’s claim
                                                           DEFENDANT STEPHEN LAU’S ANSWER
 28                                                       TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                               COUNTERCLAIMS
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  1                  and injunctive relief;
  2               12. Attorneys’ fees incurred defending AICPA’s copyright infringement
  3                  claim pursuant to 17 U.S.C. § 505;
  4               13. Attorneys’ fees incurred defending AICPA’s DTSA claim pursuant to
  5                  18 U.S.C. § 1836(b)(3)(D);
  6               14. Such other equitable and legal relief as the Court deems reasonable
  7                  and just.
  8
      Dated: March 11, 2025                   ORRICK, HERRINGTON & SUTCLIFFE LLP
  9
 10
                                              By: /s/ Robert L. Uriarte
 11                                                         ROBERT L. URIARTE
                                                  Attorneys for Defendant/Cross-Complainant
 12                                                             STEPHEN LAU
 13
 14
                                   JURY TRIAL DEMANDED
 15
               Pursuant to the Seventh Amendment to the United States Constitution and
 16
      Fed. R. Civ. P. 38, Mr. Lau hereby demands a jury trial on all issues so triable as of
 17
      right.
 18
 19   Dated: March 11, 2025                   ORRICK, HERRINGTON & SUTCLIFFE LLP
 20
 21                                           By: /s/ Robert L. Uriarte
 22                                                         ROBERT L. URIARTE
                                                  Attorneys for Defendant/Cross-Complainant
 23                                                             STEPHEN LAU

 24
 25
 26
 27
                                                             DEFENDANT STEPHEN LAU’S ANSWER
 28                                                         TO PLAINTIFF’S AMENDED COMPLAINT
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                                                                                 COUNTERCLAIMS
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